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                                  #:325052




                EXHIBIT 2
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 2 of 126 Page ID
                                         #:325053




                                                                                       Arrival date:       05-14-08
  MGA Entertainment                                                                    Departure datc:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:       010
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:                 1 of 72

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                              08-06-08



  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       Parking-Self Overnight    Routed From Lanslra Allen Of Room #379                8.00
  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room #379                8.00
  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       Parking-SelF Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       Parking-SelF Overnight    Routed From Lanstra Allen Of Room 11379               8.00
  06-01-08       COl11m-Long Distance      13 :28 00:02:00 Routed From MGA                       1.21
                                           Entertainment Of Room #5425
  06-01-08       Banquet Invoice           39123 MGA Entertainment 115425~>MGA                 890.50
                                           Entertainment #900 I
  06-01-08       Comm-Long Distance        15:3800:03:00 Routed From MGA                           1.44
                                           Entertainment Of Room #5425
  06-01-08       C0l11111-Long Distance    16:4000:01 :00 Routed From MGA                        0.98
                                           Entertainment Of Room 115425
  06-01-08       Comm-Long Distance        17:0500:04:00 Routed From MGA                           1.67
                                           Entertainment Of Room 115425
  06-01-08       COl11m-Long Distance      16:4200:03:00 Routed From MGA                           1.44
                                           Entertainment Of Rool11 #5425
  06-01-08       Comrn-Long Distance       21:0100:03:00 Routed From MGA                           1.44
                                           Entertainment Of Room 11 5425
  06-01-08       Comm-Long Distance        21 :4700:03:00 Routed From MGA                          1.44
                                           Entertainment Of ROOll1 #5425
  06-01-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room 11355              15.00
  06-01-08       Parking-Valet Overnight   Routed From Herrington Rob OfRool11 11346            15.00
  06-01-08       Parking-Valet Overnight   Routed From Harden Susan Of Room 11353               15.00
  06-01-08       Parking-Valet Overnight   Routed From Lopez Alex Of Rool11 11154               15.00
  06-01-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room #349            15.00




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                                                                                                             Arrival datc:      05-14-08
  MGA Entertainment                                                                                          Departurc date:    08-29-08
  16300 Roscoe Boulevard                                                                                     No. in party:      0/0
  Van Nuys, CA 91406                                                                                         Room No.:           9001
                                                                                                             Account No.:
                                                                                                             BookingNo.:
                                                                                                             Page No.:              2 urn

                                                                                                              Invoice .:

   INFORMATION INVOICE                                                                                                                  08-06-08
  Date                                                                                                             Charges              Cr.edits

  06-01-08        Parking-Valet Overnight                        Routed From Reyes Cecilia Of Room 11357              15.00
  06-01-08        Parking-Valet Overnight                        Routed From Hartlein Brianna Of Room #316            15.00
  06-01-08        Parking-Valet Overnight                        Routed From Proof Michael Of Room 11249              15.00
  06-01-08        Room-Group                                      Routed From Holden Craig Of Room 11104             189.00
  06-01-08        Occupancy Tax                                   Routed From Holden Craig Of Room 11104              20.79
  06-01-08        Room-Group                                      Routed From Lopez Alex Of Room 11154                99.00
  06-01-08        Occupancy Tax                                   Routed From Lopez Alex Of Room 11154                10.89
  06-01-08        Room-Group                                      Routed From Kennedy Raoul Of Room 11158            189.00
  06-01-08        Occupancy Tax                                   Routed From Kennedy Raoul Of Room 11158             20.79
  06-01-08        Room-Group                                      Routed From Roth Carl Of Room 11202                189.00
  06-01-08        Occupancy Tax                                   Routed From Roth Carl Of Room 11202                 20.79
  06-01-08        Room-Group                                      Routed From Rogosa Diana Of Room 11-217             99.00
  06-01-08        Occupancy Tax                                   Routed I:"rom Rogosa Diana Of Room #217             10.89
  06-01-08        Room-Group                                      Routed From Turnipseed Alissa Of Room               99.00
                                                                 11230
  06-01-08        Occupancy Tax                                   Routed From Turnipseed Alissa Of Room               10.89
                                                                 11230
  06-01-08        Room-Group                                      Routed From Franco Max Of Room 11231                99.00
  06-01-08        Occupancy Tax                                   Routed From Franco Max Of Room #23 J                10.89
  06-01-08        Parking-Self Overnight                          Routed From Franco Max or Room 11231                 5.00
  06-01-08        Room-Group                                      Routed From Dozier Jason Of Room 11240              99.00
  06-01-08        Occupancy Tax                                   Routed From Dozier Jason Of Room #240               10.89
  06-01-08        Room-Group                                      Routed From Proof Michael Of Room 11249             99.00
  06-01-08        Occupancy Tax                                   Routed From Proof Michael Of Room #249              10.89
  06-01-08        Parking-Self Overnight                          Routed From Proof Michael Of Room 11249              8.00
  06-01-08        Room-Group                                      Routed From Mumford Marcus Of Room                  99.00
                                                                 11255
  06-01-08        Occupancy Tax                                   Routed From Mumford Marcus Of Room                  10.89
                                                                 11255
  06-01-08        Room-Group                                      Routed From Aguiar Lauren Of Room #286             189.00
  06-0 I -08      Occupancy Tax                                   Routed From Aguiar Lauren Of Room #286              20.79
  06-01-08        Room-Group                                      Routed From Shorr Aaron Of Room #303                99.00

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                                             #:325055




                                                                                         Arrival date:       05-14-08
  MGA Entertainment                                                                      Departure date:     08-29·08
  16300 Roscoe Boulevard                                                                 No. in party:       0/0
  Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                         Account No.:
                                                                                         BookingNo.:
                                                                                         Page No.:                 3 of 72

                                                                                          Invoice .:
   INFORMATION INVOICE                                                                                               08-06-08
  Illite                                                                                       Charges              Credits

  06-01-08       Occupancy Tax             Routed From Shorr Aaron Of Room 11-303                 10.89
  06-01-08       Room-Group                Routed From Lybrand Steve Of Room 11314                99.00
  06-01-08       Occupancy Tax             Routed From Lybrand Steve Of Room 11314                10.89
  06-01-08       Room-Group                Routed From I-Iartlein Brianna Of Room #316            99.00
  06-01-08       Occupancy Tax             Routed From Hartlcin Brianna Of Room #316              10.89
  06-01-08       Room-Group                Routed From Rinker Greg Of Room 11317                  99.00
  06-01-08       Occupancy Tax             Routed From Rinker Greg Of Room 11317                  10.89
  06-01-08       Room-Group                Routed From Herrington Rob Of Room 11346               99.00
  06-01-08       Occupancy Tax             Routed From Herrington Rob Of Room #346                10.89
  06-01-08       Room-Group                Routed From Uslaner Jonathan Of Room                   99.00
                                          11349
  06-01-08       Occupancy Tax             Routcd From Uslancr Jonathan or Room                   10.89
                                          11349
  06-01-08       Room-Group                Routed From Harden Susan OfRool11 11353                99.00
  06-01-08       Occupancy Tax             Routed From Harden Susan Of Rool11 11353               10.89
  06-01-08       Room-Group                Routed From Isomoto Becky Of Room 11355                99.00
  06-01-08       Occupancy Tax             Routed From Isomoto Becky Of Room #355                 10.89
  06-01-08       Room-Group                Routed From Reyes Cecilia Of Room 11357                99.00
  06-01-08       Occupancy Tax             Routed From Reyes Cecilia Of Room #357                 10.89
  06-01-08       Room-Group                Routed From Lanstra Allen Of Room #379                 99.00
  06-01-08       Occupancy Tax             Routed From Lanstra Allen Of Rool11 11379              10.89
  06-01-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room #379                  8.00
  06-01-08       Room-Group                Routed From Nolan Tom Of Room 11403                   350.00
  06-01-08       Occupancy Tax             Routed From Nolan Tom Of Room 11403                    38.50
  06-02-08       Room Service             Linel! 104: CHECKII 0047211 Holden Craig                37.80
                                          #104~>MGA Entertainment #9001

  06-02-08       Comm-Long Distance       09:5600:03:00 Routed From MGA                              1.44
                                          Entertainment Of Room #5425
  06-02-08       Banquet Invoice          39558                                                  762.87
  06-02-08       Banquet Invoice          39124                                                  992.22
  06-02-08       Comm-Long Distance       13:4100:02:00 Routed From MGA                            1.21
                                          Entertainment Of Room il5425




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                                                                                        Arrival date:       05-14-08
  MGA Entertainment                                                                     Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:           9001
                                                                                        Account No.:
                                                                                        BooldngNo.:
                                                                                        Page No.:              40f72

                                                                                         Invoice .:
   INFORMATION INVOICE                                                                                             08-06-08



  06-02-08       Comm-Long Distance        14:4400:04:00 Routed From MGA                            1.67
                                           Entertainment Of Room 115425
  06-02-08       Comm-Long Distance        16:5700:01:00 Routed From MGA                            2,84
                                           Entertainment Of Room #5425
  06-02-08       Comm-Long Distance        20: II 00:02:00 Rouled From MGA                          1.21
                                           Entertainment Of Room #5425
  06-02-08       Comm-Long Distance        20: 1900:02:00 Routed From MGA                           1.21
                                           Entertainment Of Room #5425
  06-02-08       Banquet Invoice           39565                                                916.40
  06-02-08       Mission Inn Restaurant    Lincll 238 : CHECKIt 0011477 Larian Isaac             38,00
                                           #238~>MGA Entertainment 119001

  06-02-08       Comm-Long Distance        21 :23 00:04:00 Routed From MGA                          1.67
                                           Entertainment Of Room #5425
  06-02-08       Parking-Valet Overnight   Routed From Uslancr 10nathan Of Room t/349            15,00
  06-02-08       Parking-Valet Overnight   Routed From Reyes Cecilia Of Room 11357               15,00
  06-02-08       Parking-Valet Overnight   Routed From Hartlcin Brianna Of Room #316             15,00
  06-02-08       Parking-Valet Overnight   Routed From Roth Carl Of Room 11202                   15,00
  06-02-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room #303                  15,00
  06-02-08       Parking-Valet Overnight   Routed From Holden Craig Of Room 11104                15,00
  06-02-08       Parking-Valet Overnight   Routed From Herrington Rob Of Room 11346              15,00
  06-02-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room #355                15,00
  06-02-08       Parking-Valet Overnight   Routed From Roth Carl Of Room 11202                   15,00
  06-02-08       Comm- Long Distance       00:2800:01:00 Routed From MGA                          0,98
                                           Entertainment Of Room #5425
  06-02-08       Room-Group                 Routed From Holden Craig Of Room 11104              189,00
  06-02-08       Occupancy Tax              Routed From Holden Craig Of Room 11104               20,79
  06-02-08       Room-Group                 Routed From Lopez Alex Of Room 11154                 99,00
  06-02-08       Occupancy Tax              Routed From Lopez Alex Of Room 11154                 10,89
  06-02-08       Room-Group                 Routed From Kennedy Raoul Of Room 11158             189,00
  06-02-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 11158              20,79
  06-02-08       Room-Group                 Routed From Roth Carl Of Room 11202                 189,00
  06-02-08       Occupancy Tax              Routed From Roth Carl Of Room 11202                  20_79
  06-02-08       Room-Group                 Routed From Rogosa Diana Of Room #217                99,00




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                                                                                        Arrival date:      05·14·08
  MGA Entertainment                                                                     Departure date:    08-29-08
  16300 Roscoe Boulevard                                                                No. in party:      0/0
  Van Nuys, CA 91406                                                                    Room No.:           9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:              5 of 72

                                                                                         Invoice .:

   INFORMATION INVOICE                                                                                             08-06-08
                                                                                                                   Credits
  06-02-08       Occupancy Tax              Routed From Rogosa Diana Of Room tl217               10.89
  06-02-08       Room-Group                 Routed From Turnipseed Alissa Of Room                99.00
                                           11230
  06-02-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room                10.89
                                           11230
  06-02-08       Room-Group                Routed From Franco Max Of Room 11231                  99.00
  06-02-08       Occupancy Tax             Routed From Franco Max Of Room #231                   10.89
  06-02-08       Parking-Self Overnight    Routed From Franco Max Of Room #231                    5.00
  06-02-08       Room-Group                Routcd From Larian Isaac Of Room #238                129.00
  06-02-08       Occupancy Tax             Routed From Larian Isaac Of Room #238                 14.19
  06-02-08       Room-Group                Routed From Dozier Jason Of Room #240                 99.00
  06-02-08       Occupancy Tax             Routed From Dozier Jason Of Room #240                 10.89
  06-02-08       Room-Group                Routed From Proof Michael Of Room 11249               99.00
  06-02-08       Occupancy Tax             Routed From Proof Michael Of Room 11249               10.89
  06-02-08       Parking-SeI f Overnight   Routed From Proof Michael Of Room 11249                8.00
  06-02-08       Room-Group                 Routcd From Mumford Marcus Of Room                   99.00
                                           11255
  06-02-08       Occupancy Tax              Routed From Mumford Marcus Of Room                   10.89
                                           11255
  06-02-08       Room-Group                Routed From Aguiar Laureu Of Room 11286              189.00
  06-02-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286                20.79
  06-02-08       Room-Group                Routed From Shorr Aaron Of Room 11303                 99.00
  06-02-08       Occupancy Tax             Routed From Shorr Aaron Of Room 11303                 10.89
  06-02-08       Room-Group                Routed From Lybrand Steve Of Room 11314               99.00
  06-02-08       Occupancy Tax             Routed From Lybrand Steve Of Room 11314               10.89
  06-02-08       Room-Group                Routed From Hartlein Brianna Of Room 11316            99.00
  06-02-08       Occupancy Tax             Routed From Hartlein Brianna Of Room #316             10.89
  06-02-08       Room-Group                Ruuled From Rinker Greg Of Room 11317                 99.00
  06-02-08       Occupancy Tax             Routed From Rinker Greg Of Room 11317                 10.89
  06-02-08       Room-Group                Routed From Harden Susan Of Room 11345                99.00
  06-02-08       Occupancy Tax             Routed From Harden Susan Of Room #345                 10.89
  06-02-08       Room-Group                Routed From Hcrrington Rob Of Room 1f346              99.00




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                                                                                                                               Arrival datc:       05-14-08
  MGA Entertainment                                                                                                            Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                                                       No. in party:       0/0
  Van Nuys, CA 91406                                                                                                           Room No.:           9001
                                                                                                                               Account No.:
                                                                                                                               BookingNo.:
                                                                                                                               Page No.:                 60f72

                                                                                                                                Invoice .:
   INFORMATION INVOICE                                                                                                                                    08-06-08
                                                                                                                                                          CreditS
  06-02-08       Occupancy Tax                                                    Routed From Herrington Rob Of Room #346               10.89
  06-02-08       Room-Group                                                       Routed From Harden Susan Of Room #347                 99.00
  06-02-08       Occupancy Tax                                                    Routed From Harden Susan Of Room 11347                10.89
  06-02-08       Room-Group                                                       Routed From Uslancr Jonathan Of Room                  99.00
                                                                                 11349
  06-02-08       Occupancy Tax                                                    Routed From Uslaner Jonathan Of Room                  10.89
                                                                                 11349
  06-02-08       Room-Group                                                       Routed From Harden Susan Of Room 11353                99.00
  06-02-08       Occupancy Tax                                                    Routed From Harden Susan Of Room #-353                10.89
  06-02-08       Room-Group                                                       Routed From Isomoto Becky Of Room 11355               99.00
  06-02-08       Occupancy Tax                                                    Routed From Isomoto Becky Of Room 11355               10.89
  06-02-08       Room-Group                                                       Routed From Reyes Cecilia Of Room 1i357               99.00
  06-02-08       Occupancy Tax                                                    Routed From Reyes Cecilia Of Room U357                10.89
  06-02-08       Room-Group                                                       Routed From Lanstra Allen Of Room 11379               99.00
  06-02-08       Occupancy Tax                                                    Routed From Lanstra Allen Of Room 11379               10.89
  06-02-08       Parking-Self Overnight                                           Routed From Lanstra Allen OfRuom #379                  8.00
  06-02-08       Room-Group                                                       Routed From Nolan Tom Of Room 11403                  350.00
  06-02-08       Occupancy Tax                                                    Routed From Nolan Tom Of Room 11403                   38.50
  06-03-08       Comm-Long Distance                                              10:3600:03:00 Routed From MGA                           1.44
                                                                                 Entertainment Of Room #5425
  06-03-08       Comm-Long Distance                                              12:5700:02:00 Routed From MGA                             1.21
                                                                                 Entertainment Of Room 115425
  06-03-08       Banquet Invoice                                                 39125                                               1,011.29
  06-03-08       Banquet Invoice                                                 39559                                                 305.15
  06-03-08       Parking-Valet Overnight                                         Routed From Harden Susan Of Room #347                  15.00
  06-03-08       Comm-Long Distance                                              18:0500:01:00 Routed From MGA                           0.98
                                                                                 Entertainment Of Room #5425
  06-03-08       Comm-Long Distance                                              18:1600:03:00 Routed From MGA                             1.44
                                                                                 Entertainment Of Room #·5425
  06-03-08       Banquet Invoice                                                 39566                                                 906.86
  06-03-08       Parking-Valet Overnight                                         Routed From UsIa ncr Jonathan Of Room 11349            15.00
  06-03-08       Parking-Valet Overnight                                         Routed From Reyes Cecilia Of Room #357                 15.00
  06-03-08       Parking-Valet Overnight                                         Routed From Harden Susan Of Room 11347                 15.00
                     ~.,   ...   ~-.-   ..- - - -   ,   .. ,,-......   ~------




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                                         #:325059




                                                                                     Arrival date:      05-14-08
  MGA Entertainment                                                                  Dcparturc date:    08-29-08
  16300 Roscoe Boulevard                                                             No. in party:      0/0
  Van Nuys, CA 91406                                                                 Hoom No.:           9001
                                                                                     Account No.:
                                                                                     BookingNo.:
                                                                                     Page No.:              70f72

                                                                                      Invoice .:

   INFORMATION INVOICE                                                                                          08-06-08



  06-03-08       Parking-Valet Overnight   Routed From Holden Craig Of Room 11104             15.00
  06-03-08       Parking-Valet Overnight   Routed From Herrington Rob Of Room #346            15.00
  06-03-08       Parking-Valet Overnight   Routed From Roth Carl Of Room 11202                15.00
  06-03-08       Parking-Valet Overnight   Routed From Mumford Marcus Of Room                 15.00
                                           #255
  06-03-08       Parking-Valet Overnight   Routed From Lopez Alex Of Room 11154               15.00
  06-03-08       Parking-Valet Overnight   Routed From Proof Michael Of Room 11249            15.00
  06-03-08       Parking-Valet Overnight   Routed FrOln Shorr Aaron Of Room #303              15.00
  06-03-08       Parking-Valet Overnight   Routed From Harden Susan Of Room 11353             15.00
  06-03-08       Rooi11-No Show            Sloan Matt #25l =>MGA Enteltainmcnt                99.00
                                           119001
  06-03-08       Room-Group                Routed From Holden Craig Of Room 11104            189.00
  06-03-08       Occupancy Tax             Routed From Holden Craig Of Room 11104             20.79
  06-03-08       Room-Group                Routed From Harden Susan Of Rool1l #125            99.00
  06-03-08       Occupancy Tax             Routed From Harden Susan Of Room 11125             10.89
  06-03-08       Room-Group                Routed From Lopez J\lex Of Room 11154              99.00
  06-03-08       Occupancy Tax             Routed From Lopez Alex Of Room #154                10.89
  06-03-08       Room-Group                Routed From Kennedy Raoul Of Room 11158           189.00
  06-03-08       Occupancy Tax             Routed From Kennedy Raoul Of Room 11158            20.79
  06-03-08       Room-Group                Routed From Roth Carl Of Room 11202               189.00
  06-03-08       Occupancy Tax             Routed From Roth Carl Of Room 11202                20.79
  06-03-08       Room-Group                Routed From Rogosa Diana Of Room #217              99.00
  06-03-08       Occupancy Tax             Routed From Rogosa Diana Of Room 11217             10.89
  06-03-08       Room-Group                Routed From Turnipseed Alissa Of Room              99.00
                                           11230
  06-03-08       Occupancy Tax             Routed From Turnipseed Alissa Of Room              10.89
                                           11230
  06-03-08       Room-Group                Routed From Franco Max Of Room #231                99.00
  06-03-08       Occupancy Tax             Routed From Franco Max Of Room #231                10.89
  06-03-08       Parking-Self Overnight    Routed From Franco Max Of Room #231                 5.00
  06-03-08       Room-Group                Routed From Larian Isaac Of Room 11238            129.00
  06-03-08       Occupancy Tax             Routed From Larian Isaac Of Room #238              14.19




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                                                                                        Arrival date:       05-t4·08
  MGA Entertainment                                                                     Departure date:     08·29-08
  16300 Roscoe Boulevard                                                                No. in party:      0/0
  Van Nuys, CA 91406                                                                    Room No.:           9001
                                                                                        Account No.:
                                                                                        UooldngNo.:
                                                                                        Page No.:              80f72

                                                                                         Invoice .:
   INFORMATION INVOICE                                                                                           08-06-08
  D.llte        Dcscripti9n                                                                                      Credits

  06-03-08        Room-Group               Routed From Dozier Jason Of Room #240                 99.00
  06-03-08        Occupancy Tax             Routed From Dozier Jason Of Room 1/240               10.89
  06-03-08        Room-Group                Routed From Proof Michael Of Room 11249              99.00
  06-03-08        Occupancy Tax             Routed From Proof Michael Of Room 11249              10.89
  06-03-08        Parking-Sclf Overnight    Routed From Proof Michacl Of Room 11249               8.00
  06-03-08        Room-Group                Routed From Mumford Marcus Of Room                   99.00
                                           11255
  06-03-08        Occupancy Tax             Routcd From Mumford Marcus Of Room                   10.89
                                           11255
  06-03-08        Room-Group                Routed From Aguiar Lauren Of Room #286              189.00
  06-03-08        Occupancy Tax             Routed From Aguiar Lauren Of Room #286               20.79
  06-03-08        Room-Group                Routed From Shorr Aaron Of Room #303                 99.00
  06-03-08        Occupancy Tax             Routed From Shorr Aaron Of Room 11303                10.89
  06-03-08        Room-Group                Routed From Lybrand Steve Of Room #314               99.00
  06-03-08        Occupancy Tax             Routed From Lybrand Steve Of Room #314               10.89
  06-03-08        Room-Group               Routed From Hartlcin Brianna Of Room #316             99.00
  06-03-08        Occupancy Tax            Routed From Hartlein Brianna Of Room 11316            10.89
  06-03-08        Room-Group               Routed From Rinkcr Greg Of Room #317                  99.00
  06-03-08        Occupancy Tax            Routed From Rinker Greg Of Room 11317                 10.89
  06-03-08        Room-Group               Routed From Hardcn Susan Of Room #345                 99.00
  06-03-08        Occupancy Tax            Routcd From Harden Susan Of Room #345                 10.89
  06-03-08        Room-Group               Routed From Herrington Rob Of Room #346               99.00
  06-03-08        Occupancy Tax            Routed From Herrington Rob Of Room 11346              10.89
  06-03-08        Room-Group               Routed From Harden Susan Of Room 11347                99.00
  06-03-08        Occupancy Tax            Routed From Harden Susan Of Room 11347                10.89
  06-03-08        Room-Group               Routed From Uslancr Jonathan Of Room                  99.00
                                           #349
  06-03-08        Occupancy Tax             Routed From Uslancr Jonathan Of Room                 10.89
                                           11349
  06-03-08        Room-Group                Routed From Harden Susan Of Room 11353               99.00
  06-03-08        Occupancy Tax             Routed From Harden Susan Of Room 11353               10.89
  06-03-08        Room-Group               Routed From Iso111oto Becky Of Room #355              99.00




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                                        #:325061




                                                                                       Arrival date:        05-14-08
  MGA Entertainment                                                                    Departure date:      08-29-08
  16300 Roscoe Boulevard                                                               No. in party:        0/0
  Van Nuys, CA 91406                                                                   Room No.:            9001
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:                  901'72

                                                                                        Invoice .:
   INFORMATION INVOICE                                                                                             08-06-08
                                                                                                                   Credits'

  06-03-08       Occupancy Tax            Routed From Isomoto Becky Of Room 11355               10.89
  06-03-08       Room-Group               Routed From Reyes Cecilia Of Room 11357               99.00
  06-03-08       Occupancy Tax            Routed From Reyes Cecilia Of Room #357                10.89
  06-03-08       Room-Group               Routed From Lanstra Allen Of Room 11379               99.00
  06-03-08       Occupancy Tax            Routed From Lanstra Allen Of Room 11379               10.89
  06-03-08       Parking-Self Overnight   Routed From Lanstra Allen Of Room 11379                8.00
  06-03-08       Room-Group               Routed From Nolan Tom Of Room tt403                  350.00
  06-03-08       Occupancy Tax            Routed From Nolan Tom Of Rooml!403                    38.50
  06-03-08       Bella Trattoria          Larian Isaac #238=>MGA Entertainment                 188.17
                                          119001
  06-04-08       Room Service             Line# 238 : CHECKII 0047316 Larian Isaac              40.89
                                          11238~>MGA Entertainment 11900 I

  06-04-08       Parking-Self Overnight   Routed From Harden Susan Of Room 11345-               16.00
                                          self parking for 612108 & 613108
  06-04-08       Room Service             Unel! 104 : CHECKII 0047320 Holden Craig              19.21
                                          III 04~>MGA Entertainment 119001
  06-04-08       Room-Group                                                                    -99.00
  06-04-08       Occupancy Tax                                                                 -10.89
  06-04-08       Comm-Long Distance       10:2700:02:00 Routed From MGA                          1.21
                                          Entertainment Of Room #5425
  06-04-08       Comm-Long Distance       10:5300:04:00 Routed From MGA                            I. 67
                                          Entertainment Of Room #5425
  06-04-08       Banquet Invoice          39126                                                992.22
  06-04-08       Banquet Invoice          39560                                                712.01
  06-04-08       Room Service             Uncll 104 : CHECKII 0047331 Holden Craig              36.25
                                          III 04~>MGA Entertainment 11900 I
  06-04-08       Comm-Long Distance       13:4100:01:00 Routed From MGA                          0.98
                                          Entertainment Of Room #5425
  06-04-08       Comm-Long Distance       14:01 00:02:00 Routed From MGA                           1.21
                                          Entertainment Of Room #5425
  06-04-08       Las Campanas             Uncll 238 : CI-IECKI! 0053622 Larian Isaac            35.26
                                          11238~>MGA Enteltainment    119001
  06-04-08       Comm-Long Distance       14:2200:04:00 Routed From MGA                            1.67




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                                        #:325062




                                                                                       Arrival date:        05-14-08
  MGA Entertainment                                                                    Departure date:      08-29-08
  16300 Roscoe Boulevard                                                               No. in party:       0/0
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:                  10 of 72

                                                                                        Invoice .:

   INFORMATION INVOICE                                                                                              08-06-08
                                                                                                                   <;:nidits

                                           Entertainment Of Room 115425
  06-04-08       In Room Beverage          Linel! 104 : CHECKIi 00000 I 000 I Routed               6.50
                                           From Holden Craig Of Room 11104
  06-04-08       Comm-Long Distance        16:4800:01 :00 Routed From MGA                          0.98
                                           Entertainment Of Room #5425
  06-04-08       COl11ln-Long Distance     17:0000:03:00 Routed From MGA                         4.51
                                           Entertainment Of Room 1t5425
  06-04-08       Comm-Long Distance        17:4900:0 I :00 Routed From MGA                         0.98
                                           Entertainment Of Room #5425
  06-04-08       Comm-Long Distance        17:5600:08:00 Routed From MGA                           2.59
                                           Entertainment Of Room #5425
  06-04-08       Comm-Long Distance        18:0400:01:00 Routed From MGA                           0.98
                                           Entertainment Of Room #5425
  06-04-08       Comm-Long Distance        18:0400:0 I :00 Routed From MGA                         0.98
                                           Entertainment Of Room #5425
  06-04-08       Cornm-Long Distance       18:3200:01:00 Routed From MGA                           0.98
                                           Entertainment Of Room #5425
  06-04-08       Comm-Long Distance        18:49 00:0 I :00 Routed From MGJ\                       0.98
                                           Entertainment Of Room #5425
  06-04-08       Comm-Long Distance        19:0800:01:00 Routed From MGA                           0.98
                                           Entertainment Of Room #5425
  06-04-08       Comm-Long Distance        20: 1800:01 :00 Routed From MGJ\                        0.98
                                           Entertainment Of Room #5425
  06-04-08       Comm-Long Distance        20:1800:01:00 Routed From MGA                           0.98
                                           Entertainment Of Room #5425
  06-04-08       COI11I11-Long Distance    20:2000:02:00 Routed From MGJ\                          1.21
                                           Entertainment Of Room #5425
  06-04-08       Mission Inn Restaurant    Larian Isaflc #238=>MGA Entertainment                42.09
                                           119001
  06-04-08       Banquet Invoice           D1NNER39567                                         902.09
  06-04-08       Parking-Valet Overnight   Routed From Roth Carl Of Room 1!202                  15.00
  06-04-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room #303                 15.00
  06-04-08       Parking-Valet Overnight   Routed From J,omoto Becky Of Room 11355              15.00




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                                                                                         Arrival date:       05-14-08
  MGA Entertainment                                                                      Departure datc:     08·29·08
  16300 Roscoe Boulevard                                                                 No. in party:      010
  Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                         Account No.:
                                                                                         llookingNo.:
                                                                                         Page No.:              11 of 72

                                                                                          Invoice .:

   INFORMATION INVOICE                                                                                            08-06-08
  Date'       Dcseril'{ion                                                                                        Credits

  06-04-08       Parking-Valet Overnight     Routed From Uslancr Jonathan Of Room #349            15.00
  06-04-08       Parking-Valet Overnight     Routed From Reyes Cecilia Of Room #357               15.00
  06-04-08       Parking-Valet Overnight     Routed From Mumford Marcus Of Room                   15.00
                                             11255
  06-04-08       Parking-Valet Overnight     Routed From Lopez Alex Of Room 11154                 15.00
  06-04-08       Parking-Valet Ovel'11ight   Routed From Harden Susan Of Room 11353               15.00
  06-04-08       Room-Group                  Routed From Holden Craig Of Room 11104              189.00
  06-04-08       Occupancy Tax               Routed From Holden Craig Of Room 11104               20.79
  06-04-08       Room-Group                  Routed From Lopez Alex Of Room 11154                 99.00
  06-04-08       Occupancy Tax               Routed From Lopez Alex Of Room 11154                 10.89
  06-04-08       Room-Group                  Routed From Kenoedy Raoul Of Room 11158             189.00
  06-04-08       Occupancy Tax               Routed From Kennedy Raoul Of Room 11158              20.79
  06-04-08       Room-Group                  Routed From Roth Carl Of Room 11202                 189.00
  06-04-08       Occupancy Tax               Routed From Roth Carl Of Room 11202                  20.79
  06-04-08       Room-Group                  Routed From Rogosa Diana Of Room #217                99.00
  06-04-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217                10.89
  06-04-08       Room-Group                  Routed From D'Avolio Lisa Of Room #229               99.00
  06-04-08       Occupancy Tax               Routed From D'Avolio Lisa Of Room 11229              10.89
  06-04-08       Room-Group                  Routed From Turnipseed Alissa Of Room                99.00
                                             11230
  06-04-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room                10.89
                                             11230
  06-04-08       Room-Group                  Routed From Franco Max Of Room 11231                 99.00
  06-04-08       Occupancy Tax               Routed From Franco Max Of Room 11231                 10.89
  06-04·08       Parking-Self Overnight      Routed From Franco Max Of Room #231                   5.00
  06-04·08       Room-Group                  Routed From Larian Isaac or Room 1/.238             129.00
  06-04-08       Occupancy Tax               Routed From Larian Isaac Of Room #238                14.19
  06·04-08       Room-Group                  Routed From Dozier Jason Of Room #240                99.00
  06·04-08       Occupancy Tax               Routed From Dozier Jason Of Room #240                10.89
  06·04-08       Room-Group                  Routed From Proof Michael Of Room 11249              99.00
  06-04-08       Occupancy Tax               Routed From Proof Michael OfRo0111 11249             10.89
  06-04-08       Parking-Self Overnight      Routed From Proof Michael Of R00111 11249             8.00




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                                                                                        Arrival datc:       05- t 4-08
  MGA Entertainment                                                                     Dcpal'htrc datc:    08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:            900t
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:               12 0[12

                                                                                         Invoice .:
   INFORMATION INVOICE                                                                                              08-06-08
                                                                                              ch:lTgcs              Credits
  06-04-08       Room-Group               Routed From Mumford Marcus Of Room                      99.00
                                          11255
  06-04-08       Occupancy Tax             Routed From Mumford Mareu!:) Of Room                   10.89
                                          #255
  06-04-08       Room-Group                Routed From Harden Susan Of Room 11258                 99.00
  06-04-08       Occupancy Tax             Routed From Hardell Susan OfR"om1l258                  10.89
  06-04-08       Room-Group               Routed From Aguiar Lauren Of Room #286                 189.00
  06-04-08       Occupancy Tax            Routed From Aguiar Lauren Of Room #286                  20.79
  06-04-08       Room-Group               Routed From Shorr Aaron Of Room 11303                   99.00
  06-04-08       Occupancy Tax            Routed From Shorr Aaron Of Room #303                    10.89
  06-04-08       Room-Group               Routed From Lybrand Steve Of Room #314                  99.00
  06-04-08       Occupancy Tax            Routed From Lybrand Steve Of Room 11314                 10.89
  06-04-08       Room-Group               Routed From Hartlcin Brianna Of Room #316               99.00
  06-04-08       Occupancy Tax            Routed From I-Iartlcin Brianna Of Room #316             10.89
  06-04-08       Room-Group               Routed From Rinker Greg Of Room #317                    99.00
  06-04-08       Occupancy Tax             Routed From Rinker Greg Of Room 11317                  10.89
  06-04-08       Room-Group                Routed From Herrington Rob Of Room 11346               99.00
  06-04-08       Occupancy Tax             Routed From Herrington R"b Of Room 11346               10.89
  06-04-08       Room-Group                Routed From Uslancr Jonathan Of Room                   99.00
                                          11349
  06-04-08       Occupancy Tax             Routed From Uslaner Jonathan Of Room                   10.89
                                          #349
  06-04-08       Room-Group                Routed From Harden Susan Of Room 11353                99.00
  06-04-08       Occupancy Tax             Routed From Harden Susan Of Room 11353                10.89
  06-04-08       Room-Group                Routed Fl'om Isomoto Becky Of Room #355               99.00
  06-04-08       Occupancy Tax             Routed From Isomoto Becky Of Room #355                10.89
  06-04-08       Room-Group               Routed From Reyes Cecilia OfRo"m #357                  99.00
  06-04-08       Occupancy Tax             Routed From Reyes Cecilia OfR"om1l357                 10.89
  06-04-08       Room-Group                Routed From Lanstl'a Allen Of Room 11379              99.00
  06-04-08       Occupancy Tax             Routed From Lanstra Allen Of Room 11379               10.89
  06-04-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379                8.00
  06-04-08       Room-Group                Routed From Nolan Tom Of Room 11403                  350.00




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                                                                                    Arrival datc:         05·14·08
  MGA Entertainment                                                                 Departure datc:       08·29-08
  16300 Roscoe Boulevard                                                            No. in »arty:        0/0
  Van Nuys, CA 91406                                                                Room No.:             9001
                                                                                    Account No.:
                                                                                    BooldngNo.:
                                                                                    Page No.:                \3 of 72

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   INFORMATION INVOICE                                                                                         08-06-08



  06-04-08       Occupancy Tax          Routed From Nolan Tom Of Room 11403                  38.50
  06-05-08       Room Service           Linell 238 : CHECKII 0047375 Lurian Isaac            28.09
                                        11238~>MGA Entertainment 119001

  06-05-08       C01TIm-Long Distance    10:3000:08:00 Routed From MGA                        2.59
                                        Entertainment Of Room #5425
  06-05-08       Comm-Long Distance      10:3600:06:00 Routed From MGA                        2.13
                                        Entertainment Of Room #5425
  06-05-08       Comm-Long Distance      10:51 00:02:00 Routed From MGA                         1.21
                                        Entertainment Of Room #5425
  06-05-08       Coml11-Long Distance    10:5400:03:00 Routed From MGA                          1.44
                                        Entertainment Of Room #5425
  06-05-08       Banquet Invoice        39561                                               712.01
  06-05-08       C0111m-Long Distance    13: IS 00:01 :00 Routed From MGA                     0.98
                                        Entert8inment Of Room #5425
  06-05-08       Comm-Long Distance     14:2800:01 :00 Routed From MGA                        0.98
                                        Entertainment Of Room 115425
  06-05-08       Comm-Long Distance     15:3200:02:00 Routed From MGA                           1.21
                                        Entertainment Of Room 1f,5425
  06-05-08       C0111m-Local Calls     15:4900:04:00 Routed From MGA                         0.75
                                        Entertainment Of Room #5425
  06-05-08       Corum-Local Calls      15:5100:03:00 Routed From MGA                         0.75
                                        Entertainment Of Room 115425
  06-05-08       Comm-Long Distance     15:5700:02:00 Routed From MGA                           1. 21
                                        Entertainment Of Room #5425
  06-05-08       Comm-Long Distance     18:0800:03:00 Routed From MGA                           1.44
                                        Enterlainmenl Of Room 115425
  06-05-08       Comm-Long Distance     18:3600:03:00 Routed From MGA                           1.44
                                        Entertainment Of Room #-5425
  06-05-08       Room Service           Linell 104: CHECK II 0047432 Holden Craig            42.76
                                        11104~>MGA Entertainment 119001
  06-05-08       Comm-Long Distance     21 :03 00:03:00 Routed From MGA                         1.44
                                        Entertainment Of Room fl5425
  06-05-08       Banquet Invoice        D1NNER39568                                         916.40




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                                                                                            Arrival date:      05-14-08
  MGA Entertainment                                                                         Departure datc:    08-29-08
  16300 Roscoe Boulevard                                                                    No. in party:      0/0
  Van Nuys, CA 91406                                                                        Room No.:           9001
                                                                                            Account No.:
                                                                                            BooldngNo.:
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                                                                                             Invoice .:
   INFORMATION INVOICE                                                                                                 08-06-08
  Dl\fe        J:)~scription                 Ile(ercDce                                           Cbarges              Credits

  06-05-08        Banquet Invoice             CB/ROOM RENTAL                                      1,020.83
  06-05-08        Comm~Long Distance          23:0400:01:00 Routed From MGA                           0.98
                                              Enteltainmcnt Of Room #5425
  06-05-08        Parking-Valet Overnight     Routed From Roth Carl Of Room 11202                    15.00
  06-05-08        Parking~ Valet Overnight    Routed From Mumford Marcus Of Room                     15.00
                                              11255
  06-05-08        Parking~ Valet Ovemight     Routed From Shorr Aaron Of Room #303                   15.00
  06-05-08        Parking~Valet Overnight     Routed From Harden Susan Of Room #353                  15.00
  06-05-08        Parking-Valet Ovemight      Routed From Lopez Alex Of Room 11154                   15.00
  06-05-08        Parking-Valet Overnight     Routed From Holden Craig Of Room 11104                 15.00
  06-05-08        Parking-Valct Ovemight      Routed From Lanstm Allen Of Room 11379                 15.00
  06-05-08        Parking-Valet Overnight     Routed From Isomoto Becky Of Room 11355                15.00
  06-05-08        Parking~Valet Overnight     Routed From Uslaner 10nathan Of Room 11-349            15.00
  06-05-08        Room-Group                   Routed From Holden Craig Of Room 11104               189.00
  06-05-08        Occupancy Tax                Routed From Holden Craig or Room ill 04               20.79
  06-05-08        Room-Group                   Routed From Lopez Alex Of Room 11154                  99.00
  06-05-08        Occupancy Tax                Routed From Lopez Alex Of Room 11154                  10.89
  06-05-08        Room-Group                   Routed From Kennedy Raoul Of Room 11158              189.00
  06-05-08        Occupancy Tax                Routed From Kennedy Raoul Of Room 11158               20.79
  06-05-08        Room-Group                   Routed From Roth Carl or Room 11202                  189.00
  06-05-08        Occupancy Tax                Routed From Roth Carl Of Room 11202                   20.79
  06-05-08        Room-Group                   Routed From Rogosa Diana Of Room fl21?                99.00
  06-05-08        Occupancy Tax                Routed From Rogosa Diana Of Room 11217                10.89
  06-05-08        Room-Group                   Routed From D'Avolio Lisa Of Room 11229               99.00
  06-05-08        Occupancy Tax                Routed From D'Avolio Lisa Of Room 11229               10.89
  06-05-08        Room-Group                   Routed From Turnipseed Alissa Of Room                 99.00
                                              11230
  06-05-08        Occupancy Tax                Routed From Turnipseed Alissa Of Room                 10.89
                                              11230
  06-05-08        Room-Group                   Routed From Franco Max Of Room 11231                  99.00
  06-05-08        Occupancy Tax                Routed From Franco Max Of Room 11231                  10.89
  06-05-08        Parking-Self Overnight       Routed From Franco Max Of Room 11231                   5.00




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                                                                                       Arrival datc:       05-14-08
  MGA Entertainment                                                                    Dcparture date:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:      010
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                       DookingNo.:
                                                                                       Page No.:              15 of 72

                                                                                        Invoice .:
   INFORMATION INVOICE                                                                                          08-06-08
  Date                                                                                                          .Cr~.dit~

  06-05-08       Room-Group                Routcd From Larian Isaac Of Room 11238              129.00
  06-05-08       Occupancy Tax             Routed From Larian Isaac Of Room 11238               14.19
  06-05-08       Room-Group                Routed From Dozier Jason Of Room #240                99.00
  06-05-08       Occupancy Tax             Routed From Dozier Jason Of Room #240                10.89
  06-05-08       Room-Group                Rouled From Proof Michael Of Room 11249              99.00
  06-05-08       Occupancy Tax             Rouled From Proof Michael Of Room 11249              10.89
  06-05-08       Parking-Self Overnight    Routed From ProofMiehac1 Of Room 11249                8.00
  06-05-08       Room-Group                Routed From Mumford Marcus Of Room                   99.00
                                          #255
  06-05-08       Occupancy Tax             Routed From Mumford Marcus Of Room                   10.89
                                          11255
  06-05-08       Room-Group                Routed From Harden Susan Of Room #258                99.00
  06-05-08       Occupancy Tax             Rouled From Harden Susan Of Room 11258               10.89
  06-05-08       Room-Grollp               Routed From Aguiar Lauren Of Room #286              189.00
  06-05-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286               20.79
  06-05-08       Room-Group                Routed From Shorr Aaron Of Room #303                 99.00
  06-05-08       Occupancy Tax             Rouled From Shorr Aaron Of Room 11303                10.89
  06-05-08       Room-Group                Routed From Lybrand Sieve Of Room 11314              99.00
  06-05-08       Occupancy Tax             Rouled From Lybrand Sieve Of Room 11314              10.89
  06-05-08       Roorn-Group               Routed From Hartlein Brianna Of Room #316            99.00
  06-05-08       Occupancy Tax             Routed From Hartlein Brianna Of Room #316            10.89
  06-05-08       Room-Group                Rouled From Rinker Greg Of Room #317                 99.00
  06-05-08       Occupancy Tax             Routed From Rinker Greg Of Room 11317                10.89
  06-05-08       Room-Grollp               Routed From Herrington Rob Of Room #346              99.00
  06-05-08       Occupancy Tax             Routed From Herringlon Rob Of Room 11346             10.89
  06-05-08       Room-Group                Routed From Uslaner Jonathan Of Room                 99.00
                                          11349
  06-05-08       Occupllncy Tax            Routed From Uslancr Jonathan Of Room                 10.89
                                          11349
  06-05-08       Room-Group               Rouled From Harden Susan Of Room 11353                99.00
  06-05-08       Occupancy Tax            Routed From Harden Susan Of Room #353                 10.89
  06-05-08       Room-Group               Routed From Isomoto Becky Of Rooll1 11355             99.00




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                                                                                        Arrival date:         05-14-08
  MGA Entertainment                                                                     Departure datc:      08-29-08
  16300 Roscoe Boulevard                                                                No. in party:        010
  Van Nuys, CA 91406                                                                    Hoom No.:            9001
                                                                                        Account No.:
                                                                                        HooldngNo.:
                                                                                        Page No.:                  16 of 72

                                                                                         Invoice .:
   INFORMATION INVOICE                                                                                               08-06-08
                                                                                              Charges

  06-05-08       Occupancy Tax             Routed From Isomoto Becky Of Room #355                10.89
  06-05-08       Room-Group                Routed From Reyes Cecilia Of Room 11357               99.00
  06-05-08       Occupancy Tax             Routed From Reyes Cecilia Of Room 11357               10.89
  06-05-08       Room-Group                Routed From Lanstra Allen Of Room 113 79              99.00
  06-05-08       Occupancy Tax             Routed From Lanstra Allen Of Room 11379               10.89
  06-05-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379                8.00
  06-05-08       Room-Group                Routed From Nolan Tom Of Room 11403                  350.00
  06-05-08       Occupancy Tax             Routed From Nolan Tom Of Room 11403                   38.50
  06-06-08       Comm-Long Distance        08:2700:03:00 Routed From MGA                          1.44
                                           Entertainment Of Room #5425
  06-06-08       Con1m-Long Distance       II :0900:0 I :00 Routed From MGA                       0.98
                                           Entertainment Of Room #5425
  06-06-08       Banquet Invoicc           39128 MGA Entertainment 115425-->MGA               1,001.75
                                           Entertainment #900 I
  06-06-08       Banquet Invoice           39564 MGA Entertainment #5425~>MGA                   584.87
                                           Entertainment #900 I
  06-06-08       Comm-Long Distance        14:3500:05:00 Routed From MGA                            1.90
                                           Entertainment Of Room #5425
  06-06-08       Las Campanas              Linel! 104: CHECK# 0053940 Holden Craig               80.29
                                           I!I04~>MGA Entertainment 119001
  06-06-08       Parking-Valet Overnight   Routed From Holden Craig Of Room 11104                15.00
  06-06-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room 11303                 15.00
  06-06-08       Parking-Valet Overnight   Routed From Harden Susan Of Room 11353                15.00
  06-06-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room 11349            15.00
  06-06-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room 11303                 15.00
  06-06-08       Room-Group                Routed From Holden Craig Of Room 11104               189.00
  06-06-08       Occupancy Tax             Routed From Holden Craig Of Room 11104                20.79
  06-06-08       Room-Group                Routed From Lopez Alex Of Room 11154                  99.00
  06-06-08       Occupancy Tax             Routed From Lopez Alex Of Room 11154                  10.89
  06-06-08       Room-Group                Routed From Kennedy Raoul Of Room 11158              189.00
  06-06-08       Occupancy Tax             Routed From Kennedy Raoul Of Room 11158               20.79
  06-06-08       Room-Group                Routed From Roth Carl Of Room 11202                  189.00
  06-06-08       Occupancy Tax             Routed From Roth Carl Of Room 11202                   20.79




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                                                                                        Arrival date:       05·t4·08
  MGA Entertainment                                                                     Departure date:     08·29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:           900t
                                                                                        Account No.:
                                                                                         BooJdngNo.:
                                                                                        Page No.:                 17 of 72

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                               08-06-08
  :Ilate        Description                                                                                        Credits·

  06-06-08         Room-Group                Routed From Rogosa Diana Of Room #217               99.00
  06-06-08         Occupancy Tax             Routed From Rogosa Diana Of Room #-217              10.89
  06-06-08         Room-Group                Routed From D'Avolio Lisa Of Room 11223             99.00
  06-06-08         Occupancy Tax             Routed From D!Avolio Lisa Of Room #223              10.89
  06-06-08         Room-Group                Routed From Turnipsced Alissa Of Room               99.00
                                            11230
  06-06-08         Occupancy Tax             Routed From Turnipseed Alissa Of Room               10.89
                                            11230
  06-06-08         Room-Group                Routcd From Fmnco Max Of Room #231                  99.00
  06-06-08         Occupancy Tflx            Routed From Franco Max Of Room 11231                10.89
  06-06-08         Parking-Self Overnight    Routed From Franco Max Of Room 1-/-231               5.00
  06-06-08         Room-Group                Routed From Dozier Jason Of Room #240               99.00
  06-06-08         Occupancy Tax             Routed From Dozier Jason Of Room #240               10.89
  06-06-08         Room-Group                Routed From Proof Michael Of Room 11249             99.00
  06-06-08         Occupancy Tax             Routed From Proof Michael Of Room 11-249            10.89
  06-06-08         Parking-Self Overnight    Routed From Proof Michael Of Room 11249              8.00
  06-06-08         Room-Group                Routed From Mumford M8rcus Of Room                  99.00
                                            11255
  06-06-08         Occupancy Tax             Routed From Mumford Marcus Of Room                  10.89
                                            11255
  06-06-08         Room-Group                Routed From Aguiar Lauren Of Room 11286            189.00
  06-06-08         Occupancy Tax             Routed From Aguiar Lauren Of Room 11286             20.79
  06-06-08         Room-Group                Routed From Shorr Aaron Of Room 11303               99.00
  06-06-08         Occupancy Tax             Routed From Shorr Aeron Of Room 11303               10.89
  06-06-08         Room-Group                Routed From Lybrand Steve Of Room 11314             99.00
  06-06-08         Occupancy Tax             Routed From Lybrand Steve Of Room 11314             10.89
  06-06-08         Room-Group                Routed From Hartlein Brimma Of Room #316            99.00
  06-06-08         Occup8ncy Tax             Routed From Hmtlein Brianna Of Room #316            10.89
  06-06-08         Room-Group                Routed From Rinker Greg Of Room #317                99.00
  06-06-08         Occupancy T8x             Routed From Rinker Greg Of Room 11317               10.89
  06-06-08         Room-Group                Routed From Herrington Rob or Room 11346            99.00
  06-06-08         Occupancy Tax             Routed From Herrington Rob Of Room 11346            10.89




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                                                                                        Arrival datc:        05-14-08
  MGA Entertainment                                                                     Departurc datc:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:           9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:                 18 of 72

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                               08-06-08
              Dcscriptjoll                R~fcrciicc                                          Charges              Credits

  06-06-08       Room-Group                 Routed From Uslaner Jonathan Of Room                 99.00
                                           11349
  06-06-08       Occupancy Tax              Routed From Uslancr Jonathan Of R00111               10.89
                                           11349
  06-06-08       Room-Group                 Routed From Harden Susan Of Room #353                99.00
  06-06-08       Occupancy Tax              Routed From Harden Susan Of Room 11353               10.89
  06-06-08       Room-Group                 Routed From Isomoto Becky Of Room 11355              99.00
  06-06-08       Occupancy Tax              Routed From Isomoto Becky Of Room 11355              10.89
  06-06-08       Room-Group                 Routed From Reyes Cecilia Of Room 11357              99.00
  06-06-08       Occupancy Tax              Routed From Reyes Cecilia Of Room 11357              10.89
  06-06-08       Room-Group                 Routed From Lanstra Allen O[Room 11379               99.00
  06-06-08       Occupancy Tax              Routed From Lanstra Allen Of Room #379               10.89
  06-06-08       Parking-Self Overnight     Routed From Lanstra Allen Of Room 11379               8.00
  06-06-08       Room-Group                 Routed From Nolan Tom Of Room 11403                 350.00
  06-06-08       Occupancy Tax              Routed From Nolan Tom Of Room 11403                  38.50
  06-07-08       Valet Parking             Linell 286 : CHECKII 0118777 Aguiar Lauren            15.00
                                           il286~>MGA Entertainment #9001

  06-07-08       Banquct Invoice           39129 MGA Entertainment #5425~>MGA                   725.00
                                           Entertaimnent #9001
  06-07-08       Room Service              Line1l136: CHECKII 0047586 Bryant Carter              31.46
                                           # 136:oo:>Kekcr & Van Nest Trial Rooms
                                           119002 Keker & Van Nest Trial Rooms
                                           119002~>Bryant Carter #136 Bryant Carter
                                           11136~>MGA Entertainment 11900 I

  06-07-08       Room Service              Linell136 : CHECKII 0047578 Bryant Carter            385.00
                                           #136~>Kekcr & Van Nest Trial Rooms
                                           119002 Keker & Van Nest Trial Rooms
                                           119002~> Bryant Carter 11136 Bryant Carter
                                           11136~>MGA Entertainment 119001

  06-07-08       Room Service              Line1l136: CHECKII 0047595 Bryant Carter             527.50
                                           11136~>Keker & Van Nest Trial Rooms
                                           119002 Keker & Van Nest Trial Rooms
                                           119002~>Bryant Carter 11136 Bryant Carter
                                           11136~>MGA Entertainment 11900 I




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                                                                                       Arrival date:       05-14-08
  MGA Entertainment                                                                    Departure date:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:       0/0
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                        llookingNo.:
                                                                                       Page No,;              19 of 72

                                                                                        Invoice .:
   INFORMATION INVOICE                                                                                            08-06-08



  06-07-08       Parking-Valet Ovcrnight   Routed From Harden Susan Of Room 11353               15.00
  06-07-08       Parking-Valct Overnight   Routed From Proof Michael Of Room 11249              15.00
  06-07-08       Parking-Valet Overnight   Routed From Herrington Rob Of Room 11346             15.00
  06-07-08       Parking-Valet Overnight   Routed From Holden Craig Of Room 11104               15.00
  06-07-08       Parking-Valet Overnight   Routed From Lanstra Allen Of Room 11379              15.00
  06-07-08       Parking-Valet Overnight   Routed Frolll Harden Susan Of Room 11353             15.00
  06-07-08       Parking-Valet Overnight   Routed From Holden Craig Of Room 11104               15.00
  06-07-08       Parking-Valet Ovcrnight   Routed From Shorr Aaron Of Room #303                 15.00
  06-07-08       Room-Group                Routed From Holden Craig Of Room 11104              189.00
  06-07-08       Occupancy Tax             Routed From Holden Craig Of Room 11104               20.79
  06-07-08       Room-Group                Routed From Bryant Carter Of Room 11136             189.00
                                           Kekcr & Van Nest Trial Rooms
                                           #9002~>MGA Entertainment 11900 I

  06-07-08       Occupancy Tax              Routed From Bryant Carter Of Room #136              20.79
                                           Kcker & Van Nest Trial Rooms
                                           #9002~>MGA Entertainment 11900 I
  06-07-08       Room-Group                 Routed From Lopez A lex Of Room 11154               99.00
  06-07-08       Occupancy Tax              Routed From Lopez Alex Of Room 11154                10.89
  06-07-08       Room-Group                 Routed From Kennedy Raoul Of Room 11158            189.00
  06-07-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 11158             20.79
  06-07-08       Room-Group                 Routed From Roth Carl Of Room 11202                189.00
  06-07-08       Occupancy Tax              Routed From Roth Carl Of Room 11202                 20.79
  06-07-08       Room-Group                 Routed From Rogosa Diana Of Room #217               99.00
  06-07-08       Occupancy Tax              Routed From Rogosa Diana Of Room #217               10.89
  06-07-08       Room-Group                 Routed From D'A volio Lisa Of Room 11223            99.00
  06-07-08       Occupancy Tax              Routed From D'Avolio Lisa Of Room 11223             10.89
  06-07-08       Room-Group                 Routed From Turnipsced Alissa Of Room               99.00
                                           11230
  06-07-08       Occupancy Tax              Routed From Turnipseed Alissa Of Roorn              10.89
                                           11230
  06-07-08       Room-Group                 Routed From Franco Max Of Room #231                 99.00
  06-07-08       Occupancy Tax              Routed From Franco Max Of Room f1231                10.89
  06-07-08       Parking-Self Overnight     Routed From Franco Max Of Room #231                  5.00




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                                                                                             Arrival datc:        05-14-08
  MGA Entertainment                                                                          Dcparture date:      08-29-08
  16300 Roscoe Boulevard                                                                     No. in party:       0/0
  Van Nuys, CA 91406                                                                         Hoom No.:            9001
                                                                                             Account No.:
                                                                                             HookingNo.:
                                                                                             Page No.:               200f72

                                                                                              Invoice .:
   INFORMATION INVOICE                                                                                                   08-06-08
  Date        'Qescrip!i~JI               Referellce.                                              Charges               Credits

  06-07-08       Room-Group                  Routed From Dozier Jason Of Room #240                    99.00
  06-07-08       Occupancy Tax               Routed From Dozier Jason Of Room #240                    10.89
  06-07-08       Room-Group                  Routed From Proof Michael Of Room #249                   99.00
  06-07-08       Occupancy Tax               Routed From Proof Michael Of Room #249                   10.89
  06-07-08       Parking-Self Overnight      Routed From Proof Miehacl Of Room 11249                   8.00
  06-07-08       Room-Group                  Routed From Mumford Marcus Of Room                       99.00
                                            11255
  06-07-08       Occupancy Tax               Routed From Mumford Marcus Of Room                       10.89
                                            11255
  06-07-08       Room-Group                  Routed From Aguiar Lnuren Of Room #286                  189.00
  06-07-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286                   20.79
  06-07-08       Room-Group                  Routcd From Shorr Aaron Of Room #303                     99.00
  06-07-08       Occupancy Tax               Routed From Shorr Aaron Of Room il303                    10.89
  06-07-08       Room-Group                  Routed From Lybrand Steve Of Room 11314                  99.00
  06-07-08       Occupancy Tax               Routed From Lybrand Steve Of Room 11314                  10.89
  06-07-08       Room-Group                  Routed From Harllcin Brianna Of Room #316                99.00
  06-07-08       Occupancy Tax               Routed From J-Iartlein Brianna Of Room #3 J 6            10.89
  06-07-08       Room-Group                  Routed From Rinker Greg Of Room #317                     99.00
  06-07-08       Occupancy Tax               Routed From Rinker Greg Of Room 11317                    10.89
  06-07-08       Room-Group                  Routed From Herrington Rob Of Room 11346                 99.00
  06-07-08       Occupancy Tax               Routed From Herrington Rob Of Room 11346                 10.89
  06-07-08       Room-Group                  Routed From Uslancr Jonathan Of Room                     99.00
                                            #349
  06-07-08       Occupancy Tflx              Routed From Uslancr Jonathan Of Room                     10.89
                                            11349
  06-07-08       Room-Group                  Routed From Harden Susan Of Room #353                    99.00
  06-07-08       Occupancy Tax               Routed From Harden Susan Of Room #353                    10.89
  06-07-08       Room-Group                  Routed From Isomoto Becky Of Room #355                   99.00
  06-07-08       Occupancy Tax               Routed From Isomoto Becky Of Room 11355                  10.89
  06-07-08       Room-Group                  Routed From Reyes Cecilia Of Room 11357                  99.00
  06-07-08       Occupancy Tax               Routed From Reyes Cecilia Of Room 11357                  10.89
  06-07-08       Room-Group                  Routed From Lanstra Allcn Of Room 11379                  99.00




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                                                                                         Arrival date:         05·14·08
  MGA Entertainment                                                                      Departure date:       08·29·08
  16300 Roscoe Boulevard                                                                 No. in party:        DID
  Van Nuys, CA 91406                                                                     Room No.:            9001
                                                                                         Account No.:
                                                                                         BooldngNo.:
                                                                                         Page No.:                  210f72

                                                                                          Invoice .:
   INFORMATION INVOICE                                                                                               08-06·08
                                                                                              Gl'argc~

  06-07·08       Occupancy Tax             Routed From Lanstra Allen Of Room 11379                10.89
  06·07·08       Parking-Self Overnight    Routed From Lanstra Allen Of Room #379                  8.00
  06·07·08       Room-Group                Routed From Nolan Tom Of Room 11403                   350.00
  06-07·08       Occupancy Tax             Routed From Nolan Tom Of Room 11403                    38.50
  06·08·08       Comm-Local Calls         12:51 00:01 :00 Routed From Holden Craig Of              0.75
                                          Room 11104
  06·08·08       Banquet Invoice          39131 MGA Entertainment 115425"'>MGA                   954.07
                                          Entertainment #9001
  06·08·08       In Room Beverage         Linelll04: CHECKI! 0000010001 Routed                     6.50
                                          From Holden Craig Of Room 11104
  06·08·08       In Room Service          Linel! 136 : CHECKII 000006 0006 Routed                 17.00
                                          From Bryant Carter Of Room 11136 Keker &
                                          Van Nest Trial Rooms #9002;;-~>Bryant Carter
                                          11136 Bryant Carter 11l36~>MGA
                                          Entertainment 11900 I
  06·08·08       Comm-Long Distance       15:4500:01:00 Routed From MGA                            0.98
                                          Entertainment Of Room #5425
  06-08·08       Comm-Long Distance       15:4600:01 :00 Routed From MGA                           0.98
                                          Entertainment Of Room #5425
  06·08·08       Comm-Long Distance       19:5600:02:00 Routed From Holden Craig Of                  1.21
                                          Room 11104
  06·08·08       COillm-Long Distance     19:5600:01 :00 Routed From Holden Craig Of               0.98
                                          Room III 04
  06·08·08       Comm-Long Distance       19:5800:01 :00 Routed From Holden Craig Of               0.98
                                          Room III 04
  06·08-08       Com11l~Long Distance     20:1400:03:00 Routed From MGA                              1.44
                                          Entertainment Of Room #5425
  06·08·08       Comm-Long Distance       20:2700:04:00 Routed From MGA                              1.67
                                          Entertainment Of Room #5425
  06·08·08       In Room Movies           Line# 136: Movies Routed From Bryant                    16.99
                                          Carter Of Room 11136 Keker & Van Nest Trial
                                          Rooms 119002~>Bryant Carter 11136 Bryant
                                          Carter 11136~> MGA Entertainment 11900 I
  06·08·08       Banquet Invoice          39679                                                  678.95




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                                                                                          Arrival date:        05-t4-08
  MGA Entertainment                                                                       Departure datc:      08-29-08
  16300 Roscoe Boulevard                                                                  No. in party:       0/0
  Van Nuys, CA 91406                                                                      Room No.:            900t
                                                                                          Account No.:
                                                                                          BookingNo.:
                                                                                          Page No.:               220f72

                                                                                           Invoice .:
   INFORMATION INVOICE                                                                                              08-06-08
                                                                                                                    Credits

  06-08-08       In Room Movies             Lineft. 136 : Movies Routed From Bryant                11.99
                                            Carter Of Room 11136 Keker & Van Nest Trial
                                            Rooms 119002~>Bryant Cmter 11136 Blyant
                                            Carter #136~>MGA Entertainment 119001
  06-08-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                   15,00
  06-08-08       Parking-Valet Overnight    Routed From Holden Craig Of Room 11104                 15,00
  06-08-08       Parking-Valet Overnight    Routed From Harden Susan Of Room 11353                 15,00
  06-08-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room 11154                   15,00
  06-08-08       P8rking- Valet Overnight   Routed From Reyes Cecilia Of Room 11357                15,00
  06-08-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room 11-303                 15,00
  06-08-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room 11346               15,00
  06-08-08       Parking-Valet Overnight    Routed From Uslaner 10nathan Of Room #349              15,00
  06-08-08       Parking- Valet Overnight   Routed From Isomoto Becky Of Room 11355                15,00
  06-08-08       Room-Group                  Routed From Holden Craig Of Room 11104               189,00
  06-08-08       Occupancy Tax               Routed From Holden Craig Of Room 11104                20,79
  06-08-08       Room-Group                  Routed From Bryant Carter Of Room 11 136             189,00
                                            Keker & Van Nest Trial Rooms
                                            119002~>MGA Entertainment 119001

  06-08-08       Occupancy Tax               Routed From Bryant Carter Of Room 11136               20,79
                                            Keker & Van Nest Trial Rooms
                                            119002~>MGA Entertainment 119001

  06-08-08       Room-Group                 Routed From Lopez Alex Of Room 11154                   99,00
  06-08-08       Occupancy Tax              Routed From Lopez Alex Of Room 11154                   10,89
  06-08-08       Room-Group                 Routed From Kennedy Raoul Of Room 11158               189,00
  06-08-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 11158                20,79
  06-08-08       Room-Group                 Routed From Roth Carl Of Room 11202                   189,00
  06-08-08       Occupancy Tax              Routed From Roth Carl Of Room 11202                    20,79
  06-08-08       Room-Group                 Routed From Kesseler Claude Of Room 11213              99,00
  06-08-08       Occupancy Tax              Routed From Kesseler Claude Of Room 11213              10,89
  06-08-08       Room-Group                 Routed From Rogosa Diana Of Room #217                  99,00
  06-08-08       OecupsJ1cy Tax             Routed From Rogosa Diana Of Room #217                  10,89
  06-08-08       Room-Group                 Routed From D'A volio Lisa Of Room #223                99,00
  06-08-08       Occupancy Tax              Routed From D'Avolio Lisa Of Room 11223                10,89




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                                                                                       Arrival date:       05- t4-08
  MGA Entertainment                                                                    Departure date:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:       0/0
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:                 230f72

                                                                                        Invoice .:
   INFORMATION INVOICE                                                                                            08-06-08
                                                                                                                  Credits

  06-08-08       Room-Group               Routed From Turnipseed Alissa Of Room                 99.00
                                          11230
  06-08-08       Occupancy Tax            Routed From Turnipseed Alissa Of Room                 10.89
                                          11230
  06-08-08       Room-Group                Routed From Franco Max Of Room #231                  99.00
  06-08-08       Occupancy Tax            Routed From Franco Max Of Room fl.231                 10.89
  06-08-08       Parking-Self Ovcrnight   Routed From Franco Max Of Room if231                   5.00
  06-08-08       Room-Group               Routed From Dozier Jason Of Room #240                 99.00
  06-08-08       Occupancy Tax            Routed From Dozier Jason Of Room #240                 10.89
  06-08-08       Room-Group                Routed From Proof Michael Of Room 11249              99.00
  06-08-08       Occupancy Tax             Routed From Proof Miehae1 Of Room #249               10.89
  06-08-08       Parking-Self Overnight    Routed From Proof Miehae1 Of Room 11249               8.00
  06-08-08       Room-Group                Routed From Mumford Marcus Of Room                   99.00
                                          11255
  06-08-08       Occupancy T8x            Routed From Mumford Marcus Of Room                    10.89
                                          11255
  06-08-08       Room-Group               Routed From Aguiar Lauren Of Room #286               189.00
  06-08-08       Occupancy Tax            Routed From Aguiar Lauren Of Room #286                20.79
  06-08-08       Room-Group               Routed From Shorr Aaron Of Room 11303                 99.00
  06-08-08       Occupancy Tax            Routed From Shorr Aaron Of Room #303                  10.89
  06-08-08       Room-Group               Routed From Lybrand Steve Of Room 11314               99.00
  06-08-08       Occupancy Tax            Routed From Lybrand Steve Of Room 11314               10.89
  06-08-08       Room-Group               Routed From Hartlein Brialllw Of Room #316            99.00
  06-08-08       Occupancy Tax            Routed From Hart1cin Brianna Of Room 11316            10.89
  06-08-08       Room-Group               Routed From Rinker Greg Of Room #317                  99.00
  06-08-08       Occupancy Tax            Routed From Rinker Greg Of Room 11317                 10.89
  06-08-08       Room-Group               Routed From Herrington Rob Of Room 11346              99.00
  06-08-08       Occupancy Tax            Routed From Herrington Rob Of Room #346               10.89
  06-08-08       Room-Group               Routed From Uslaner Jonathan Of Room                  99.00
                                          #349
  06-08-08       Occupancy Tax            Routed From Uslaner Jonathan Of Room                   10.89
                                          #349
  06-08-08       Room-Group               Routed From Harden Susan Of Room #353                 99.00




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                                                                                       An'ival date:        05-t4-08
  MGA Entertainment                                                                    Dcparture datc:      08-29-08
  16300 Roscoe Boulevard                                                               No. in party:        0/0
  Van Nuys, CA 91406                                                                   Room No.:             900t
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:                240fn

                                                                                        Invoice .:
   INFORMATION INVOICE                                                                                              08-06-08
                                                                                                                    Credits

  06-08-08       Occupancy Tax              Routed From Harden Susan Of Room 11353              10.89
  06-08-08       Room-Group                 Routed From Isomoto Becky Of Room 11355             99.00
  06-08-08       Occupancy Tax              Routed From Isomoto Becky Of Room 11355             10.89
  06-08-08       Room-Group                 Routed From Reyes Cecilia Of Room 11357             99.00
  06-08-08       Occupancy Tax              Routed From Reyes Cecilia Of Room 11357             10.89
  06-08-08       Room-Group                 Routed From Lanstra Allen Of Room 11379             99.00
  06-08-08       Occupancy Tax              Routed From Lanstra Allen Of Room 11379             10.89
  06-08-08       Parking-Sci f Overnight    Routed From Lanstra Allen Of Room 11379              8.00
  06-08-08       Room-Group                 Routed From Nolan Tom Of Room 11403                350.00
  06-08-08       Occupancy Tax              Routed From Nolan Tom Of Room 11403                 38.50
  06-09-08       Comm-Long Distance        II :25 00:02:00 Routed From MGA                       1.21
                                           Entertainment Of Room #5425
  06-09-08       Comm-Long Distance        II :3600:04:00 Routed From MGA                          1.67
                                           Entertainment Of Room #5425
  06-09-08       C0111111-Long Distance    12:3700:03:00 Routed From MGA                           1.44
                                           EntertflilllTICnt Of Room #5425
  06-09-08       C0111111-Long Distance    12:3800:01 :00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
  06-09-08       Comm-Long Distance        13:0100:03:00 Routed From MGA                           1.44
                                           Entertainment Of Room #5425
  06-09-08       Comm-Long Distance        14:4400:03:00 Routed From MGA                           1.44
                                           Entertainment Of Room #-5425
  06-09-08       In Room Service           Lindl 136 : CHECKII 000003 0003 Routed               24.00
                                           From Bryant Carter Of Room #136 Kcker &
                                           Van Nest Trial Rooms #9002=>Bryant Carter
                                           11136 Bryant Cartcr#136,,'>MGA
                                           Entertainment #9001
  06-09-08       Comm-Long Distance        15: 1200:02:00 Routed From MGA                          1.21
                                           Entertainment Of Room tl5425
  06-09-08       In Roon1 Bevcrage         Routed From Bryant Carter Of Room 1I-J36             24.00
                                           Kcker & Van Nest Trial Rooms
                                           #9002~>Bryant Carter #136 Bryant Carter
                                           11136~>MGA Entertainment 119001




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                                        #:325077




                                                                                         Arrival date:          05·14·08
  MGA Entertainment                                                                      Departure datc:        08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:         0/0
  Van Nuys, CA 91406                                                                     Room No.:             9001
                                                                                         Account No.:
                                                                                         BookingNo.:
                                                                                         Page No.:                 25 of 72

                                                                                          Invoice .:
   INFORMATION INVOICE                                                                                               08-06-08



  06-09-08       Comm-Long Distance        15:4200:01:00 Routed From MGA                           0.98
                                           Entertainment Of Room #5425
  06-09-08       Banquet Invoice           39132                                               1,062.15
  06-09-08       Comm-Long Distance        16:1500:05:00 Routed From MGA                           1.90
                                           Entcrtainment Of Room #5425
  06-09-08       Comm-Long Distance        17:4400:02:00 Routed From MGA                             1.2 I
                                           Entertainment Of Room #5425
  06-09-08       Room Service              Linell 136 : CHECKII 0047739 Bryant Carter             94.35
                                           11l36~>Keker & Van Nest Trial Rooms
                                           #9002 Keker & Van Nest Trial Rooms
                                           119002'~>Bryant Carter II 136 Bryant Carter
                                           1I136 o '>MGA Enterlllinment 119001
  06-09-08       Comm-Long Distance        19:5800:03:00 Routed From MGA                             1.44
                                           Entertainment Of Room #5425
  06-09-08       Connn-Long Distance       20: 13 00:08:00 Routed From MGA                           2.59
                                           Entertainment Of Room #5425
  06-09-08       Comm-Local Calls          20:2300:01 :00 Routed From MGA                          0.75
                                           Entertainment Of Room 115425
  06-09-08       Banquet Invoice           dinner39670                                           916.40
  06-09-08       Room Service              Linell 136 : CHECKII 0047751 Bryant Carter            100.55
                                           11136~>Keker & Van Nest Trial Rooms
                                           119002 Keker & Van Nest Trial Rooms
                                           119002~>Bryant Carter 11136 Bryant Carter
                                           11l36~>MGA Entertainment 119001

  06-09-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room #349              10.00
  06-09-08       Parking-Valet Overnight   Routed From Roth Carl Of Room 11202                    10.00
  06-09-08       Parking-Valet Overnight   Routed Fromlsomoto Becky Of Room 11355                 10.00
  06-09-08       Parking-Valet Overnight   Routed From ]-]errington Rob Of Room 11346             10.00
  06-09-08       Parking-Valet Overnight   Routed From Reyes Cecilia Of Room 11357                10.00
  06-09-08       Parking-Valet Overnight   Routed From Lanstl'a Allen Of Room #379                10.00
  06-09-08       Parking-Valet Overnight   Routed From ProofMiehael Of Room 11249                 10.00
  06-09-08       Parking-Valet Overnight   Routed From Lopez Alex Of Room 11154                   10.00
  06-09-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room #303                   10.00




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                                             #:325078




                                                                                   Arrival datc:        05-t4-08
   MGA Entertainment                                                               Dcparture datc:      08-29-08
   16300 Roscoe Boulevard                                                          No. in party:       0/0
   Van Nuys, CA 91406                                                              Room No.:            900t
                                                                                   Account No.:
                                                                                   BookingNo.:
                                                                                   Page No.:               26 of 72

                                                                                    Invoice .:
   INFORMATION INVOICE                                                                                       08-06-08
  . Date                             Reter.llcc                                                            . Credits

   06-09-08       Room-No Show         Solis Jaime 11339~>MGA Entertainment                129.00
                                       11900 I
   06-09-08       Room-Group            Routed From Holden Craig Of Room 11104             189.00
   06-09-08       Occupancy Tax         Routed From Holden Craig Of Room 11104              20.79
   06-09-08       Room-Group            Routed From Shek Bernard Of Room 11132              99.00
   06-09-08       Occupancy Tax         Routed Fr0111 Shek Bernard Of Room 11132            10.89
   06-09-08       Room-Group            Routed From Bryant Carter Of Room 11136            189.00
                                       Keker & Van Nest Trial Rooms
                                       119002~>MGA Entertainment 119001

   06-09-08       Occupancy Tax         Routed From Bryant Carter Of Room 11136             20.79
                                       Keker & Van Nest Trial Rooms
                                       119002~>MGA Entertainment 119001

   06-09-08       Room-Group           Routed From Funck Gary Of Room 11150                 99.00
   06-09-08       Occupancy Tax        Routed From Funck Gary Of Room 11150                 10.89
   06-09-08       Room-Group           Routed From Lopez Alex Of Room 11154                 99.00
   06-09-08       Occupancy Tax        Routed From Lopez Alex Of Room 11154                 10.89
   06-09-08       Room-Group           Routed From Kennedy Raoul Of Room 11158             189.00
   06-09-08       Occupancy Tax        Routed From Kennedy Raoul Of Room 11158              20.79
   06-09-08       Room-Group           Routed From Roth Carl Of Room 11202                 189.00
   06-09-08       Occupancy Tax        Routed From Roth Carl Of Room 11202                  20.79
   06-09-08       Room-Group           Routed From Kesseler Claude Of Room 11213            99.00
   06-09-08       Occupancy T(lX       Routed From Kesseler Claude Of Room 11213            10.89
   06-09-08       Room-Group           Routed From Rogosa Diana Of Room #217                99.00
   06-09-08       Occupancy Tax        Routed From Rogosa Diana Of Room U2 J 7              10.89
   06-09-08       Room-Group           Routed From D'Avolio Lisa Of Room 11223              99.00
   06-09-08       Occupancy Tax        Routed From D'Avolio Lisa Of Room 11223              10.89
   06-09-08       Room-Group           Routed From Harden Susan Of Room #228                99.00
   06-09-08       Occupancy Tax        Routed From Harden Susan Of Room #228                10.89
   06-09-08       Room-Group           Routed From Turnipseed Alissa Of Room                99.00
                                      11230
   06-09-08       Occupancy Tax        Routed From Turnipseed Alissa Of Room                10.89
                                      11230
   06-09-08       Room-Group           Routed From Franco Max Of Room #231                  99.00




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                                                                                          Arrival date:        05- 14-08
  MGA Entertainment                                                                       Departure datc:     08-29-08
  16300 Roscoe Boulevard                                                                  No. in party:       010
  Van Nuys, CA 91406                                                                      Room No.:            9001
                                                                                          Account No.:
                                                                                          BooldngNo.:
                                                                                          Page No.:                270f72

                                                                                           Invoice .:

   INFORMATION INVOICE                                                                                                08-06-08
  Pat~                                    RefereJlce                                                                  Credits

  06-09-08       Occupancy Tax              Routed From Franco Max Of Room #231                    10.89
  06-09-08       Parking-Self Overnight     Routed From Franco Max Of Room 11231                    5.00
  06-09-08       Room-Group                 Routed From LU'ian Isaac Of Room 11238                189.00
  06-09-08       Occupancy Tax              Routed From Larian Isaac Of Room #238                  20.79
  06-09-08       Room-Group                 Routed From Dozier Jason Of Room #240                  99.00
  06-09-08       Occupancy Tax              Routed From Dozier Jason Of Room 11240                 10.89
  06-09-08       Room-Group                 Routed From Proof Michacl Of Room #249                 99.00
  06-09-08       Occupancy Tax              Routed From Proof Michael Of Room #249                 10.89
  06-09-08       Room-Group                 Routed I;rom Mumford Marcus Of Room                    99.00
                                           11255
  06-09-08       Occupancy Tax              Routed From Mumford Marcus Of Roorn                    10.89
                                           11255
  06-09-08       Room-Group                 Routed From Aguiar Lauren Of Room #286                189.00
  06-09-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286                 20.79
  06-09-08       Room-Group                 Routed From Shorr Aaron Of Room 11303                  99.00
  06-09-08       Occupancy Tax              Routed From Shorr Aaron Of Room #303                   10.89
  06-09-08       Room-Group                 Routed From Lybrand Steve Of Room 11314                99.00
  06-09-08       Occupancy Tax              Routed From Lybrand Steve Of Room 11314                10.89
  06-09-08       Room-Group                 Routed From Hartlein Brianna Of Rool11 #316            99.00
  06-09-08       Occupancy Tax              Routed From Hartlein Brianna Of Room #316              10.89
  06-09-08       Room-Group                 Routed From Rinker Greg Of Room if317                  99.00
  06-09-08       Occupancy Tax              Routed From Rinker Greg Of Room 11317                  10.89
  06-09-08       Room-Group                 Routed From Herrington Rob Of Room #346                99.00
  06-09-08       Occupancy Tax              Routed From Herrington Rob Of Room 11346               10.89
  06-09-08       Room-Group                 Routed From Uslaner Jonathan Of Room                   99.00
                                           11349
  06-09-08       Occupancy Tax              Routcd From Uslaner Jonathan Of Room                   10.89
                                           11349
  06-09-08       Room-Group                 Routed From Harden Susan Of Room #353                  99.00
  06-09-08       Occupancy Tax              Routed From Harclen Susan Of Room 11353                10.89
  06-09-08       Room-Group                 Routed From Isomoto Becky Of Room 11355                99.00
  06-09-08       Occupancy Tax              Routed From 150111oto Bccky Of Room #355               10.89




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                                                                                       Arrival datc:         05-14-08
  MGA Entertainment                                                                    Departurc date:       08-29-08
  16300 Roscoe Boulevard                                                               No. in party:        0/0
  Van Nuys, CA 91406                                                                   Room No.:             9001
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:                280f72

                                                                                        Invoice .:

  INFORMATION INVOICE                                                                                              08-06-08



  06-09-08       Room-Group                Routed From Reyes Cecilia Of Room 11357              99.00
  06-09-08       Occupancy Tax             Routed From Reyes Cecilia Of Room 11357              10.89
  06-09-08       Room-Group               Routed From Lanstra Allen Of Room 11379               99.00
  06-09-08       Occupancy Tax            Routed From Lanstra Allen Of Room 11379               10.89
  06-09-08       Room-Group                Routed From Nolan Tom Of Room #403                  350.00
  06-09-08       Occupancy Tax            Routed From Nolan Tom Of Room #403                    38.50
  06-09-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379               5.00
                                          8.00 Split Into 5.00 And 3.00
  06-09-08       Parking-Self Overnight   Routed From Proof Miehael Of Room 11249                  5.00
                                          8.00 Split Into 5.00 And 3.00
  06-10-08       COl111TI-Long Distance   10:0400:05:00 Routed From MGA                            1.90
                                          Entertainment Of Room #5425
  06-10-08       COl11m-Long Distance     10:2500:01:00 Routed From MGA                            0.98
                                          Enlertainment Of Room 115425
  06-10-08       Comm-Long Distance       10:4700:05:00 Routed From MGA                            1.90
                                          Entertainment Of Room #5425
  06-10-08       Comm-Long Distance       11:3500:01 :00 Routed From MGA                           0.98
                                          Entertainment Of Room #5425
  06-10-08       Banquet Invoice          Invoice on 06105108 BEO II 3912                    1,020.83
  06-10-08       COlUm-Long Distance      II :5700:02:00 Routed From MGA                         1.21
                                          Entertainment Of Room #-5425
  06-10-08       Comm-Long Distance       12:4800:02:00 Routed From MGA                            1.21
                                          Entertainment Of Room 11-5425
  06-10-08       Banquet Invoice          39133                                              1,554.84
  06-10-08       In Room Service          Linell 136 : CHECKII 000005 0005 Routed               11.50
                                          From Bryant Carter Of Room 11136 Keker &
                                          Van Nest Trial Rooms il9002=>Bryant Carter
                                          11136 Bryant Carter 11I36~>MGA
                                          Entertainment #900 I
  06-10-08       Room Service             Linell 136: CHECKII 0047829 Bryanl Carter            114.18
                                          #136~>Kcker & Van Nest Trial Rooms
                                          119002 Keker & Van Nest Trial Rooms
                                          119002~>Bryant Carter 11136 Bryant Carter
                                          11136~>MGA Entertainment 119001




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                                                                                         Arrival date:       05-t4-08
  MGA Entertainment                                                                      Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:       0/0
  Van Nuys, CA 91406                                                                     Room No.:            9001
                                                                                         Account No.:
                                                                                         BookillgNo.:
                                                                                         Page No.:               29 of 72

                                                                                          Invoice .:
  INFORMA nON INVOICE                                                                                                08-06-08
  nate                                                                                        Charges                Credits

  06-10-08       Banquet Invoice           39671                                                 966.31
  06-10-08       Room-Group                 Routed From Shek Bernard Of Room II 132               99.00
  06-10-08       Occupancy Tax              Routed From Shek Bernard Of Room 11132                10.89
  06-10-08       In Room Beverage          Bryant Carter 11136~>Keker & Van Nest Trial            11.50
                                           Rooms 119002 Keker & Van Nest Trial
                                           Rooms 119002~>Bryant Carter 11136 Bryant
                                           Carter 11136~>MGA Entertainment 11900 I
  06-10-08       COlTIm-Long Distance      22:3300:09:00 Routed From MGA                           2.82
                                           Entertainment Of Room #5425
  06-10-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Rool11 #303                 15.00
  06-10-08       Parking-Valet Overnight   Routed From Mumford Marcus or ROOI11                   15.00
                                           11255
  06-10-08       Parking-Valet Overnight   Routed From Holden Craig Of Room 11104                 15.00
  06-10-08       Parking-Valet Overnight   Routed From Lanstra Allen O[Rool11 #379                15.00
  06-10-08       Parking-Valet Overnight   Routed From Lopez Alex Of Room 11154                   15.00
  06-10-08       Parking-Valet Overnight   Routed From Roth Carl Of Room 11202                    15.00
  06-10-08       Parking-Valet Overnight   Routed From Reyes Cecilia Of Room 11357                15.00
  06-10-08       Parking-Valet Ovcrnight   Routed From Herrington Rob Of Room 11346               15.00
  06-10-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room 11349             15.00
  06-10-08       Parking-Valet Ovcrnight   Routed From lsomoto Becky Of Room 11355                15.00
  06-10-08       Room-No Show              Sloan Matt 11129~>MGA Entertainment                    99.00
                                           119001
  06-10-08       Room-No Show              Weinstcn Ryan #260=>MGA Entertainment                  99.00
                                           119001
  06-10-08       Room-Group                 Routed From Holden Craig Of Room 11104               189.00
  06-10-08       Occupancy Tax              Routed From Holden Craig Of Room 11104                20.79
  06-10-08       Room-Group                 Routed From Blyant Carter Of Room 11136              189.00
                                           Keker & Van Nest Trial Rooms
                                           #9002~>MGA Entertainment 119001
  06-10-08       Occupancy Tax              Routed From Bryant Carter Of Rool11 #-136             20.79
                                           Kekcr & Van Nest Trial Rooms
                                           119002'=>MGA Entertainment 119001
  06-10-08       Room-Group                 Routed From Funck Gary Of Room #- ISO                 99.00




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                                                                                       Arrival date:       05-t4-08
  MGA Entertainment                                                                    Departure date:     08·29·08
  16300 Roscoe Boulevard                                                               No. in party:       0/0
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                       BooldngNo.:
                                                                                       Page No.:                 300f72

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                             08-06-08
                                                                                             CI",rgcs             Credit.s

  06-10-08       Occupancy Tax             Routed From Funck Gary Of Room # 150                 10.89
  06-10-08       Room-Group                Routed From Lopez Alex Of Room # 154                 99.00
  06-10-08       Occupancy Tax             Routed From Lopez Alex Of Room 11154                 10.89
  06-10-08       Room-Group                Routed From Kennedy Raoul Of Room 11158             189.00
  06-10-08       Occupancy Tax             Routed From Kennedy Raoul Of Room 11158              20.79
  06-10-08       Room-Group                Routed From Roth Carl Of Room 11202                 189.00
  06-10-08       Occupancy Tax             Routed From Roth Carl Of Room 11202                  20.79
  06-10-08       Room-Group                Routed From Kesseler Claude Of Room 11213            99.00
  06-10-08       Occupancy Tax             Routed From Kesseler Claude Of Room #213             10.89
  06-10-08       Room-Group                Routed From Rogosa Diana Of Room #217                99.00
  06-10-08       Occupancy Tax             Routed From Rogosa Diana Of Room 11217               10.89
  06-10-08       Room-Group                Routed From D'A valia Lisa Of Room 11223             99.00
  06-10-08       Occupancy Tax             Routed From D'Avolio Lisa Of Room #223               10.89
  06-10-08       Room-Group                Routed From Harden Susan Of Room #228                99.00
  06-10-08       Occupancy Tax             Routed From Harden Susan Of Room if228               10.89
  06-10-08       Room-Group                Routed Fron1 Turnipseed Alissa Of Room               99.00
                                          11230
  06-10-08       Occupancy Tax             Routed From Turnipseed Alissa Of Room                 10.89
                                          11230
  06-10-08       Room-Group                Routed From Franco Max Of Room 11231                 99.00
  06-10-08       Occupancy Tax             Routed From Franco Max Of Room 1123 I                10.89
  06-10-08       Parking-Self Ovcrnight    Routed From Franco Max Of Room #231                   5.00
  06-10-08       Room-Group                Routed From Larian Isaac Of Room 11238              189.00
  06-10-08       Occupancy Tax             Routed From Larian Isaac Of Room #238                20.79
  06-10-08       Room-Group                Routed From Dozier Jason Of Room #240                99.00
  06-10-08       Occupancy Tax             Routed From Dozicr Jason Of Room #240                10.89
  06-10-08       Room-Group                Routed From Proof Michael Of Room 11249              99.00
  06-10-08       Occupancy Tax             Routed From Proof Michael Of Room 11249              10.89
  06-10-08       Parking-Self Overnight    Routed From Proof Michael Of Room 11249               5.00
  06-10-08       Room-Group                Routed From Mumford Marcus Of Room                   99.00
                                          11255
  06-10-08       Occupancy Tax             Routed From Mumford Marcus Of Room                    10.89




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                                                                                        Arrival date:       05-14-08
  MGA Entertainment                                                                     Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:               310f72

                                                                                         Invoice .:

  INFORMATION INVOICE                                                                                               08-06-08



                                          #255
  06-10-08       Room-Group                Routed From Aguiar Lauren Of Room 11286              189.00
  06-10-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286                20.79
  06-10-08       Room-Group                Routed From Shorr Aaron Of Room 11303                 99.00
  06-10-08       Occupancy Tax             Routed From Shorr Aaron Of Room #303                  10.89
  06-10-08       Room-Group                Routed From Lybrand Steve Of Room /1314               99.00
  06-10-08       Occupancy Tax             Routed From Lybrand Steve Of Room 11314               10.89
  06-10-08       Room-Group                Routed From Hartlein Brianna Of Room #316             99.00
  06-10-08       Occupancy Tax             Routed Fron) Hartlcin Brianna Of Room #316            10.89
  06-10-08       Room-Group                Routed From Rinker Greg Of Room 11317                 99.00
  06-10-08       Occupancy Tax             Routed From Rinker Greg Of Room 11-317                10.89
  06-10-08       Room-Group                Routcd From Hardcn Susan Of Room #345                 99.00
  06-10-08       Occupancy Tax             Routed From Harden Susan Of Room 11345                10.89
  06-10-08       Room-Group                Routed From Herrington Rob Of Room /1346              99.00
  06-10-08       Occupancy Tax             Routed From Herrington Rob Of Room #346               10.89
  06-10-08       Room-Group                Routed From Uslaner Jonathan Of Room                  99.00
                                          11349
  06-10-08       Occupancy Tax             Routed From Uslaner Jonathan Of Room                  10.89
                                          11349
  06-10-08       Room-Group                Routed From Isomoto Becky Of Room 11355               99.00
  06-10-08       Occupancy Tax             Routed From Isomoto Becky Of Room 11355               10.89
  06-10-08       Room-Group                Routed From Reyes Cecilia Of Room 11357               99.00
  06-10-08       Occupancy Tax             Routed From Reyes Cecilia Of Room /1357               10.89
  06-10-08       Room-Group                Routed From Lanstra Allen Of Room 11379               99.00
  06-10-08       Occupancy Tax             Routed From Lanstra Allen Of Room /1379               10.89
  06-10-08       Parking-Self Overnight    Routed From Lanstra Allen Of ROOl11 #379               5.00
  06-10-08       Room-Group                Routed From Nolan Tom Of Room 11403                  350.00
  06-10-08       Occupancy Tax             Routed From Nolan Tom Of Room 11403                   38.50
  06-11-08       Comm-Long Distance       09:1600:02:00 Routed From MGA                           1.21
                                          Entertainment Of Room #5425
  06-11-08       Adjust-Parking                                                                -979.00
  06-11-08       Adjust-Movies                                                                 -258.80




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                                                                                         Arrival date:          05-14-08
  MGA Entertainment                                                                      Departure date:        08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:         0/0
  Van Nuys, CA 91406                                                                     Room No.:              9001
                                                                                         Account No.:
                                                                                         BookingNo.:
                                                                                         Page No,:                   32 of 72

                                                                                          Invoice .:
   INFORMATION INVOICE                                                                                                 08-06-08
                                                                                               (:hargcs                Credits

  06-11-08       Comm~Long Distance        10:2500:04:00 Routed From MGA                             5,35
                                           Entertainment Of Room #5425
  06-11-08       Comm-Long Distance        10:3400:02:00 Routed From MGA                             1. 21
                                           Entertainment Of Room #5425
  06-11-08       Comm~Long Distance        12:4800:35:00 Routed From Bryant Carter Of             31.30
                                           Room 11136 Keker & Van Nest Trial Rooms
                                           119002~>Bryant Carter 11136 Bryant Carter
                                           11136~>MGA Entertainment 119001

  06-11-08       COl11m-Long Distance      10:3500:01:00 Routed From MGA                           0,98
                                           Entertainment Of Room #5425
  06-11-08       Comm-Long Distance        11: 1500:04:00 Routed From MGA                            1.67
                                           Entertainment Of Room #5425
  06-11-08       Visa                      Jeremy Ross 05/26/08-05/27/08 Room Rate 2                                   -219,78
                                           x 99,00 Tax 2 x 10,89
                                            XXXXXXXXXXXX1232                  XX/XX
  06-11-08       Comm-Long Distance         12: 1400:06:00 Routed From MGA                           2,13
                                           Entertainment Of Room t/5425
  06-11-08       Room Service              Linell 136: CHECKII 0047888 Bryant Carter              28,27
                                           II I 36··>MGA Entertainment 119001
  06-11-08       Mastercard                 XXXXXXXXXXXX2048                  XX/XX                                  30,000,00
  06-11-08       Banquet Invoice           39134                                               1,402.26
  06-11-08       Comm-Long Distance         14:4900:12:00 Routed From Bryant Carter Of            12.Q4
                                           Room 11136
  06-11-08       In Room Beverage          Linell 136: CHECKII 000031 0031 Routed                 33,50
                                           From Bryant Carter Of Room #- 136
  06-11-08       Banquet Invoice           D1NNER39672                                           840.43
  06-11-08       Room Service              Line# 136 : CHECKII 0047918 Bryant Carter              25,58
                                           #136~>MGA Entertainment 119001
  06-11-08       Parking-Valet Ovcrnight   Routed From Proof Michael Of Room 11249                15,00
  06-11-08       Parking-Valet Ovcrnight   Routed From Mumford Marcus Of ROOl11                   15,00
                                           #255
  06-11-08       Parking-Valet Overnight   Routed From Lanstra Allen Of Room if379                15,00
  06-11-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room #303                   15,00
  06-11-08       Parking-Valet Overnight   Routed From Roth Carl Of Room 11202                    15,00




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                                         #:325085




                                                                                         Arrival date:        05· t4·08
  MGA Entertainment                                                                      Depal'ture date:     08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:        010
  Van Nuys, CA 91406                                                                     Room No.:             9001
                                                                                         Account No.:
                                                                                          BookingNo,:
                                                                                         Page No.:                33 of 72

                                                                                          Invoice .:
  INFORMATION INVOICE                                                                                                 08-06-08
  nate .      nes~riptl()!l                                                                    Charges                Gredits

  06-11-08       Parking~Valet Overnight    Routed From Herrington Rob Of Room 11346               15.00
  06-11-08       Parking~ Valet Overnight   Routed From Lopez Alex Of Room 11154                   15.00
  06-11-08       Parking-Valet Overnight    Routed From Reyes Cecili8 Of Room #357                 15.00
  06-11-08       Parking-Valct Overnight    Routed From Harden Susan Of Room #345                  15.00
  06-11-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room 11346               15.00
  06-11-08       Pal'king-Valet Overnight   Routed From Uslaner 10nathan Of Room 11349             15.00
  06-11-08       Parking~Valct Overnight    Routed From Isomoto Becky Of Room 11355                15.00
  06-11-08       Parking~Valet Overnight    Sloan Matt #373:::=>MGA Entertainment                  15.00
                                            119001
  06-11-08       Room-Group                 Routed From Holden Craig Of R00111 11104             189.00
  06-11-08       Occupancy Tax              Routed hom Holden Craig Of Room 11104                 20.79
  06-11-08       Room-Group                 Routed From Bryant Carter Of Room 11136              189.00
  06-11-08       Occupancy Tax              Routed From Bryant Carter Of Room 11136               20.79
  06-11-08       Room-Group                 Routed From Lopez Alex Of Room 11154                  99.00
  06-11-08       Occupancy Tax              Routed From Lopez Alex Of Room 11154                  10.89
  06-11-08       Room-Group                 Routed From Kennedy Raoul Of Room 11158              189,00
  06-11-08       Occupancy Tax              Routed From Kennedy Raoul Of Roo111 11158              20.79
  06-11-08       Room-Group                 Routed From Roth Carl Of Room 11202                  189.00
  06-11-08       Occupancy Tax              Routed Fr0111 Roth Carl Of Room 11202                 20,79
  06-11-08       Room-Group                 Routed From Kesseler Claude Of Room 11213             99,00
  06-11-08       Occupancy Tax              Routed From Kesseler Claude Of Room 11213             10.89
  06-11-08       Room-Group                 Routed From Rogosa Diana Of Room #217                 99.00
  06-11-08       Occupancy Tax              Routed From Rogosa Diana Of Room #217                 10.89
  06-11-08       Room-Group                 Routed From D'Avolio Lisa Of Room 11223               99.00
  06-11-08       Occupancy Tax              Routed From D'Avolio Lisa Of Room 11223               10.89
  06-11-08       Room-Group                  Routed From Turnipsced Alissa Of Room                99,00
                                            11230
  06-11-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room                 10.89
                                            11230
  06-11-08       Room-Group                 Routed From Franco Max Of Room 11231                  99.00
  06-11-08       Occupancy Tax              Routed From Franco Max Of Room 11231                  10,89
  06-11-08       Parking-Self Overnight     Routed From Franco Max Of Room #231                     5.00




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                                                                                       Arrival date:       05-14-08
  MGA Entertainment                                                                    Departure date:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:       0/0
  Van Nuys, CA 91406                                                                   Room No.:            9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:               340f72

                                                                                        Invoice .:

  INFORMATION INVOICE                                                                                              08-06-08



  06-11-08       Room-Group                Routed From Dozier Jason Of Room #240                99.00
  06-11-0S       Occupancy Tax             Routed From Dozier Jason Of Room #240                10.89
  06-11-0S       Room-Group                Routed From Proof Michael Of Room #249               99.00
  06-11-0S       Occupancy Tax             Routed From Proof Michael Of Room #249               10.S9
  06-1 I-OS      Parking-Self Overnight    Routed From Proof Michael Of Room 11249               5.00
  06-11-08       Room-Group                Rouled From Mumford Marcus Of Room                   99.00
                                          11255
  06-11-08       Occupancy Tax             Routed From Mumford Marcus Of Room                   10.89
                                          11255
  06-11-0S       Room-Group                Routed From Aguiar Lauren Of Room if.286            189.00
  06-II-OS       Occupancy Tax             Routed From Aguiar Lauren Of Room 11286              20.79
  06-1 I-OS      Room-Group                Routed From Shorr Aaron Of Room #30]                 99.00
  06-1 I-OS      Occuprmcy Tax             Routed From Shorr Aaron Of Room 11303                10.89
  06-1 I-OS      Room-Group                Routed From Harden Susan Of Room #3 I 0             129.00
  06-11-08       Occupancy Tax             Routed From Harden Susan Of Room #310                14.19
  06-1 I-OS      Room-Group                Routed From Lybrand Steve Of Room 113 I 4            99.00
  06-1 I-OS      Occupancy Tflx            Routed From Lybrand Steve Of Room 113 I 4            10.S9
  06-11-08       Room-Group                Routed From Hartlein Brianna Of Room #316            99.00
  06-11-08       Occupancy Tax             Routed From Hartlcin Brianna Of Room #316            10.S9
  06-11-08       Room-Group                Routed From Rinker Greg Of Room 113 I 7              99.00
  06-11-08       Occupancy Tax             Routed From Rinker Greg Of Room #3 I 7               10.89
  06-11-08       Room-Group                Routed From Ravan Sandra Of Room #33l               129.00
  06-11-08       Occupancy Tax             Routed From Ravan Sandra Of Room 11331               14.19
  06-11-08       Room-Group                Routed From Harden Susan Of Room 11345               99.00
  06-11-08       Occupancy Tax             Routed From Harden Susan Of Room #345                10.89
  06-1 I-OS      Room-Group                Routed From Herrington Rob Of Room 11346             99.00
  06-1 I-OS      Occupancy Tax             Routed From Herrington Rob Of Room 11346             10.S9
  06-11-0S       Room-Group                Routed From Uslaner Jonathan Of Room                 99.00
                                          11349
  06-11-08       Occupancy Tax             Routed From Usiancr Jonathan Of Room                 10.S9
                                          11349
  06-1 I-OS      Room-Group                Routed From 180moto Becky Of Room 11355              99.00




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                                                                                        Arrival date:        05-14-08
  MGA Entertainment                                                                     Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                No. in party:        0/0
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                         BookingNo.:
                                                                                        Page No.:                  350f72

                                                                                         Invoice .:

   INFORMATION INVOICE                                                                                               08-06-08
                                                                                                                    Credits
  06-11-08       Occupancy Tax               Routed From Isomoto Becky Of Room 11355             10.89
  06-11-08       Room-Group                  Routed From Reyes Cecilia Of Room 11357             99.00
  06-11-08       Occupancy Tax              Routed From Reyes Cecilia Of Room #357               10.89
  06-11-08       Room-Group                 Routed From Lanstra Allen Of Room #379               99.00
  06-11-08       Occupancy Tax              Routed From Lanstra Allen Of Room 11379              10.89
  06-11-08       Parking-Self Overn ight    Routed From Lanstra Allen Of Room 11379               5.00
  06-11-08       Room-Group                  Routed From Nolan Tom Of Room 11403                350.00
  06-11-08       Occupancy Tax               Routed From Nolan Tom Of Room 11403                 38.50
  06-12-08       Mastercard                 XXXXXXXXXXXX2048                 XX/XX                                 30,000.00
  06-12-08       Banquet Invoicc            39135                                             1,402.26
  06-12-08       In Room Scrvicc            Linell 136 : CHECKII 000002 0002 Routed              22.00
                                            From Bryant Carler Of Room 11136
  06-12-08       In Room Bcvcragc           Routed From Bryant Carter Of Room 11136              22.00
  06-12-08       Room Service               Linell259 : CHECKII 0047949 Bryant Carter           141.48
                                            #136~>MGA Entertainment 119001
  06- I 2-08     In Room Movies             Uneil 259 : Movies Routed From Bryant                   9.99
                                            Carter Of Room 11259
  06- I 2-08     Banquet Invoice            39673                                               928.48
  06-12-08       Parking-Valet Overnight    Sloan Matt #373=>MGA Entertainment                   15.00
                                            119001
  06-12-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room 11357              10.00
  06-12-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room 11355              10.00
  06-12-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
  06-12-08       Parking-Valet Overnight    Routed From Harden Susan Of Room 11345               10.00
  06-12-08       Parking-Valet Ovcrnight    Routed From Reyes Cecilia Of Room #357               10.00
  06-12-08       Parking-Valet Overnight    Routed From Holden Craig Of Room ill 04              10.00
  06-12-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room 11303                10.00
  06- I 2-08     Parlcing-Valet Overnight   Routed Prom Mumford Marcus Of Room                   10.00
                                            11255
  06- I 2-08     Parking-Valet Overnight    Routed From Holden Craig Of Room 11104               10.00
  06-12-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room 11346             10.00
  06- I 2-08     Parking-Valet Overnight    Routed From Lopez Alex Of Room 11154                 10.00




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                                                                                        Arrival datc:       05-14-08
  MGI\. Entertainment                                                                   Departure datc:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                        BooldngNo.:
                                                                                        Page No.:               360f72

                                                                                         Invoice .:

  INFORMATION INVOICE                                                                                               08-06-08
                                                                                                                    .Cr~dits

  06-12-08       Parking-Valet Overnight   Routed From Lanstra Allen Of Room 11379               10.00
  06-12-08       Room-Group                 Routed From Holden Craig Of Room 11104              189.00
  06-12-08       Occupancy Tax              Routed From Holden Craig Of Room II I 04             20.79
  06-12-08       Room-Group                 Routed From Lopez Alex Of Room 11154                 99.00
  06-12-08       Occupancy Tax              Routed From Lopez Alex Of Room 11154                 10.89
  06-12-08       Room-Group                 Routed From Kennedy Raoul Of Room 11158             189.00
  06-12-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 11158              20.79
  06-12-08       Room-Group                 Routed From Roth Carl Of Room 11202                 189.00
  06-12-08       Occupancy Tax              Routed From Roth Carl Of Room 11202                  20.79
  06-12-08       Room-Group                 Routed From Kesseler Claude Of Room 11213            99.00
  06-12-08       Occupancy Tax              Routed From Kesseler Claude Of Room 11213            10.89
  06-12-08       Parldng-Sclf Overnight     Routed From Kesseler Claude Of Room 11213             8.00
  06-12-08       Room-Group                 Routed From Rogosa Diana Of Room #217                99.00
  06-12-08       Occupancy Tax              Routed From Rogosa Diana Of Room #2 J 7              10.89
  06-12-08       Room-Group                 Routed From D'Avolio Lisa Of Room 11223              99.00
  06-12-08       Occupancy Tax              Routed From D!A volio Lisa Of Room #223              10.89
  06-12-08       Room-Group                 Routed from Turnipseed Alissa Of Room                99.00
                                           11230
  06-12-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room                10.89
                                           11230
  06-12-08       Room-Group                 Routed From Franco Max Of Room #231                  99.00
  06-12-08       Occupancy Tax              Routed From Franco Max Of Room #231                  10.89
  06-12-08       Parking-Self Overnight     Routed From Franco Max Of Room #231                   5.00
  06-12-08       Room-Group                 Routed From Dozier Jason Of Room 11240               99.00
  06-12-08       Occupancy Tax              Routed From Dozier Jason Of Room 11240               10.89
  06-12-08       Room-Group                 Routed From Proof Michael Of Room 11249              99.00
  06-12-08       Occupancy Tax              Routed From Proof Michael Of Room 11249              10.89
  06-12-08       Parking-Self Overnight     Routed From Proof Michael Of Room 11249               5.00
  06-12-08       Room-Group                 Routed From Mumford Marcus Of Room                   99.00
                                           11255
  06-12-08       Occupancy Tax              Routed From Mumford Marcus Of Room                   10.89
                                           11255




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                                                                                   Arrival date:        05-14-08
  MGA Entertainment                                                                Departure date:      08-29-08
  16300 Roscoe Boulevard                                                           No. ill party:      0/0
  Van Nuys, CA 91406                                                               Room No.:            9001
                                                                                   Account No.:
                                                                                    BookingNo.:
                                                                                   Page No.:               370f72

                                                                                    Invoice .:

  INFORMATION INVOICE                                                                                         08-06-08

  Date        Ilcscri"ti(»)1                                                                                . Credits

  06-12-08       Room-Group          Routed From Bryant Carter Of Room #259                189.00
  06-12-08       Occupancy Tax       Routed From Bryant Carter Of Room #259                 20.79
  06-12-08       Room-Group          Routed From Russell Jason Of Room 11262               129.00
  06-12-08       Occupancy Tax       Routed From Russell Jason Of Room 11262                14.19
  06-12-08       Room-Group          Routed From Aguiar Lauren Of Room #286                189.00
  06-12-08       Occupancy Tax       Routed From Aguiar Lauren Of Room 11286                20.79
  06-12-08       Room-Group          Routed From Shorr Aaron Of Room #303                   99.00
  06-12-08       Occupancy Tax       Routed From Shorr Aaron Of Room #303                   10.89
  06-12-08       Room-Group          Routed From Lybrand Steve Of Room 11314                99.00
  06-12-08       Occupancy Tax       Routed From Lybrand Steve Of Room 11314                10.89
  06-12-08       Room-Group          Routed From Hartlcin Brianna Of Room tt-316            99.00
  06-12-08       Occupancy Tax       Routed From Hartlcin Brianna Of Room #316              10.89
  06-12-08       Room-Group          Routed From Rinker Greg Of Room iJ.317                 99.00
  06-12-08       Occupancy Tax       Routed From Rinker Greg Of Room 11317                  10.89
  06-12-08       Room-Group          Routed From Hardcn Susan Of Room #345                  99.00
  06-12-08       Occupancy Tax       Routed From Harden Susan Of Room #345                  10.89
  06-12-08       Room-Group          Routed From Herrington Rob Of Room 11346               99.00
  06-12-08       Occupancy Tax       Routed From Herrington Rob Of Room 11346               10.89
  06-12-08       Room-Group          Routed From Uslaner Jonathan Of Room                   99.00
                                    #349
  06-12-08       Occupancy Tax       Routed From Uslancr Jonathan Of Room                   10.89
                                    #349
  06-12-08       Room-Group          Routed From Isomoto Becky Of Room 11355                99.00
  06-12-08       Occupancy Tax       Routed From Isomoto Becky Of Room 11355                10.89
  06-12-08       Room-Group          Routed From Reyes Cecilia Of Room 11357                99.00
  06-12-08       Occupancy Tax       Routed From Reyes Cecilia Of Room 11357                10.89
  06-12-08       Room-Group          Sloan Matt tf373=>MGA Entertainment                    99.00
                                    11900 I
  06-12-08       Occupancy Tax       Sloan Matt 11373~>MGA Entertainment                    10.89
                                    119001
  06-12-08       Room-Group          Routed From Lanstra Allen Of Room 11379                99.00
  06-12-08       Occupancy Tax       Routed From Lanstra Allen Of Room #379                 10.89




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                                                                                      Arrival date:        05-14-08
  MGA Entertainment                                                                   Departure date:      08-29-08
  16300 Roscoe Boulevard                                                              No. in party:       010
  Van Nuys, CA 91406                                                                  Room No.:            900t
                                                                                      Account No.:
                                                                                      BookingNo.:
                                                                                      Page No.:               38 of 72

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                           08-06-08
                                                                                                                Cfc(\its

  06-12-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room #379               5,00
  06- I 2-08     Room-Group                Routed From Nolan Tom Of Room 11403                350,00
  06- I 2-08     Occupancy Tax             Routed From Nolan Tom Of Room 11403                 38,50
  06-13-08       Banquet Invoice           39136                                            1,376,83
  06-13-08       In Room Beverage          Linel! 259 : CHECKII 000009 0009 Routed             17,00
                                           From Bryant Carter Of Room 11259
  06-13-08       Parking-Self Ovcrnight    Ryan Routed From Kesscler Claude Of Room            24,00
                                           11213
  06- I 3-08     Parking-Valet Overnight   Ruuted From Isomoto Becky Of Room #355              10,00
  06- I 3-08     Room-Group                Routed From Holden Craig Of Room 11104             189,00
  06-13-08       Occupancy Tax             Routed From Holden Craig Of Room 11104              20,79
  06- I 3-08     Room-Group                Routed From Lopez A lex Of Room II 154              99,00
  06- I 3-08     Occupancy Tax             Routed From Lopez Alex Of Room #154                 10,89
  06- I 3-08     Room-Group                Routed From Kennedy Raoul Of Room # I 58           189,00
  06- I 3-08     Occupancy Tax             Routed From Kennedy Raoul Of Room 11158             20,79
  06- I 3-08     Room-Group                Routed From Roth Carl Of Room 11202                189,00
  06- I 3-08     Occupancy Tax             Routed From Roth Carl Of Room 11202                 20,79
  06- I 3-08     Room-Group                Routed From Rogosa Diana Of Room #217               99,00
  06- I 3-08     Occupancy Tax             Routed From Rogosa Diana Of Room tt2 J 7            10,89
  06- I 3-08     Room-Group                Routed From D'A volio Lisa Of Room 11223            99,00
  06- I 3-08     Occupancy Tax             Routed From D'AvoIio Lisa Of Room 11223             10,89
  06- 13-08      Room-Group                Routed From Turnipseed Alissa Of Room               99,00
                                           11230
  06- I 3-08     Occupancy Tax             Routed From Turnipseed Aliss(J Of Room               10,89
                                           11230
  06-13-08       Room-Group                Routed From Fmnco Max Of Room #231                  99,00
  06- I 3-08     Occupancy Tax             Routed From Franco Max Of Room 1123 I               10,89
  06- I 3-08     Parking-Sclf Ovcrnight    Routed From Franco Max Of Room 1123 I                5,00
  06- I 3-08     Room-Group                Routed From Dozier Jason Of Room 11240              99,00
  06- I 3-08     Occupancy Tax             Routed From Dozier Jason Of Room 11240              10,89
  06- I 3-08     Room-Group                Routed From Proof Michael Of Room 11249             99,00
  06- I 3-08     Occupancy Tax             Routed From Proof Michael Of Room 11249             10,89




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                                                                                         Arrival date:       05- 14-08
  MGA Entertainment                                                                      Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:       0/0
  Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                         Account No.:
                                                                                          BookingNo.:
                                                                                         Page No.:                 39 of 72

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  INFORMATION INVOICE                                                                                                08-06-08
                                                                                               Ch:II'gcs            Credits

  06-13-08       Parking-Self Overnight    Routed From Proof Michael Of Room 11249                 5.00
  06-13-08       Room-Group                Routed From Mumford Marcus Of ROOll1                   99.00
                                          11255
  06-13-08       Occupancy Tax             Routcd From Mumford Marcus Of Room                     10.89
                                          11255
  06-13-08       Room-Group                Routed From Bryant Carter Of Room 11259               189.00
  06-13-08       Occupancy Tax             Routed From Bryant Carter Of Room #259                 20.79
  06-13-08       Room-Group                Routed From Aguiar Lauren Of Room i1286               189.00
  06-13-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286                 20.79
  06-13-08       Room-Group                Routed From Shorr Aaron Of Room 11303                  99.00
  06-13-08       Occupancy Tax             Routed From Shorr Aaron Of Room #303                   10.89
  06-13-08       Room-Group                Routed From Lybrand Steve Of Room 11314                99.00
  06-13-08       Occupancy Tax             Routed From Lybrand Steve Of Room 11314                10.89
  06-13-08       Room-Group                Routcd From I-lartlein Brianna Of Room #316            99.00
  06-13-08       Occupancy Tax             Routed From Hartlein Brianna Of Room #316              10.89
  06-13-08       Room-Group                Routed From Rinker Greg Of Room #317                   99.00
  06-13-08       Occupancy Tax             Routed From Rinker Greg Of Room 11317                  10.89
  06-13-08       Room-Group                Routed From Harden Susan Of Room 11345                 99.00
  06-13-08       Occupancy Tax             Routed From Harden Susan Of Room #345                  10.89
  06-13-08       Room-Group                Routed From Herrington Rob or Room 11346               99.00
  06-13-08       Occupancy Tax             Routed From Herrington Rob Of Room 11-346              10.89
  06-13-08       Room-Group                Routcd From Uslancr Jonathan or Room                   99.00
                                          11349
  06-13-08       Occup<lncy Tax            Routed From Uslaner Jonathan Of Room                   10.89
                                          11349
  06-13-08       Room-Group               Routed From Isomoto Becky Of Room 11355                 99.00
  06-13-08       Occupancy Tax            Routed From 1somoto Becky Of ROOJ11 #355                10.89
  06-13-08       Room-Group               Routed From Reyes Cecilia Of Room #357                  99.00
  06-13-08       Occupancy Tax            Routed From Reyes Cecilia Of Room #357                  10.89
  06-13-08       Room-Group               Routed From Sloan Matt Of Room 11373                    99.00
  06-13-08       Occupancy Tax            Routed From Sloan Matt Of Room #373                     10.89
  06-13-08       Room-Group               Routed From Lanstra Allen Of Room #379                  99.00




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                                                                                            Arrival date:         05-14-08
  MGA Entertainment                                                                         DepartUl"c date:      08-29-08
  16300 Roscoe Boulevard                                                                    No. in party:        0/0
  Van Nuys, CA 91406                                                                        Room No.:             9001
                                                                                            Account No.:
                                                                                            BookingNo.:
                                                                                            Page No"                 400f72

                                                                                             Invoice .:
  INFORMATION INVOICE                                                                                                   08-06-08



  06-13-08       Occupancy Tax              Routed From Lanstra Allen Of Room 11379                  10.89
  06-13-08       Parking-Self Overnight     Routed From Lanslra Allen Of Room #379                    5.00
  06-13-08       Room-Group                 Routed From Nolan Tom Of Room 11403                     350.00
  06-13-08       Occupancy Tax              Routed From Nolan Tom Of Room 11403                      38.50
  06-14-08       Comm-Local Calls          10:28 00:0 I :00 ROllted From Bryant Carter Of             0.75
                                           Room 11259
  06-14-08       Room Service              Linell 259 : Cl-IECKII 0048045 Bryant Carter               26.11
                                           11259'">MGA Entertainment 119001
  06-14-08       Comm-Local Calls          10:4100:03:00 Routed From Bryant Carter Of                  0.75
                                           Room 11259
  06-14-08       Banquct Invoice           39137                                                     725.00
  06-14-08       Parking-Valet Overnight   Routed From Aguiar Lauren Of Room #286                     10.00
  06-14-08       Room-Group                Routed From Holden Craig Of Room 11104                    189.00
  06-14-08       Occupancy Tax             Routed From Holden Craig Of Room III 04                    20.79
  06-14-08       Room-Group                Routed From Lopez Alex Of Room 11154                       99.00
  06-14-08       Occupancy Tax             Routed From Lopez Alex Of Room 11154                       10.89
  06-14-08       Room-Group                Routed From Kennedy Raoul Of Room #158                    189.00
  06-14-08       Occupancy Tax             Routed From Kennedy Raoul Of Room 11158                    20.79
  06-14-08       Room-Group                Routed From Roth Carl Of Room 11202                       189.00
  06-14-08       Occupancy Tax             Routed From Roth Carl Of Room 11202                        20.79
  06-14-08       Room-Group                Routcd From Rogosa Diana Of Room #217                      99.00
  06-14-08       Occupancy Tax             Routed From Rogosa Diana Of Room #217                      10.89
  06-14-08       Room-Group                 Routed From D'Avolio Lisa Of Room 11223                   99.00
  06-14-08       Occupancy Tax              Routed From D'Avolio Lisa Of Room 11223                   10.89
  06-14-08       Room-Group                 Routed From Turnipseed Alissa Of Room                     99.00
                                           11230
  06-14-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room                      10.89
                                           11230
  06-14-08       Roorn-Group                Routed From Franco Max Of Room #231                       99.00
  06-14-08       Occupancy Tax              Routed From Franco Max Of Room #231                       10.89
  06-14-08       Parking-Self Overnight     Routed From Franco Max Of Room #231                        5.00
  06-14-08       Room-Group                 Routed From Dozier Jason Of Room #240                     99.00




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                                           #:325093




                                                                                            Arrival date:        05-14-08
  MGA Entertainment                                                                         Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                    No. in party:       0/0
  Van Nuys, CA 91406                                                                        Room No.:            9001
                                                                                            Account No.:
                                                                                            llookingNo.:
                                                                                            Page No.:               41 of 72

                                                                                             Invoice .:

  INFORMATION INVOICE                                                                                                 08-06-08
  Date        Dcscr:iptioJi               Reference                                               Cha.rges            Credits

  06-14-08       Occupancy Tax              Routed From Dozier Jason Of Room #240                    10.89
  06-14-08       Room-Group                 Routed From Proof Michael Of Room 11249                  99.00
  06-14-08       Occupancy Tax              Routed From Proof Michael Of Room #249                   10.89
  06-14-08       Parking-Self Overnight     Routed From Proof Miehacl Of Room #249                    5.00
  06-14-08       Room-Group                 Routed From Mumford Marcus Of Roo111                     99.00
                                           11255
  06-14-08       Occupancy Tax              Routed From Mumford Marcus Of R00111                     10.89
                                           11255
  06-14-08       Room-Group                 Routcd From Aguiar Lauren Of Room #286                  189.00
  06-14-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286                   20.79
  06-14-08       Room-Group                 Routed From Shorr Aaron Of Room 11303                    99.00
  06-14-08       Occupancy Tax              Routcd From Shorr Aaron Of Room 11303                    10.89
  06-14-08       Room-Group                 Routed From Lybrand Steve Of Room #314                   99.00
  06-14-08       Occupancy Tax              Routed From Lybrand Steve Of Room 11314                  10.89
  06-14-08       Room-Group                 Routed From Hartlcin Brianna Of Roo111 11-316            99.00
  06-14-08       Occupancy Tax              Routed From I-Iartlcin Drianna Of Room #316              10.89
  06-14-08       Room-Group                 Routed From Rinker Greg Of Room #317                     99.00
  06-14-08       Occupancy Tax              Routed From Rinker Greg Of Room #317                     10.89
  06-14-08       Room-Group                 Routed From Harden Susan Of Room 11345                   99.00
  06-14-08       Occupancy Tax              Routed From Harden Susan Of Room #345                    10.89
  06-14-08       Room-Group                 Routed From Herrington Rob Of Room 11346                 99.00
  06-14-08       Occupancy Tax              Routed From Herrington Rob Of Room 11346                 10.89
  06-14-08       Room-Group                 Routed From Uslancr Jonathan Of Room                     99.00
                                           #349
  06-14-08       Occupancy Tax              Routed From Uslancr Jonathan Of Room                      10.89
                                           11349
  06-14-08       Room-Group                 Routed From Isomoto Becky Of Room 11355                  99.00
  06-14-08       Occupancy Tax              Routed From Isomoto Becky Of Room 11355                  10.89
  06-14-08       Room-Group                 Routed From Reyes Cecilia Of Room #357                   99.00
  06-14-08       Occupancy Tax              Routed From Reyes Cecilia Of Room #357                   10.89
  06-14-08       Room-Group                 Routed From Lanstra Allen Of Room #379                   99.00
  06-14-08       Occupancy Tax              Routed From Lanstra Allen Of Room 11379                  10.89




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                                        #:325094




                                                                                        Arrival date:        05-14-08
  MGA Entertainment                                                                     Departure date:      08·29·08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:               42 of 72

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                             08-06-08
                                                                                                                  credits

  06-14-08       Parking-Self Overnight     Routed From Lanstra Allen Of Room 11379               5.00
  06-14-08       Room-Group                 Routed From Nolan Tom Of Room 11403                 350.00
  06-14-08       Occupancy Tax              Routed From Nolan Tom Of Room 11403                  38.50
  06-15-08       Banquet Invoice           39138                                                842.82
  06-15-08       In Room Movies            Line# 259 : Movies Routed From Bryant                 11.99
                                           Carter Of Room 11259
  06-15-08       Room Service              Linel! 259 : CHECKII 0048179 Bryant Carter            17.43
                                           #2s9~>MGA Entertainment 119001

  06-15-08       In Room Movies            Linc# 259 : Movies Routed From Bryant                 10.99
                                           Carter Of Room 11259
  06-15-08       ROOlll Service            Lind! 259 : CHECKII 0048203 Bryant Carter             50.98
                                           112s9~>MGA Entertaimnent 119001

  06-15-08       Room Service              Lind! 259 : CHECKII 0048210 Bryant Carter             92.50
                                           112s9"->MGA Entertainment 119001
  06-15-08       Parking-Valet Overnight   Routed From Aguiar Lauren Of Room 11286               10.00
  06-15-08       Parking-Valet Overnight   Routed From Uslancr Jonathan Of Room #349             10.00
  06-15-08       Parking-Valet Overnight   Routed From Sloan Matt Of Room 11239                  10.00
  06-15-08       Parking-Valet Overnight   Routed From Lanstra Allen Of Room #379                10.00
  06-15-08       Parking-Valet Overnight   Routed From Nolan Tom Of Room 11403                   10.00
  06-15-08       Parking-Valet Overnight   Routed From Reyes Cecilia Of Room 11357               10.00
  06-15-08       Parking-Valet Overnight   Routed From Harden Susan Of Room #345                 10.00
  06-15-08       Parking-Valet Overnight   Routed From Mumford Marcus Of Room                    10.00
                                           11255
  06-15-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room 11303                 10.00
  06-15-08       Parking-Valet Overnight   Routed From Roth Carl Of Room 11202                   10.00
  06-15-08       Parking-Valet Overnight   Routed From Herrington Rob Of Room #346               10.00
  06-15-08       Room-Group                 Routed From Holden Craig Of Room 11104              189.00
  06-15-08       Occupancy Tax              Routed From Holden Craig Of Room 11104               20.79
  06-15-08       Room-Group                 Routed From Lopez Alex Of Room 11154                 99.00
  06-15-08       Occupancy Tax              Routed From Lopez Alex Of Room 11154                 10.89
  06-15-08       Room-Group                 Routed From Kennedy Raoul Of Room #158              189.00
  06-15-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 11158              20.79
  06-15-08       Room-Group                 Routed From Roth Carl Of Room 11202                 189.00




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                                                                                       Arrival date:       05- t 4-08
  MGA Entertainment                                                                    Departure date:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:       0/0
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:                 43 of 72

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                              08-06-08
                                                                                                                  Credits.

  06-15-08       Occupancy Tax              Routed From Roth Carl Of Room 11202                 20.79
  06-15-08       Room-Group                 Routed From Rogosa Diana Of Room 11217              99.00
  06-15-08       Occupancy Tax              Routed From Rogosa Diana Of Room #217               10.89
  06-15-08       Room-Group                 Routed From D'Avolio Lisa Of Room #223              99.00
  06-15-08       Occupancy TllX             Routed From l)'Avolio Lisa Of Room #223             10.89
  06-15-08       Room-Group                 Routed From Turnipseed Alissa Of Room               99.00
                                           11230
  06-15-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room               10.89
                                           11230
  06-15-08       Room-Group                 Routed From Franco Max Of Room iiZ3 1               99.00
  06-15-08       Occupancy Tax              Routed From Franco Max Of Room #231                 10.89
  06-15-08       Parking-Self Overnight     Routed From Franco Max Of R00111 11-231              5.00
  06-15-08       Room-Group                 Routed From Sloan Matt Of Room 11239                99.00
  06-15-08       Occupancy Tax              Routed From Sloan Matt Of Room 11239                10.89
  06-15-08       Room-Group                 Routed From Dozier Jason Of Room 11240              99.00
  06-15-08       Occupancy Tax              Routed From Dozier Jason Of Room #240               10.89
  06-15-08       Room-Group                 Routed From Proof Miehael Of Room 11249             99.00
  06-15-08       Occupancy Tax              Routed From Proof Miehael Of Room #249              10.89
  06-15-08       Parking -Self Overnight    Rooted From Proof Michael Of Room #249               5.00
  06-15-08       Room-Group                 Routed From Mumford Marcus Of Room                  99.00
                                           11255
  06-15-08       Occupancy Tax              Routed From Mumford Marcus Of Room                  10.89
                                           11255
  06-15-08       Room-Group                 Routed From Bryant Carter Of Room 11259            189.00
  06-15-08       Occupancy Tax              Routed From Bryant Carter Of Room 11259             20.79
  06-15-08       Room-Group                Routed From Aguiar Lauren Of Rool11 #286            189.00
  06-15-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286               20.79
  06-15-08       Room-Group                Routed From Shorr Aaron Of Room 11303                99.00
  06-15-08       Occupancy Tax             Routed From Shorr Aaron Of Room 11303                10.89
  06-15-08       Room-Group                Routed From Lybrand Steve Of Room 11314              99.00
  06-15-08       Occupancy Tax             Routed From Lybrand Steve Of Room 11314              10.89
  06-15-08       Room-Group                Routed From Hartlcin Brianna Of Room #316            99.00




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                                                                                         Arrival date:        05-14-08
  MGA Entertainment                                                                      Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                 No. ill party:      0/0
  Van Nuys, CA 91406                                                                     Room No.:            9001
                                                                                         Account No.:
                                                                                          BooldngNo.:
                                                                                         Page No.:               44 of 72

                                                                                          Invoice .:

  INFORMATION INVOICE                                                                                               08-06-08
                                                                                                                   Credits

  06-15-08       Occupancy Tax               Routed From Hartlein Brianna Of Room #316            10.89
  06-15-08       Room-Group                  Routed From Rinker Greg Of Room 11317                99.00
  06-15-08       Occupancy Tax               Routed From Rinker Greg Of Room 11317                10.89
  06-15-08       Room-Group                  Routed From Harden Susan Of Room #345                99.00
  06-15-08       Occupancy Tax               Routed From Harden Susan Of Room #345                10.89
  06-15-08       Room-Group                  Routed From Herrington Rob Of Room #346              99.00
  06-15-08       Occupancy Tax               Routed From Herrington Rob Of Room 11346             10.89
  06-15-08       Room-Group                  Routed From Uslaner Jonathan Of Room                 99.00
                                            11349
  06-15-08       Occupancy Tax               Routcd From Uslaner Jonathan Of Room                 10.89
                                            11349
  06-15-08       Room-Group                  Routed From Isomoto Becky Of Room 11355              99.00
  06-15-08       Occupancy Tax               ROllted From Isomoto Becky Of Room 11355             10.89
  06-15-08       Room-Group                  Routed From Reyes Cecilia Of Room 11357              99.00
  06-15-08       Occupancy Tax               Routed From Reyes Cecilia Of Room 11-357             10.89
  06-15-08       Room-Group                  Routed From Lanstra Allen Of Room #379               99.00
  06-15-08       Occupancy Tax               Routed From Lanstra Allen Of Room #379               10.89
  06-15-08       Parking-Self Overnight      Routed From Lanstra Allen Of Room 11379               5.00
  06-15-08       Room-Group                  Routed From Nolan Tom Of Room 11403                 350.00
  06-15-08       Occupancy Tax               ROllted From Nolan Tom Of Room 11403                 38.50
  06-16-08       Banquet Invoice            39139                                              1,364.12
  06-16-08       Banquet Invoice            DlNNER39768                                          712.01
  06-16-08       Room Service               Linell259 : CHECKII 0048250 Bryant Carter             31.78
                                            11259~>MGA Entertainment #9001

  06-16-08       Parking-Self Overnight     Routed From D'Avolio Lisa Of Room 11223                5.00
  06-16-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room 11303                 10.00
  06-16-08       Parking-Valet Overnight    Routed From Holden Craig Of Room 11104                10.00
  06-16-08       Parking- Valet Overnight   Routed From Roth Carl Of Room 11202                   10.00
  06-16-08       Parking-Valet Overnight    Routed From Mumford Marcus Of Room                    10.00
                                            11255
  06-16-08       Parking-Valct Overnight    Routed From Nolan Tom Of Room 1f403                   10.00
  06-16-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room 11-355              10.00




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                                                                                         Arrival date:        05·14·08
  MGA Entertainment                                                                      Departure date:      08·29·08
  16300 Roscoe Boulevard                                                                 No. ill party:      010
  Van Nuys, CA 91406                                                                     Room No.:            9001
                                                                                         Account No.:
                                                                                         BooldngNo.:
                                                                                         Page No.:               450f72

                                                                                          Invoice .:

  INFORMATION INVOICE                                                                                              08-06-08
                                                                                                                   Credits

  06-16-08       Parking-Valet Overnight   Routed From l'larden Susan Of Room 11345                10.00
  06-16-08       Parking-Valet Overnight   Routed From Herrington Rob Of Room 11346                10.00
  06-16-08       Parking-Valet Overnight   Routed From US!(lller Jonathan Of Room #349             10,00
  06-16-08       Parking-Valet Overnight   Rouled From Sloan Matt Of Room 11347                    10,00
  06-16-08       Parking-Valet Overnight   Rouled From Lanslra Allen Of Room 11379                 10,00
  06-16-08       Room-Group                Routed From Holden Craig Of Room 11104                 189.00
  06-16-08       Occllp~mcy Tax            Routed From Holden Craig Of Room 11104                  20,79
  06-16-08       Room-Group                Routed From Lopez Alex Of Room 11154                    99,00
  06-16-08       Occupancy Tax             Routed From Lopez Alex Of Room 11154                    10,89
  06-16-08       Room-Group                Routed From Kennedy Raoul Of Room 11158                189,00
  06-16-08       Occupancy Tax             Rouled From Kennedy Raoul Of Rool11 11158               20,79
  06-16-08       Room-Group                Routed Frol11 Roth Carl Of Room 11202                  189,00
  06-16-08       Occupancy Tax             Rouled Frol11 Rolh Carl Of Room 11202                   20,79
  06-16-08       Room-Group                Routed From Rogosa Diana Of Room #217                   99,00
  06-16-08       Occupancy Tax             Routed From Rogosa Diana Of Room #217                   10,89
  06-16-08       Room-Group                Routed From D'A valia Lisa Of Room #223                 99,00
  06-16-08       Occupancy Tax              Routed From D'Avolio Lisa Of Room #223                 10,89
  06-16-08       Parking-Sclf Overnight     Routed From D'Avolio Lisa Of Room #223                  8,00
  06-16-08       Room-Group                 Routed From Turnipseed Alissa Of Room                  99,00
                                           11230
  06-16-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room                  10,89
                                           11230
  06-16-08       Room-Group                Routed From Franco Max Of Rool11 #231                   99,00
  06-16-08       Occupancy Tax             Routed Frol11 Franeo Max Of Room 11231                  10,89
  06-16-08       Parking-Self Overnighl    Rouled From Franco Max Of Room #231                     5,00
  06-16-08       Room-Group                Routed From Larian Isaac Of Room 11238                189,00
  06-16-08       Occupancy Tax             Routed From Larian Isaac Of Room #238                   20,79
  06-16-08       Room-Group                Routed From Dozier Jason Of Room #240                   99,00
  06-16-08       Occupancy Tax             Routed From Dozier Jason Of Room #240                   10,89
  06-16-08       Room-Group                Routed From Proof Michael Of RoolTI #249                99,00
  06-16-08       Occupancy Tax             Routed From Proof Michael Of Room 11249                 10,89
  06-16-08       Parking-Self Overnight    Routed From Proof Michael Of Room 11249                  5,00




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                                                                                Arrival date:       05·14·08
  MGA Entertainment                                                             Departure date:     08·29·08
  16300 Roscoe Boulevard                                                        No. in party:       010
  Van Nuys, CA 91406                                                            Room No.:           9001
                                                                                Account No.:
                                                                                BooldngNo.:
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                                                                                 Invoice .:
  INFORMATION INVOICE                                                                                       08·06·08



  06·16·08       Roorn~Group        Routed From Mumford Marcus Of Room                   99.00
                                   11255
  06·16·08       Occupancy Tax      Routed From Mumford Marcus Of Room                   10.89
                                   #255
  06·16·08       Room-Group         Routed From Bryant Carter Of Room #259              189.00
  06-16-08       Occupancy Tax      Rouled From Bryant Carter Of Room 11259              20.79
  06·16-08       Room-Group         Routcd From Aguiar Lauren Of Room #286              189.00
  06-16-08       Occupancy Tax      Routed From Agui3r Lauren Of Room #286               20.79
  06-16-08       Room-Group         Routed From Shorr Aaron Of Room 11303                99.00
  06-16-08       Occupancy Tax      Routed From Shorr Aaron Of Room #303                 10.89
  06-16-08       Room-Group         Routed From Lybrand Stcve Of Room /1314              99.00
  06·16-08       Occupancy Tax      Routed From Lybrand Steve Of Room 1/314              10.89
  06·16-08       Room-Group         Routed From Hartlcin Brianna Of Room #316            99.00
  06-16-08       Occupancy Tax      Routed From Hartlein Brianna Of Room #316            10.89
  06-16-08       Room~Group         Routed From Rinker Greg Of Room 11317                99.00
  06-16-08       Occupancy Tax      Routed From Rinker Grcg Of Room 11317                10.89
  06-16-08       Room-Gl'oup        Routed From Harden Susan Of Room 11345               99.00
  06-16-08       Occupancy Tax      Routed From Harden Susan Of Room 11345               10.89
  06-16-08       Room-Group         Routed From Herrington Rob Of Room 1/346             99.00
  06-16-08       Occupancy Tax      Routed From Herrington Rob Of Room #346              10.89
  06·16-08       Room~Group         Routed From Sloan Matt Of Room 11347                 99.00
  06-16-08       Occupancy Tax      Routed From Sloan Matt Of Room 11347                 10.89
  06-16-08       Room~Group         Routed From Uslaner 10nathan Of Room                 99.00
                                   1/349
  06-16-08       Occupancy Tax      Routcd From Uslancr Jonathan Of Room                 10.89
                                   11349
  06-16-08       Room-Group         Routed From Isomoto Becky Of Room 11355              99.00
  06·16-08       Occupancy Tax      Routed From Isomoto Becky Of Room 1/355              10.89
  06-16-08       Room-Group         Routed From Rcyes Cecilia Of Room #357               99.00
  06-16-08       Occup<lncy TfiX    Routed From Reyes Cecilia Of Room 11357              10.89
  06-16-08       Room-Group         Routed Frum Lanstra Allen Of Room 11379              99.00
  06-16-08       Occupm1cy Tax      Routed From Lanstra A!lcn Of Room if379              10.89




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                                                                                                                   Arrival date:      05·14-08
  MGA Entertainment                                                                                                Deputure date:     08·29-08
  16300 Roscoe Boulevard                                                                                           No. in party:      OlD
  Van Nuys, CA 91406                                                                                               Hoom No.:          9001
                                                                                                                   Account No.:
                                                                                                                   BookingNo.:
                                                                                                                   Page No.:                47 of 72

                                                                                                                    Invoice .:
  INFORMATION INVOICE                                                                                                                         08-06-08
                                                                                                                                             Credits
  06-16-08       Parking-Self Overnight                               Routed From Lanstra Allen Of Room 11379                5.00
  06-16-08       Room-Group                                           Routed From Nolan Tom Of Room 11403                  350.00
  06-16-08       Occupancy Tax                                        Routed From Nolan Tom Of Room 11403                   38.50
  06-16-08       Room-Group                                           Routed From Kesseler Claude Of Room 11419             99.00
  06-16-08       Occupancy Tax                                        Routed From Kesselcr Claude Of Room #419              10.89
  06-17-08       Banquctlnvoicc                                      39140                                               1,351.40
  06-17-08       In Room Service                                     Lincll 259 : CHECKII 0000 I 0 00 I 0 Ruuted           109.50
                                                                     From Bryant Carter Of Room #259
  06-17-08       Comm-Long Distance                                 17:4400:01 :00 Routed From Bryant Carter Of              2.84
                                                                    Room 11259
  06-17-08       Room Service                                       Linell 259 : CHECKII 0048309 Bryant Carter              65.23
                                                                    11259~>MGA Entertainment 119001

  06-17-08       Las Campanas                                       Lincll 238 : CHECKII 0055373 Larian Isaac              121.83
                                                                    11238"'>MGA Entertainment 119001
  06-17-08       In Room Movies                                      Line# 259 : Movies Routed From Bryant                  16.99
                                                                     Carter Of Room 11259
  06-17-08       Banquct Invoice                                     DlNNER39769                                         1,044.82
  06-17-08       Parking-Valet Ovcrnight                             Routed From Lopez Alex Of Room III 54                  10.00
  06-17-08       Parking-Valet Overnight                             Routed From Lanstra Allen Of Room 11379                10.00
  06-17-08       Parking-Valet Overnight                             Routed From Ravan Sandra Of Room #340                  10.00
  06-17-08       Parking-Valet Overnight                            Routed From Herrington Rob Of Room #346                 10.00
  06-17-08       Parking-Valet Overnight                            Routed From Lopez Alex Of Room 11154                    10.00
  06-17-08       Parking-Valet Overnight                            Routed From Harden Susan Of Room 11345                  10.00
  06-17-08       Parking-Valet Ovcrnight                            Routed From Reyes Cecilia Of Room #357                  10.00
  06-17-08       Parking-Valet Ovcrnight                            Routed From Proof Miehacl Of Room 11249                 10.00
  06-17-08       Parking-Valet Overnight                             Routed Frorn Mumford Marcus Of Room                    10.00
                                                                    11255
  06-17-08       Parking-Valet Overnight                            Routed From Isomoto Becky Of Room 11355                10.00
  06-17-08       Parking-Valet Overnight                            Routed From Nolan Tom Of Room 11403                    10.00
  06-17-08       Room-Group                                          Routed From Holden Craig Of Room 11104               189.00
  06-17-08       Occupancy Tax                                       Routed From Holden Craig Of Room 11104                20.79
  06-17-08       Room-Group                                          Routed From Lopez Alex Of Room 11154                  99.00
  06-17-08       Occupancy Tax                                       Routed From Lopez Alex Of Room 11154                  10.89
                                    ...................................................




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                                                                                         Arrival date:        05-14-08
  MGA Entertainment                                                                      Departure date:     08-29·08
  16300 Roscoe Boulevard                                                                 No. in party:       0/0
  Van Nuys, CA 91406                                                                     Room No.:            9001
                                                                                         Account No.:
                                                                                         BookingNo.:
                                                                                         Page No.:               480r72

                                                                                          Invoice .:

  INFORMATION INVOICE                                                                                                 08-06-08
                                                                                               Charges               .Cre.dits

  06-17-08        Room-Group                 Routed From Kennedy Raoul Of Room #158              189.00
  06-17-08        Occupancy Tax              Routed From Kennedy Raoul Of Room #158               20.79
  06-17-08        Room-Group                 Routed From Roth Carl Of Room 11202                 189.00
  06-17-08        Occupancy Tax              Routed From Roth Carl Of Room 11202                  20.79
  06-17-08        Room-Group                 Routed From Rogosa Diana Of Room 112 I 7             99.00
  06-17-08        Occupancy Tax              Routed From Rogosa Diana Of Room 112 I 7             10.89
  06-17-08        Room-Group                 Routed From D'Avolio Lisa Of Room 11223              99.00
  06-17-08        Occupancy Tax              Routed From D'Avolio Lisa Of Room 11223              10.89
  06-17-08        PaIling-Sel f Overnight    Routed From f)'A volio Lisa Of Room 11223             8.00
  06-17-08        Room-Group                 Routed From Turnipseed Alissa Of Room                99.00
                                            11230
  06-17-08        Occupancy Tax              Routed From Turnipseed Alissa Of Room                10.89
                                            11230
  06-17-08        Room-Group                 Routed From Franco Max Of Room #231                  99.00
  06-17-08        Occupancy Tax              Routed From Franco Max Of Room i1231                 10.89
  06-17-08        Parking-Self Overnight     Routed From Franco Max Of Room #231                   5.00
  06-17-08        Room-Group                 Routed From Dozier Jason Of Room #240                99.00
  06-17-08        Occupancy Tax              Routed From Dozier Jason Of Room #240                10.89
  06-17-08        Room-Group                 Routed From Proof Michacl Of Room 11249              99.00
  06-17-08        Occupancy Tax              Routed From Proof Michael Of Room 11249              10.89
  06-17-08        Parking-Self Overnight     Routed From Proof Michael Of Room 11249               5.00
  06-17-08        Room-Group                 Routed From Kesseler Claude Of Room 11251            99.00
  06-17-08        Occupancy Tax              Routed From Kesseler Claude Of Room 11251            10.89
  06-17-08        Room-Group                 Routed From Mumford Marcus Of Room                   99.00
                                            #255
  06-17-08        Occupancy Tax             Routed From Mumford Marcus Of R00111                   10.89
                                            #255
  06-17-08        Room-Group                 Routed From Bryant Carter Of Room 11259             189.00
  06-17-08        Occupancy Tax              Routed From Bryant Carter Of Room 11259              20.79
  06-17-08        Room-Group                 Routed From Aguiar Lauren Of Room #286              189.00
  06-17-08        Occupancy Tax             Routed From Aguiar Lauren Of Room #286                20.79
  06-17-08        Room-Group                 Routed From Shorr Aaron Of Room #303                 99.00

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                                        #:325101




                                                                                        Arrival date:       05-14-08
  MGA Entertainment                                                                     Dcparture datc:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                        BookingNo.:
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  INFORMATION INVOICE                                                                                               08-06-08



  06-17-08       Occupancy Tax             Routed From Shorr Aaron Of Room 11303                 10.89
  06-17-08       Room-Group                Routed From Lybrand Steve Of Room #314                99.00
  06-17-08       Occupancy Tax             Routed From Lybrand Sieve Of Room 11314               10.89
  06-17-08       Room-Group                Routed From Hartlcin Brianna Of Room #316             99.00
  06-17-08       Occupancy Tax             Routed From Hartlein Brianna Of Room #3 16            10.89
  06-17-08       Room-Group                Routed From Rinker Greg Of Room 11317                 99.00
  06-17-08       Occupancy Tax             Routed From Rinker Greg Of Room 11317                 10.89
  06-17-08       Room-Group                Routed From Ravan Sandra Of Room #340                129.00
  06-17-08       Occupancy Tax             Routed From Ravan Sandra Of Room #340                 14.19
  06-17-08       Room-Group                Routed From I-I[mien Susan Of Room #345               99.00
  06-17-08       Occupancy Tax             Routed From Harden Susan Of Room #345                 10.89
  06-17-08       Room-Group                Routed From Herrington Rob Of Room #346               99.00
  06-17-08       Occupancy Tax             Routed From Herrington Rob Of Room 11-346             10.89
  06-17-08       Room-Group                Routed From Sloan Matt Of Room 11347                  99.00
  06-17-08       Occupancy Tax             Routed From Sloan Matt Of Room 11347                  10.89
  06-17-08       Room-Group                Routed From Uslaner Jonathan Of ROOin                 99.00
                                          11349
  06-17-08       Occupancy Tax             Routed From Uslancr Jonathan Of Room                  10.89
                                          11349
  06-17-08       Room-Group                Routed From Isomoto Becky Of Room #355                99.00
  06-17-08       Occupancy Tax             Routed From Isomolo Becky Of Room 11355               10.89
  06-17-08       Room-Group                Routed From Reyes Cecilia Of Room #357                99.00
  06-17-08       Occupancy Tax             Routed From Reyes Cecilia Of Room #357                10.89
  06-17-08       Room-Group                Routed From Lanslra Allen Of Room 11379               99.00
  06-17-08       Occupancy Tax             Routcd From Lanstr. Allcn Of Room 11379               10.89
  06-17-08       Parking-Sclf Overnight    Routed From Lanstra Allen Of Room #379                 5.00
  06-17-08       Room-Group                Routed From Nolan Tom OfRoomlt403                    350.00
  06-17-08       Occupancy Tax             Routed From Nolan Tom Of Room 1/403                   38.50
  06-18-08       Mission Inn Restaurant   Line1l238: CI-rECKIl 0011279 Larian Isa.e              37.06
                                          #238~>MGA Entertainment 119001

  06-18-08       Banquet Invoiec          39141                                               1,249.69
  06-18-08       In Room Beveragc                                                                26.50




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                                                                                        Arrival date:        05- 14-08
  MGA Entertainment                                                                     Departurc datc:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                        BookingNo.:
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  INFORMATION INVOICE                                                                                               08-06-08
                                           Reference                                          C\largcs              Credits.

  06-18-08       Parking-Self Overnight     Ryan Routed From D'AvoIio Lisa Of Room               96.00
                                            #223
  06-18-08       Banquet Invoice            39770                                               640.81
  06-18-08       Presidential Lounge        Linell9001 : CHECKII 0038174                         12.16
  06-18-08       Parking-Valet Ovcrnight    Routed From Reyes Cecilia Of Room #357               10.00
  06-18-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #379               10.00
  06-18-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room 11347                 10.00
  06-18-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room 11379              10.00
  06-18-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room 11303                10.00
  06-18-08       Parking-Valet Overnight    Routed From 1somoto Becky Of Room #355               10.00
  06-18-08       Parking-Valet Ovcrnight    Routed From Lopez Alex Of Room 11154                 10.00
  06-18-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room 11346             10.00
  06-18-08       Room-Group                  Routed From Holden Craig Of Room II I 04           189.00
  06-18-08       Occupancy Tax               Routed From Holden Craig Of Room 11104              20.79
  06-18-08       Room-Group                  Routed From Lopez Alex Of Room 11154                99.00
  06-18-08       Occupancy Tax               Routed From Lopez Alex Of Room 11154                10.89
  06-18-08       Room-Group                  Routed From Kennedy Raoul Of Room 11158            189.00
  06-18-08       Occupancy Tax               Routed From Kennedy Raoul Of Room 1f.158            20.79
  06-18-08       Room-Group                  Routed From Roth Carl Of Room 11202                189.00
  06-18-08       Occupancy Tax               Routed From Roth Carl Of Room 11202                 20.79
  06-18-08       Room-Group                  Routed From Rogosa Diana Of Room 112 I 7            99.00
  06-18-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217               10.89
  06-18-08       Room-Group                  Routed From D'A volio Lisa Of Room 11223            99.00
  06-18-08       Occupancy Tax               Routed From D'Avolio Lisa Of Room 11223             10.89
  06-18-08       Parking-Self Overnight      Routed From D'Avolio Lisa Of Room 11223              8.00
  06-18-08       Room-Group                  Routed From Turnipseed Alissa Of Room               99.00
                                            11230
  06-18-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room                10.89
                                            11230
  06-18-08       Room-Group                  Routed From Franco Max Of Room 1123 I               99.00
  06-18-08       Occupancy Tax               Routed From Franco Max Of Room 11231                10.89
  06-18-08       Parking-Sci f Overnight     Routed Frorn Franco Max Of Room #231                 5.00




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                                                                                        Arrival datc:       05-14-08
  MGA Entertainment                                                                     Departure datc:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:           9001
                                                                                        Account No.:
                                                                                        BookingNo.:
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  INFORMATION INVOICE                                                                                              08-06-08



  06-18-08       Room-Group               Routed From Dozier Jason Of Room 11240                 99.00
  06-18-08       Occupancy Tax            Routed From Dozier Jason Of Room 11240                 10.89
  06-18-08       Room-Group               Routed From ProofMiehacl Of Room 11249                 99.00
  06-18-08       Occupancy Tax            Routed From Proof Michael Of Room 11249                10.89
  06-18-08       Parking-Self Overnight   Routed From ProofMichacl Of Room 11249                  5.00
  06-18-08       Room-Group                Routed From Mumford Marcus Of Room                    99.00
                                          11255
  06-18-08       Occupancy Tax            Routed From Mumford Marcus Of Room                     10.89
                                          11255
  06-18-08       Room-Group               Routed From Aguiar Lauren Of Room 11286               189.00
  06-18-08       Occupancy Tax            Routed From Aguiar Lauren Of Room 11286                20.79
  06-18-08       Room-Group               Routed From Shorr Aaron Of Room 11303                  99.00
  06-18-08       Occupancy Tax            Routed From Shorr Aaron Of Room i/303                  10.89
  06-18-08       Room-Group               Routed From Lybrand Steve O[Room 11314                 99.00
  06-18-08       Occupancy Tax            Routed From Lybrand Steve O[Roo01 11314                10.89
  06-18-08       Room-Group               Routed From Hartlein Brianna Of Room il-316            99.00
  06-18-08       Occupancy Tax            Routed From Hartlein Brianna Of Room #316              10.89
  06-18-08       Room-Group               Rooted From Rinker Greg Of Room 11317                  99.00
  06-18-08       Occupancy Tax            Routed From Rinker Greg Of Room #317                   10.89
  06-18-08       Room-Group               Routed From Harden Susan Of Room 11345                 99.00
  06-18-08       Occupancy Tax            Routed From Harden Susan Of Room 11345                 10.89
  06-18-08       Room-Group               Routed From Herrington Rob Of Room 11346               99.00
  06-18-08       Occupancy Tax            Routed From Herrington Rob Of Room il346               10.89
  06-18-08       Room-Group               Ranted From Sloan Matt Of Room 11347                   99.00
  06-18-08       Occupancy Tax            Routed From Sloan Malt Of Room 11347                   10,89
  06-18-08       Room-Group               Routed From Uslaner Jonathan Of Room                   99.00
                                          11349
  06-18-08       Occupancy Tax            Routed From Uslaner Jonathan Of Room                    10.89
                                          11349
  06-18-08       Room-Group               Routed From Isomoto Becky Of Room 11355                99.00
  06-18-08       Occupancy Tax            Routed From Isomoto Becky Of Room 11355                10.89
  06-18-08       Room-Group               Routed From Reyes Cecilia Of Room 11357                99.00




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                                                                                          Arrival date:        05-t4-08
  MGA Entertainment                                                                       Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                  No. in party:       010
  Van Nuys, CA 91406                                                                      Room No.:            9001
                                                                                          Account No.:
                                                                                          BookingNo.:
                                                                                          Page No.:               520r72

                                                                                           Invoice .:

  INFORMATION INVOICE                                                                                               08-06-08

  ))at~        ))escrip ti911                                                                   Charges             Credits

  06-18-08         Occupancy Tax              Routed From Reyes Cecilia Of Room 11357              10.89
  06-18-08         Room-Group                 Routed From Lanstra Allen Of Room 11379              99.00
  06-18-08         Occupancy Tax              Routed From Lanstra Allen Of Room 11379              10.89
  06-18-08         Parking-Self Overnight     Routed From Lanstra Allen Of Room #379                5.00
  06-18-08         Room-Group                 Routed From Nolan Tom Of Room 1-1403                350.00
  06-18-08         Occupancy Tax              Routed From Nolan Tom Of Room 11403                  38.50
  06-19-08         Parking-Valet Overnight    Holden Craig 1I104-'>MGA Entertainment               10.00
                                              119001
  06-19-08         Banquet Invoice            39142                                             1,351.40
  06-19-08         Mastercard                 XXXXXXXXXXXX2048                XXIXX                               30,000.00
  06-19-08         Banquet Invoice            DlNNER3977I                                         698.03
  06-19-08         Parking-Valet Overnight    Routed From Harden Susan Of Room 11345               10.00
  06-19-08         Parking-Valet Ovcrnight    Routed From Herrington Rob Of Room 11346             10.00
  06-19-08         Parking-Valet Overnight    Routed From Roth Carl Of Room 11202                  10.00
  06-19-08         Parking- Valet Ovcrnight   Routed From Uslaner 10nathan Of Room #349            10.00
  06-19-08         Parking- Valet Ovcrnight   ROllted From Sloan Matt Of Room 11347                10.00
  06-19-08         Parking-Valet Overnight    Routed From Lanstra Allen Of Room 11379              10.00
  06-19-08         Parking-Valet Overnight    Routed From Reyes Cecilia Of Room 11357              10.00
  06-19-08         Parking-Valet Overnight    Routed From Shorr Aaron Of Room 11303                10.00
  06-19-08         Parking- Valet Overnight   Routed From Isomoto Becky Of Room 11355              10.00
  06-19-08         Parking- Valet Overnight   Routed From Nolan Tom Of Roo111 11403                10.00
  06-19-08         Room-Group                 Routed From Holden Craig Of Roo111 11104            189.00
  06-19-08         Occupancy Tax              Routed From Holden Craig Of Roo111 11104             20.79
  06-19-08         Room-Group                 ROllted From Lopez Alex Of Room 11154                99.00
  06-19-08         Occupancy Tax              Routed From Lopez Alex Of Room II 154                10.89
  06-19-08         Room-Group                 Routed From Kennedy Raoul Of Room 11158             189.00
  06-19-08         Occupancy Tax              Routed From Kennedy Raoul Of Room 11158              20.79
  06-19-08         Room-Group                 Routed From Roth Carl Of Room 11202                 189.00
  06-19-08         Occupancy Tax              Routed From Roth Carl Of Room 11202                  20.79
  06-19-08         Room-Group                 Routed From Rogosa Diana Of Room #217                99.00
  06-19-08         Occupancy Tax              Routed From Rogosa Diana Of Room #217                10.89
  06-19-08         Room-Group                 Routed From D'AvoJio Lisa Of Room #223               99.00




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                                                                                        Arrival date:         05·14·08
  MGA Entertainment                                                                     Dcparhll'c datc:      08·29·08
  16300 Roscoe Boulevard                                                                No. in party:        010
  Van Nuys, CA 91406                                                                    Room No.:             9001
                                                                                        Account No.:
                                                                                        BookingNo.:
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  06·19·08       Occupancy Tax             Rouled From D'Avolio Lisa Of Room 11223                10.89
  06·19·08       Parking-Self Overnight    Routed From D'Avolio Lisa Of Room #223                  8.00
  06·19·08       Room-Group                Routed From Turnipseed Alissa Of Room                  99.00
                                          11230
  06·19·08       Occupancy Tax             Routed From Turnipseed Alissa Of Room                  10.89
                                          11230
  06·19·08       Room-Group                Routed From Franco Max Of Room #231                    99.00
  06·19·08       Occupancy Tax             Routed From Franco Max Of Room 11231                   10.89
  06·19·08       Parking-Self Ovcrnight    Routed From Franco Max Of Room 11231                    5.00
  06·19·08       Room-Group                Routed From Dozier Jason Of Room #240                  99.00
  06·19·08       Occupancy Tax             Routed From Dozier Jason Of Room 11240                 10.89
  06·19·08       Room-Group                Routed From Proof Michael Of Room #249                 99.00
  06·19·08       Occupancy Tax             Routed From Proof Michael Of Room #249                 10.89
  06·19·08       Parking-Self Overnight    Rouled From I'roofMichael Of Room 11249                 5.00
  06·19·08       Room-Group                Routed From Mumford Marcus Of Room                     99.00
                                          11255
  06·19·08       Occupancy Tax             Routed From Mumford Marcus Of Room                     10.89
                                          11255
  06·19·08       Room-Group                Routed From Aguiar Lauren Of Room #286                189.00
  06·19·08       Occupancy Tax             Rouled From Aguiar Lauren Of Room 11286                20.79
  06·19·08       Room-Group                Rouled From Shorr Aaron Of Room 11303                  99.00
  06·19·08       Occupancy Tax             Rouled From Shorr Aaron Of Room 11303                  10.89
  06·19·08       Room-Group                Routed From Lybrand Steve Of Room 11314                99.00
  06·19·08       Occupancy Tax             Routed From Lybrand Steve Of Room 11314                10.89
  06·19·08       Room-Group                Routed From Hartlcin Brianna Of Room #3 16             99.00
  06·19·08       Occupancy Tax             Routed From Hartlcin Brianna Of Room #316              10.89
  06·19·08       Room-Group                Routed From Rinker Greg Of Room #317                   99.00
  06·19·08       Occupancy Tax             Routed From Rinker Greg Of Room #317                   10.89
  06·19·08       Room-Group                Routed From Harden Susan Of Room 11345                 99.00
  06·19·08       Occupancy Tax             Routed From Harden Susan Of Room 11345                 10.89
  06·19·08       Room-Group                Routed From Herrington Rob Of Room #346                99.00
  06·19·08       Occupancy Tax             Routed From Herrington Rob Of Room #346                10.89




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                                                                                       Arrival date:        05- 14-08
  MGA Entertainment                                                                    Departure date:      08-29-08
  16300 Roscoe Boulevard                                                               No. in party:       0/0
  Van Nuys, CA 91406                                                                   Room No.:            9001
                                                                                       Account No.:
                                                                                       BookingNo.:
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  INFORMATION INVOICE                                                                                             08-06-08



  06-19-08       Room-Group                 Routed From Sloan Matt Of Room 11347                99.00
  06-19-08       Occupancy Tax              Routed From Sloan Matt Of Room 11347                10.89
  06-19-08       Room-Group                 Routed From Uslaner 10nathan Of Room                99.00
                                           11349
  06-19-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room                10.89
                                           11349
  06-19-08       Room-Group                 Routed From Isomoto Becky Of Room 11355             99.00
  06-19-08       Occupancy Tax              Routed Fromlsomoto Becky Of Room 11355              10.89
  06-19-08       Room-Group                 Routed From Reyes Cecilia Of Room 11357             99.00
  06-19-08       Occupancy Tax              Routed From Reyes Cecilia Of Room #357              10.89
  06-19-08       Room-Group                 Routed From Lanstra Allen Of Room tf379             99.00
  06-19-08       Occupancy Tax              Routed From Lanstra Allen Of Room 11379             10.89
  06-19-08       Parking-Self Overnight     Routed From Lanstra Allen Of Room 11379              5.00
  06-19-08       Room-Group                 Routed From Nolan Tom Of Room 11403                350.00
  06-19-08       Occupancy Tax              Routed From Nolan Tom Of Room 11403                 38.50
  06-20-08       Banquet Invoice           39143                                             1,325.97
  06-20-08       Mastercard                XXXXXXXXXXXX2048                 xx/xx                              30,000.00
  06-20-08       Parking-Valet Overnight   Ryan Routed From Lopez Alex Of Room 11154            10.00
  06-20-08       Parking-Valet Overnight   Routed From Lopez Alex Of Room 11154                 10.00
  06-20-08       Room-Group                 Routed From Holden Craig Of Room 11104             189.00
  06-20-08       Occupancy Tax              Routed From Holden Craig Of Room 11104              20.79
  06-20-08       Room-Group                 Routed From Lopez Alex Of Room 11154                99.00
  06-20-08       Occupancy Tax              Routed From Lopez Alex Of Room 11154                10.89
  06-20-08       Room-Group                 Routed From Kennedy Raoul Of Room 11158            189.00
  06-20-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 11158             20.79
  06-20-08       Room-Group                 Routed From Roth Carl Of Room 11202                189.00
  06-20-08       Occupancy Tax              Routed From Roth Carl Of Room 11202                 20.79
  06-20-08       Room-Group                 Routed From Rogosa Diana Of Room #217               99.00
  06-20-08       Occupancy Tax              Routed From Rogosa Diana Of Room #217               10.89
  06-20-08       Room-Group                 Routed From D'Avolio Lisa Of Room #223              99.00
  06-20-08       Occupancy Tax              Routed From D'Avolio Lisa Of Room 11223             10.89
  06-20-08       Parking-Self Overnight     Routed From D'Avolio Lisa Of Room 11223              8.00




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                                                                                        Arrival date:       05-14-08
  MGA Entertainment                                                                     Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                        BookingNo.:
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  INFORMATION INVOICE                                                                                               08-06-08



  06-20-08       Room-Group                Routed From Turnipseed Alissa Of Room                 99.00
                                          1/230
  06-20-08       Occupancy Tax             Routed From Turnipseed Alissa Of Room                 10.89
                                          11230
  06-20-08       Room-Group                Routed From Franco Max Of Room #231                   99.00
  06-20-08       Occupancy Tax             Routed From Franco Max Of Room 11231                  10.89
  06-20-08       Parking-Self Overnight    Routed From Franco Max Of Room #23 I                   5.00
  06-20-08       Room-Group                Routed From Dozier Jason Of Room #240                 99.00
  06-20-08       Occupancy Tax             Routed From Dozier Jason Of Room #240                 10.89
  06-20-08       Room-Group                Routed From Proof Michael Of Room 11249               99.00
  06-20-08       Occupancy Tax             Routed From Proof Mich.el Of Room 11249               10.89
  06-20-08       Parking-Self Overnight    Routed From Proof Michacl or Room #249                 5.00
  06-20-08       Room-Group                Routed From Mumford Marcus Of Room                    99.00
                                          11255
  06-20-08       Occupancy Tax             Routed From Mumford Marcus Of Room                    10.89
                                          1/255
  06-20-08       Room-Group                Routed From Aguiar Lauren Of Room #286               189.00
  06-20-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286                20.79
  06-20-08       Room-Group                Routed From Shorr Aaron Of Room 11303                 99.00
  06-20-08       Occupancy Tax             Routed From Shorr Aaron Of Room 11303                 10.89
  06-20-08       Room-Group                Routed From Lybrand Steve Of Room 11314               99.00
  06-20-08       Occupancy Tax             Routed From Lybrand Steve Of Room /1314               10.89
  06-20-08       Room-Group                Routed From Hartlein Brianna Of Room 11316            99.00
  06-20-08       Occupancy Tax             Routed From Hartlein Brianna Of Room #316             10.89
  06-20-08       Room-Group                Routed From Rinker Greg Of Room 11317                 99.00
  06-20-08       Occupancy Tax             Routed From Rinker Greg Of Room 11317                 10.89
  06-20-08       Room-Group                Routed From Harden Susan Of Room 11345                99.00
  06-20-08       Occupancy Tax             Routed From Harden Susan Of Room 11345                10.89
  06-20-08       Room-Group                Routed From Herrington Rob Of Room 11346              99.00
  06-20-08       Occupancy Tax             Routed From Herrington Rob Of Room #346               10.89
  06-20-08       Room-Group                Routed From Sloan Matt Of Room 11347                  99.00
  06-20-08       Occupancy Tax             Routed From Sloan Matt Of Room 11347                  10.89




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                                                                                      Arrival date:       05- t 4-08
  MGA Entertainment                                                                   Departure date:     08-29-08
  16300 Roscoe Boulevard                                                              No. in party:       0/0
  Van Nuys, CA 91406                                                                  Room No.:            9001
                                                                                      Account No.:
                                                                                      BookingNo.:
                                                                                      Page No.:               56 of 72

                                                                                       Invoice .:

  INFORMATION INVOICE                                                                                             08-06-08
                                                                                            Cha~gcs               Credits

  06-20-08       Room-Group                Routed From Uslaner 10nathan Of Room                99.00
                                          #349
  06-20-08       Occupancy Tax             Routcd From Uslaner Jonatlwn Of Room                10.89
                                          #349
  06-20-08       Room-Group                Routed From Isomoto Becky Of Room 11355             99.00
  06-20-08       Occupancy Tax             Routcd From Isomoto Becky Of Room 11355             10.89
  06-20-08       Room-Group                Routed From Reyes Cecilia Of Room #357              99,00
  06-20-08       Occup,mcy T(lX            Routed From Reyes Cecilia Of Room #357              10,89
  06-20-08       Room-Group                Routed From Lanstr" Allen Of Room #379              99.00
  06-20-08       Occupancy Tax             Routcd From La11stra Allen Of Room #379             10.89
  06-20-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room #379               5.00
  06-20-08       Room-Group                Routed From Nolan Tom Of Room 11403                350,00
  06-20-08       Occupancy Tax             Routed From Nolan Tom Of Ruom 11403                 38.50
  06-21-08       Banquet Invoice          39144                                               725,00
  06-21-08       Room-Group                Routed From Holden Craig Of Room 11104             189,00
  06-21-08       Occupancy Tflx            Routed From Holden Craig Of Room #104               20.79
  06-21-08       Room-Group                Routed From Lopez Alex Of Room 11154                99.00
  06-21-08       Occupancy Tax             Routed From Lopez Alex Of Room 11154                10.89
  06-21-08       Room-Group                Routed From Kcnnedy Raoul Of Room #158             189,00
  06-21-08       Occupancy Tax             Routed From Kennedy Raoul Of Room 11158             20.79
  06-21-08       Room-Group                Routed From Roth Carl Of Room 11202                189,00
  06-21-08       Occupancy Tax             Routed From Roth Carl Of Room 11202                 20,79
  06-21-08       Room-Group                Routed From Rogosa Diana Of Room 11217              99.00
  06-21-08       Occupancy Tax             Routed From Rogosa Diana Of Room 11217              10.89
  06-21-08       Room-Group                Routed From D'Avolio Lisa Of Room 11223             99,00
  06-21-08       Occupancy Tax             Routed From D'A valia Lisa Of Room 11223            10.89
  06-21-08       Parking-Self Overnight    Routed From D'Avolio Lisa Of Room #223               8.00
  06-21-08       Room-Group                Routed From Turnipseed Alissa Of Room               99,00
                                          11230
  06-21-08       Occupancy Tax             Routed From Turnipsccd Alissa Of Room                10.89
                                          11230
  06-21-08       Room-Group                Routed From Franco Max Of Room il231                99,00




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                                          #:325109




                                                                                       Arrival date:       05-14-08
  MGA Entertainment                                                                    Departure date:     08-29-08
  16300 Roscoe Boulevard                                                               No. jn party:       010
  Van Nuys, CA 91406                                                                   Hoom No.:            9001
                                                                                       Account No.:
                                                                                        BookingNo,:
                                                                                       Page No.:               57 of 72

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                              08-06-08
                                                                                                                   Credils

  06-2 I -08     Occupancy Tax             Routed From Franco Max Of Room #231                  10.89
  06-2 I -08     Parking-Self Overnight    Routed From Franco Max Of Room 1123 I                 5.00
  06-2 I -08     Room-Group                Routed From Dozier Jason Of Room #240                99.00
  06-2 I -08     Occupancy Tax             Routed From Dozier Jason Of Room #240                10.89
  06-2 I -08     Room-Group                Routed From ProofMiehacI Of Room 11249               99.00
  06-21-08       Occupancy Tax             Routed From Proof Michael Of Room #249               10.89
  06-2 I -08     Parking-Self Overnight    Routed From ProofMichacl Of Rool11 #249               5.00
  06-2 I -08     Room-Group                Routed From Mumford Marcus Of Room                   99.00
                                          11255
  06-2 I -08     Occupancy Tax             Routed From Mumford Marcus Of Room                   10.89
                                          11255
  06-2 I -08     Room-Group                Routed From Aguiar Lauren Of Room #286              189.00
  06-2 I -08     Occupancy Tax             Routed From Aguiar Lauren Of Room #286               20.79
  06-2 I -08     Room-Group                Routed From Shorr Aaron Of Room #303                 99.00
  06-2 I -08     Occupancy Tax             Routed From Shorr Aaron Of Room 11303                10.89
  06-2 I -08     Room-Group                Routed From Lybrand Steve Of Room 11314              99.00
  06-2 I -08     Occupancy Tax             Routed From Lybrand Steve Of Room 113 14             10.89
  06-2 I -08     Room-Group                Routed From Hartlcin Brianna Of Room #316            99.00
  06-21-08       Occupancy Tax             Routed From Hartlein Brianna Of Room #316            10.89
  06-21 -08      Room-Group                Routed From Rinker Greg Of Room 113 I 7              99.00
  06-2 I -08     Occupancy Tax             Routed From Rinker Greg Of Room 113 I 7              10.89
  06-2 I -08     Room-Group                Routed From Harden Susan Of Room #345                99.00
  06-2 I -08     Occupancy Tax             Routed From Harden Susan Of Room 11345               10.89
  06-2 I -08     Room-Group                Routed From Herrington Rob Of Room 11346             99.00
  06-21-08       Occupancy Tax             Routed From Herrington Rob Of Room 11346             10.89
  06-2 I -08     Room-Group                Routed From Sloan Matt Of Room 11347                 99.00
  06-2 I -08     Occupancy Tax             Routed From Sloan Matt Of Room 11347                 10.89
  06-2 I -08     Room-Group                Routed From Uslaner Jonathan Of Room                 99.00
                                          #349
  06-2 I -08     Occupancy Tax             Routed From Uslaner Jonathan Of Room                 10.89
                                          11349
  06-2 I -08     Room-Group                Routed From Isomoto Becky Of Room 11355              99.00




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                                                                                        Arrival date:         05-14-08
  MGA Entertainment                                                                     Depltrture date:     08-29-08
  16300 Roscoe Boulevard                                                                No. ill party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:             9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:                580f72

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                                08-06-08
                                                                                                                     Credits

  06-21-08       Occupancy Tax              Rouled From IsomOlO Becky Of Room 11355              10.89
  06-21-08       Room-Group                 Rouled From Reyes Cecilia Of Room 11357              99.00
  06-21-08       Occupancy Tax              Routed From Reyes Cecilia Of Room 11357              10.89
  06-21-08       Room-Group                 Routed From Lanstra Allen Of Room 113 79             99.00
  06-21-08       Occupancy Tax              Routed From Lanstra Allen Of Room 11379              10.89
  06-2 I -08     Parking-Self Overnighl     Rouled From Lanstra Allen Of Room 11379               5.00
  06-2 I -08     Room-Group                 Routed From Nolan Tom Of Room 11403                 350.00
  06-2 I -08     Occupancy Tax              Routed From Nolan Tom Of Room 11403                  38.50
  06-21-08       Valet Parking             Linell 286 : CHECKII 01 I 1475 15.00 Split            10.00
                                           Into 10.00 And 5.00 Aguiar Lauren
                                           11286~>MGA Entertainment 119001

  06-22-08       Banquet Invoice           39145                                                725.00
  06-22-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room #303                  15.00
  06-22-08       Parking-Valet Overnight   Routed from Roth Carl Of Room 11202                   15.00
  06-22-08       Parking-Valet Overnight   Routed From Herrington Rob Of Room 11346              15.00
  06-22-08       Parking-Valet Overnight   Routed From Harden Susan Of Room 11345                15.00
  06-22-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room 11355               15.00
  06-22-08       Parking-Valet Overnight   Routed From Lanstra Allen Of Room 11379               15.00
  06-22-08       Parking-Valet Overnight   Routed From Uslancr 10nathan Of Room #349             15.00
  06-22-08       Room-Group                Routed From Holden Craig Of Room 11104               189.00
  06-22-08       Occupancy Tax             Routed From Holden Craig Of Room/I! 04                20.79
  06-22-08       Room-Group                Routed From Lyter Albert Of Room III 16               99.00
  06-22-08       Occupancy Tax             Routed From Lyter Albert Of Room # I 16               10.89
  06-22-08       Room-Group                Routed From Lopez Alex OfRoom/1!54                    99.00
  06-22-08       Occupancy Tax             Routed From Lopez Alex Of Room II I 54                10.89
  06-22-08       Room-Group                Routed From Kennedy Raoul Of Room 11158              189.00
  06-22-08       Occupancy Tax             Routed From Kennedy Raoul Of Room 11158               20.79
  06-22-08       Room-Group                Routed From Roth Carl Of Room 11202                  189.00
  06-22-08       Occupancy Tax             Routed From Roth Carl Of Room 11202                   20.79
  06-22-08       Room-Group                Routed From Rogosa Diana Of Room 11217                99.00
  06-22-08       Occupancy Tax             Routed From Rogosa Diana Of Room #217                 10.89
  06-22-08       Room-Group                Routed From D'A volio Lisa Of Room 11223              99.00




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                                                                                        Arrival date:       05-14-08
  MGA Entertainment                                                                     Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    ROOin No.;           9001
                                                                                        Account No.:
                                                                                        BooJdngNo.;
                                                                                        Page No,:               59 of 72

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                               08-06-08
                                                                                                                    Credits

  06-22-08       Occupancy Tax             Routed From D'Avolio Lisa Of Room 11223               10.89
  06-22-08       Parking-Self Overnight    Routed From D'Avolio Lisa Of Room 11223                8.00
  06-22-08       Room-Group                Routed From Turnipseed Alissa Of Room                 99.00
                                          11230
  06-22-08       Occupancy Tax             Routed From Turnipseed Alissa Of Room                 10.89
                                          11230
  06-22-08       Room-Group                Routed From Franco Max Of Room 11231                  99.00
  06-22-08       Occupancy Tax             Routed From Franco Max Of Room tt231                  10.89
  06-22-08       Parking-Self Ovcrnight    Routed From Franco Max Of Room #23 1                   5.00
  06-22-08       Room-Group                Routed From Dozier Jason Of Room #240                 99.00
  06-22-08       Occupancy Tax             Routed From Dozier Jason Of Room #240                 10.89
  06-22-08       Room-Group                Routed From Proof Michael Of Room 11249               99.00
  06-22-08       Occupancy Tax             Routed From ProofMiehacl Of Room 11249                10.89
  06-22-08       Parking-Self Overnight    Routcd From ProofMichacl Of Room 11-249                5.00
  06-22-08       Room-Group                Routed From Mumford Marcus Of Room                    99.00
                                          11255
  06-22-08       Occupancy Tax             Routed From Mumford Marcus Of Room                    10.89
                                          11255
  06-22-08       Room-Group                Routed From Aguiar Lauren Of Room #286               189.00
  06-22-08       Occupancy Tax             Routed From Aguiar Lauren Of Room 11286               20.79
  06-22-08       Room-Group                Routed From Shorr Aaron Of Room 11303                 99.00
  06-22-08       Occupancy Tax             Routed From Shorr Aaron Of Room 11303                 10.89
  06-22-08       Room-Group                Routed From Lybrand Steve Of Room 11314               99.00
  06-22-08       Occupancy Tax             Routed From Lybrand Steve Of Room 11314               10.89
  06-22-08       Room-Group                Routed From Hartlein Brianna Of Room 11316            99.00
  06-22-08       Occupancy Tax             Routed From Hartlein Brianna Of Room 11316            10.89
  06-22-08       Room-Group                Routed From Rinker Greg Of Room 11317                 99.00
  06-22-08       Occupancy Tax             Routed From Rinker Greg Of Room #317                  10.89
  06-22-08       Room-Group                Routed From Harden Susan Of Room 11345                99.00
  06-22-08       Occupancy Tax             Routed From Harden Susan Of Room 11345                10.89
  06-22-08       Room-Group                Routed From Herrington Rob Of Room 11346              99.00
  06-22-08       Occupancy Tax             Routed From Herrington Rob Of Room #346               10.89




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                                        #:325112




                                                                                        Arrival datc:       05-14-08
  MGA Entertainment                                                                     Dcparturc datc:     08-29-08
  16300 Roscoe Boulevard                                                                No. ill party:      0/0
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:               60 of 72

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                               08-06-08
                                           Refer.enCe                                         Charges               Credits

  06-22-08       Room-Group                  Routed From Sloan Mall Of Room 11347                 99.00
  06-22-08       Occupancy Tax               Routed From Sloan Mall Of Room 11347                 10.89
  06-22-08       Room-Group                  Routed From Uslancr Jonathan Of Room                 99.00
                                            11349
  06-22-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                 10.89
                                            11349
  06-22-08       Room-Group                  Routed From Isomoto Becky Of Room 11355             99.00
  06-22-08       Occupancy TflX              Routed From Isomoto Becky Of Room 11355             10.89
  06-22-08       Room-Group                  Routed From Reyes Cecilia Of Room 11357             99.00
  06-22-08       Occupancy Tax               Routed From Reyes Cecilia Of Room 11357             10.89
  06-22-08       Room-Group                  Routed From Lanstra Allen Of Room it379             99.00
  06-22-08       Occupancy Tax               Routed From Lanstra Allen Of Room 113 79            10.89
  06-22-08       Parking-Self Overnight      Routed From Lanslra Allen Of Room 11379              5.00
  06-22-08       Room-Group                  Routed From Nolan Tom Of Room 11403                350.00
  06-22-08       Occupancy Tax               Routed From Nolan Tom Of Room 11403                  38.50
  06-23-08       Banquet Invoice            39146                                              1,351.40
  06-23-08       Banquet Invoice            dinner39849                                          835.66
  06-23-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room 11379               15.00
  06-23-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349             15.00
  06-23-08       Parking-Valet Overnight    Routed From Roth Carl Of Room 11202                   15.00
  06-23-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room 11346              15.00
  06-23-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room 11355               15.00
  06-23-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                 15.00
  06-23-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357                15.00
  06-23-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room 11403                   15.00
  06-23-08       Parking-Valct Overnight    Routed From Shorr Aaron Of Room 11303                 15.00
  06-23-08       Room-No Show               Leahy Margaret #213=>MGA Entcrtainment                99.00
                                            119001
  06-23-08       Room-Group                  Routed From Holden Craig Of Rool11 11104            189.00
  06-23-08       OCCUpfll1Cy Tax             Routed From Holden Craig OfRool11!1l04               20.79
  06-23-08       Room-Group                  Routed From Lyter Albert Of Room 11116               99.00
  06-23-08       Occupancy Tax               Routed From Lyter Albert Of Room 11116               10.89




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                                        #:325113




                                                                                      Arrival date;       05-14-08
  MGA Entertainment                                                                   Departure date:     08-29-08
  16300 Roscoe Boulevard                                                              No. in party:       DID
  Van Nuys, CA 91406                                                                  Room No.:           9001
                                                                                      Account No.:
                                                                                      BookingNo.:
                                                                                      Page No.:                 61 of 72

                                                                                       Invoice .:

   INFORMATION INVOICE                                                                                            08-06-08



  06-23-08       Room-Group                 Routed From Lopez Alex Of Room 11154               99.00
  06-23-08       Occupancy Tax              Routed From Lopez Alex Of Room 11154               10.89
  06-23-08       Room-Group                 Routed From Kennedy Raoul Of Room 11158           189.00
  06-23-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 11158            20.79
  06-23-08       Room-Group                 Routed From Roth Carl Of Room 11202               189.00
  06-23-08       Occupancy Tax              Rouled From Roth Carl Of Room 11202                20.79
  06-23-08       Room-Group                 Routed From Rogosa Diana Of Room 1f217             99.00
  06-23-08       Occupancy Tax              Routed From Rogosa Diana Of Room 11217             10.89
  06-23-08       Room-Group                 Routed From D'Avolio Lisa OrRoom #223              99.00
  06-23-08       Occupancy Tax              Routed From D'Avoho Lisa Of Room 11223             10.89
  06-23-08       Parking-Sclf Overnight     Routed From D'A yoho Lisa Of Room 11223             8.00
  06-23-08       Room-Group                 Routed From Turnipseed Alissa Of Room              99.00
                                           11230
  06-23-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room              10.89
                                           11230
  06-23-08       Room-Group                 Routed From Franco Max Of Room 11-231              99.00
  06-23-08       Occupancy Tax              Routed From Franco Max Of Roo111 #231              10.89
  06-23-08       Parking-Self Overnight     Routed From Franco Max Of Room 11231                5.00
  06-23-08       Room-Group                 Routed From Dozier Jason Of Room #240              99.00
  06-23-08       Occup,mcy Tax              Routed From Dozier Jason Of Room #240              10.89
  06-23-08       RooIn-Group                Routed From Proof Michacl Of Room 11249            99.00
  06-23-08       Occupancy Tax              Routed From ProofMichaci Of Room 11249             10.89
  06-23-08       Parking -Self Overnight    Routed From Proof Michael Of Room 11249             5.00
  06-23-08       Room-Group                 Routed Fron1 Mumford Marcus Of Room                99.00
                                           11255
  06-23-08       Occupancy Tax              Routed From Mumford Marcus Of Room                 10.89
                                           11255
  06-23-08       Room-Group                 Routed From Aguiar Laurcn Of Room 11286           189.00
  06-23-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286             20.79
  06-23-08       Room-Group                 Routed From Shorr Aaron Of Room #303               99.00
  06-23-08       Occupancy Tax              Routed From Shorr Aaron Of Room 11303              10.89
  06-23-08       Room-Group                 Routed From Lybrand Steve Of Room 11314            99.00




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                                        #:325114




                                                                                         An·ival datc:        05-t4-08
  MGA Entertainment                                                                      Departure datc:      08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:       0/0
  Van Nuys, CA 91406                                                                     Room No.:            9001
                                                                                         Account No.:
                                                                                         BookingNo.:
                                                                                         Page No.:               620[n

                                                                                          Invoice .:
   INFORMATION INVOICE                                                                                               08-06-08
                                                                                               Charg"~               Credits

  06-23-08       Occupancy Tax             Routed From Lybrand Steve Of Room 11314                10.89
  06-23-08       Room-Group                Routed From Hartlein Brianna Of Room #3 J 6            99.00
  06-23-08       Occupancy Tax             Routed From Hartlcin Brianna Of Room #316              10.89
  06-23-08       Room-Group                Routed From Rinker Greg Of Room 11317                  99.00
  06-23-08       Occupancy Tax             Routed From Rinker Greg Of Room 11317                  10.89
  06-23-08       Room-Group                ROllted From Harden Susan Of R00111 11345              99.00
  06-23-08       Occupancy Tax             Routed From Harden Susan Of Room #345                  10.89
  06-23-08       Room-Group                Routed From Herrington Rob Of Room 11346               99.00
  06-23-08       Occupancy Tax             Routed From Herrington Rob Of Room #346                10.89
  06-23-08       Room-Group                Routed From Sloan Matt Of Room 11347                   99.00
  06-23-08       Occupancy Tax             Routed From Sloan Matt Of Room #347                    10.89
  06-23-08       Room-Group                 Routed From Uslancr Jonathan Of Room                  99.00
                                           11349
  06-23-08       Occupancy Tax              Routed From Uslancr Jonathan Of Room                  10.89
                                           11349
  06-23-08       Room-Group                Routed From Isomoto Becky Of Room 11355                99.00
  06-23-08       Occupancy Tax             Routed From Isomoto Becky Of Room 11355                10.89
  06-23-08       Room-Group                Routed From Reyes Cecilia Of Room #357                 99.00
  06-23-08       Occupancy Tax             Routed From Reyes Cecilia Of Room 11357                10.89
  06-23-08       Room-Group                Routed From Lanstra Allen Of Room 11379                99.00
  06-23-08       Occupancy Tax             Routed From Lanstra Allen Of Room 11379                10.89
  06-23-08       Parking-Self Overnight    Routed From Lanstra Allen Of Room 11379                 5.00
  06-23-08       Room-Group                Routed From Nolan Tom Of Room #403                    350.00
  06-23-08       Occupancy Tax             Routed From Nolan Tom Of Room 11403                    38.50
  06-24-08       Banquet Invoice           39147                                               1,351.40
  06-24-08       Room-Group                Routed From Sloan Matt Of Room 11347                   99.00
  06-24-08       Occupancy Tax             Routed From Sloan Matt Of Room 11347                   10.89
  06-24-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room 11355                10.00
  06-24-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room 11355                10.00
  06-24-08       Parking-Valet Overnight   Routed From Reyes Cecilia Of Room 11357                10.00
  06-24-08       Parking-Valet Overnight   Routed From Herrington Rob Of Roo111 #346              10.00
  06-24-08       Parking-Valet Overnight   Routed From Harden Susan Of Room 11345                 10.00




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                                        #:325115




                                                                                          Arrival date:        05- t 4-08
  MGA Entertainment                                                                       Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                  No. in party:       0/0
  Van Nuys, CA 91406                                                                      Hoom No.:            900t
                                                                                          Account No.:
                                                                                           BooldngNo.:
                                                                                          Page No.:                630f72

                                                                                           Invoice .:
  INFORMATION INVOICE                                                                                                 08-06-08
                                                                                                                     c:redits ".
  06-24-08       Parking-Valet Overnight    Routed From Roth Carl Of Room 11202                    10.00
  06-24-08       Parking-Valet Overnight    Routed From Shurr Aaron Of Room 11303                  10.00
  06-24-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room 11403                    10.00
  06-24-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room 11379                10.00
  06-24-08       Parking- Valet Overnight   Routed From Uslancr Jonathan Of Rool1111349            10.00
  06-24-08       Parking-Valet Overnight    Routed From Lopez Alcx Of Room 11154                   10.00
  06-24-08       Room-Group                  Routed From Holden Craig Of Room 11104               189.00
  06-24-08       Occupancy Tax               Routed From Holden Craig Of Room 11104                20.79
  06-24-08       Room-Group                  Routed From Lopez Alex Of Room 11154                  99.00
  06-24-08       Occupancy Tax               Routed From Lopez Alex Of Room 11154                  10.89
  06-24-08       Room-Group                  Routed From Kennedy Raoul Of Room 11158              189.00
  06-24-08       Occupancy Tax               Routed From Kennedy Raoul Of Room 11158               20.79
  06-24-08       Room-Group                  Routed From Roth Carl Of Room 11202                  189.00
  06-24-08       Occupancy Tax               Routed From Roth Carl Of Room 11202                   20.79
  06-24-08       Room-Group                  Routed From Rogosa Diana Of Room #217                 99.00
  06-24-08       Occupancy Tax               Routed From Rogosa Diana Of Room 11217                10.89
  06-24-08       Room-Group                  Routed From D'Avolio Lisa Of Room 11223               99.00
  06-24-08       Occupancy Tax               Routed From D!Avolio Lisa Of Room #223                10.89
  06-24-08       Parking-Sci f Overnight     Routed From D'Avolio Lisa Of Room 11223                8.00
  06-24-08       Room-Group                  Routed From Turnipseed Alissa Of Room                 99.00
                                            11230
  06-24-08       Occupancy Tax               Routed Frol11 Turnipseed Alissa Of Room                10.89
                                            11230
  06-24-08       Room-Group                  Routed From Aguiar LlUren Of R00111 #286             189.00
  06-24-08       Occupancy Tax               Routed From Aguiar Lauren Of R00111 #286              20.79
  06-24-08       Room-Group                  Routed From Shorr Aaron Of Room 11303                 99.00
  06-24-08       Occupancy Tax               Routed From Shorr Aaron Of Room #303                  10.89
  06-24-08       Room-Group                  Routed From Lybrand Steve Of Room 11314               99.00
  06-24-08       Occupancy Tax               Routed From Lybrand Steve Of Room 11314               10.89
  06-24-08       Room-Group                  Routed From Hartlein Brianna Of Room #316             99.00
  06-24-08       Occupancy Tax               Routed From Hartlein Brianna Of Room #316             10.89
  06-24-08       Room-Group                  Routed From Rinker Greg Of Room 11317                 99.00




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                                        #:325116




                                                                                       Arrival date:       05-14-08
  MGA Entertainment                                                                    Departure datc:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:       0/0
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:                 64 of 72

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                              08-06-08
                                                                                                                 ·<Crc(!ils
  06-24-08       Occupancy Tax              Routed From Rinker Greg Of Room 11317               10.89
  06-24-08       Room-Group                 Routed From Harden Susan Of Room 11345              99,00
  06-24-08       Occupancy Tax              Routed From Harden Susan Of Room 11345              10,89
  06-24-08       Room-Group                 Routed From Herrington Rob Of Room 11346            99,00
  06-24-08       Occupancy Tax              Routed From Herrington Rob Of Room 11346            10,89
  06-24-08       Room·Group                 Routed From Uslaner Jonathan Of Room                99,00
                                           11349
  06-24·08       Occupancy Tax             Routed From Uslancr 10nathan Of Room                 10,89
                                           11349
  06-24·08       Room-Group                 Routed From Isomoto Becky Of Room #355              99,00
  06-24-08       Occupancy Tax              Routed From Isomoto Becky Of Room 11355             10,89
  06-24-08       Room-Group                 Routed From Reyes Cecilia Of Room 11357             99,00
  06·24·08       Occupancy Tax              Ruutcd From Reyes Cecilia Of Room 11357             10.89
  06-24·08       Room-Group                 Routed From Lanstra Allen Of Room 11379             99.00
  06-24-08       Occupancy Tax              Routed From Lanstra Allen Of Room 11379             10,89
  06-24-08       Parking-Sclf Overnight     Routed From Lanstra Allen Of Room 11379              5.00
  06-24-08       Room-Group                 Routed From Nolan Tom Of Room 11403                350,00
  06-24-08       Occupancy Tax              Routed From Nolan Tom Of Room 11403                 38,50
  06·25·08       Banquet Invoice           39148                                               842,82
  06-25-08       Mastercard                XXXXXXXXXXXX2048                 XX/XX                            -30,000,00
  06·25-08       American Express          XXXXXXXXXXX6006                  XX/XX                             30,000.00
  06·25-08       Room-Group                 Routed From Herrington Rob Of Room 11346            99,00
  06-25-08       Occupancy Tax              Routed From Herrington Rob Of Room #346             10,89
  06-25-08       Banquct Invoice           DlNNER39874                                         669.42
  06-25-08       Parking-Valet Ovcrnight   Routed From Lopez Alex Of Room 11154                 10,00
  06-25-08       Parking-Valet Ovcrnight   Routed From Harden Susan Of Room 11345               10,00
  06-25-08       Parking-Valet Overnight   Routed From Reyes Cecilia Of Room 11357              10.00
  06-25-08       Room-No Show              MGA Entertainment TBD 112 11I41~>MGA                 99,00
                                           Entertainment #900 I
  06-25-08       Room-Group                Routed From Lopez Alex Of Room 11154                 99.00
  06·25-08       Occupancy Tax             Routed From Lopez Alex Of Room 11154                 10,89
  06·25-08       Room-Group                Routed From Roth Carl Of Room 11202                 189,00




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                                                                                         Arrival date:        05-14-08
  MGA Entertainment                                                                      Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:       0/0
  Van Nuys, CA 91406                                                                     Room No.:            9001
                                                                                         Account No.:
                                                                                         BookingNo.:
                                                                                         Page No.:               650r72

                                                                                          Invoice .:
   INFORMATION INVOICE                                                                                              08-06-08
                                                                                                                   Credits

  06-25-08       OCCUPfH1CY Tax            Routed From Roth Carl Of Room 11202                    20.79
  06-25-08       Room-Group                Routed From Rogosa Diana Of Room 11217                 99.00
  06-25-08       Occupancy Tax             Routed From Rogos. Diana Of Room 11217                 10.89
  06-25-08       Room-Group                Routed From D'Avolio Lisa Of Room 11223                99.00
  06-25-08       Occupancy Tax             Routed From D'Avolio Lis. Of Room 11223                10.89
  06-25-08       Parking-Self Overnight    Routed From D'Avolio Lisa Of Room 11223                 8.00
  06-25-08       Room-Group                Routed From Turnipsced Alissa Of Room                  99.00
                                          11230
  06-25-08       Occupancy Tax             Routcd From Turnipseed Alissa Of Room                  10.89
                                          11230
  06-25-08       Room-Group                Routed From Aguiar Lauren Of Room #286                189.00
  06-25-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286                 20.79
  06-25-08       Room-Group                Routed From Shorr Aaron Of Room 11303                  99.00
  06-25-08       Occupancy Tax             Routcd From Shorr Aaron Of Room #303                   10.89
  06-25-08       Room-Group                Routed From Lybrand Steve Of Room 11314                99.00
  06-25-08       Occupancy Tax             Routed From Lybrand Steve Of Room #314                 10.89
  06-25-08       Room-Group                Routed From Hartlcin Brianna Of Room #316              99.00
  06-25-08       Occupancy Tax             Routed Fr0111 Hartlein Brianna Of Room #316            10.89
  06-25-08       Room-Group                Routed From Rinker Greg Of Room 11317                  99.00
  06-25-08       Occupancy Tax             Routed From Rinker Greg Of Room #317                   10.89
  06-25-08       Room-Group                Routed From Harden Susan Of Room 11345                 99.00
  06-25-08       Occupancy Tax             Routed From Harden Susan Of Room #-345                 10.89
  06-25-08       Room-Group                Routcd From Uslaner 10nathan Of Room                   99.00
                                          11349
  06-25-08       Occupancy Tax             Routed From Uslancr 10nathan Of Room                   10.89
                                          11349
  06-25-08       Room-Group               Routed From Isomoto Becky Of Room 1f355                 99.00
  06-25-08       Occupancy Tax            Routed Fromlsomoto Becky Of Room 11355                  10.89
  06-25-08       Room-Group               Routed From Reyes Cecilia Of Room 11357                 99.00
  06-25-08       Occupancy Tax            Routed From Reyes Cecilia Of Room 11357                 10.89
  06-25-08       Room-Group               Routed From Nolan Tom Of Room #403                     350.00
  06-25-08       Occupancy Tax            Routed From Nolan Tom Of Room 11403                     38.50




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                                                                                 Arrival date:       05-t4-08
  MGA Entertainment                                                              Departure date:     08-29-08
  16300 Roscoe Boulevard                                                         No. ill party:      0/0
  Van Nuys, CA 91406                                                             Hoom No.:            9001
                                                                                 Account No.:
                                                                                 BookingNo.:
                                                                                 Page No.:               660r72

                                                                                  Invoice .:
  INFORMATION INVOICE                                                                                        08-06-08



  06-26-08       Banquet Invoice   39149 MGA Entertainment Storage Room                  842.82
                                   11132~>MGA Entertainment #9001
  06-26-08       Room-Group        Routed From MGA Entertainment Storage                   99.00
                                   Room Of Room # 132
  06-26-08       Occupancy Tax     Routed From MGA Entertainment Storage                   10.89
                                   Room Of Room 11132
  06-26-08       Room-Group         Routed From Roth Carl Of Room 1/202                   189.00
  06-26-08       Occupancy Tax      Routed From Roth Carl Of Room 11202                    20.79
  06-26-08       Room-Group         Routed From Rogosa Diana Of Room 11217                 99.00
  06-26-08       Occupancy Tax      Routed From Rogosa Diana Of Room #217                  10.89
  06-26-08       Room-Group         Routed From Turnipseed Alissa Of Romn                  99.00
                                   11230
  06-26-08       Occupancy Tax      Routed From Turnipseed Alissa Of Room                  10.89
                                   11230
  06-26-08       Room-Group        Routed From Aguiar Lauren Of Room #286                189.00
  06-26-08       Occupancy Tax     Routed From Aguiar Lauren Of Room #286                 20.79
  06-26-08       Room-Group        Routed From Shorr Aaron Of Room 11303                  99.00
  06-26-08       Occupancy Tax     Routed From Shorr Aaron Of Room 11303                  10.89
  06-26-08       Room-Group        Routed From Lybrand Steve Of Room 11314                99.00
  06-26-08       Occupancy Tax     Routed From Lybrand Steve Of Room 11314                10.89
  06-26-08       Room-Group        Routed From Hartlein Brianna Of Room #3 J 6            99.00
  06-26-08       Occupancy Tax     Routed From Hartlein Brianna Of Room #316              10.89
  06-26-08       Room-Group        Routed From Rinker Greg Of Room #317                   99.00
  06-26-08       Occupancy Tax     Routed From Rinker Greg Of Room 11317                  10.89
  06-26-08       Room-Group        Rooted From Nolan Tom Of R00111 11403                 350.00
  06-26-08       Occupancy Tax     Rooted From Nolan Tom Of R00111 11403                  38.50
  06-27-08       Room-Group        Routed From MGA Entertainment Storage                  99.00
                                   Room Of R00111 11132
  06-27-08       Occupancy Tax     Routed From MGA Entertainment Storage                   10.89
                                   Room Of Room #132
  06-27-08       Room-Group        Routed From Roth Carl Of Room 11202                    189.00
  06-27-08       Occupancy Tax     Routed From Roth Carl Of Room 11202                     20.79
  06-27-08       Room-Group        Routed from Rogosa Diana Of Room #217                   99.00




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                                                                                   Arrival datc:       05- t4-08
  MGA Entertainment                                                                Departure date:     08-29-08
  16300 Roscoe Boulevard                                                           No. jn party;       010
  Van Nuys, CA 91406                                                               Room No.:            9001
                                                                                   Account No.:
                                                                                   BooldngNo.:
                                                                                   Page No.:               67   or 72
                                                                                    Invoice .:

  INFORMATION INVOICE                                                                                          08-06-08
  Date        J)e~cHpJipn                                                                Charges               Credits

  06-27-08       Occupancy Tax       Routed From Rogosa Diana Of Room li217                 10.89
  06-27-08       Room-Group          Routed From Turnipseed Alissa Of Room                  99.00
                                    11230
  06-27-08       Occupancy Tax       Routed From Turnipseed Alissa Of Room                  10.89
                                    11230
  06-27-08       Room-Group          Routed From Aguiar Lauren Of Room #286                189.00
  06-27-08       Occupancy Tax       Routed From Aguiar Lauren Of Room #286                 20.79
  06-27-08       Room-Group          Routed From Shorr Aaron Of Room 11303                  99.00
  06-27-08       Occupancy Tax       Routed From Shorr Aaron Of Room f/303                  10.89
  06-27-08       Room-Group          Routed From Lybrand Steve Of Room 11314                99.00
  06-27-08       Occupancy Tax       Routed From Lybrand Steve Of Room 11314                10.89
  06-27-08       Room-Group          Routed From Hartlcin Brianna Of Room 11-316            99.00
  06-27-08       Occupancy Tax       Routed From I-Iartlein Brianna Of Room #316            10.89
  06-27-08       Room-Group          Routed From Rinker Greg Of Room 11317                  99.00
  06-27-08       Occupancy Tax       Routed From Rinker Greg Of Room 11317                  10.89
  06-27-08       Room-Group          Routed From Nolan Tom Of Room li403                   350.00
  06-27-08       Occupancy Tax       Routed From Nolan Tom Of Room 11403                    38.50
  06-28-08       Banquct Invoice    39151 MGA Entertainment Storage Room                   725.00
                                    liI32~>MGA Entertainment 119001

  06-28-08       Room-Group         Routed From MGA Entertainment Storage                   99.00
                                    Room Of Room III 32
  06-28-08       Occupancy Tax      Routed From MGA Entertainment Storage                   10.89
                                    Room Of Room 11132
  06-28-08       Room-Group         Routed From Roth Carl Of Room 11202                    189.00
  06-28-08       Occupancy Tax      Routed From Roth Carl Of Room 11202                     20.79
  06-28-08       Room-Group         Routed From Rogosa Diana Of Room 11217                  99.00
  06-28-08       Occupancy Tax      Routed From Rogosa Diana Of Room It217                  10.89
  06-28-08       Room-Group         Routed From Turnipseed Alissa Of Room                   99.00
                                    li230
  06-28-08       Occupancy Tax       Routed From Turnipseed Alissa Of Room                  10.89
                                    11230
  06-28-08       Room-Group          Routed From Aguiar Lauren Of Room #286                189.00
  06-28-08       Occupancy Tax       Routed From Aguiar Lauren Of Room #286                 20.79




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                                                                                           Arrival date:        05· 14·08
  MGA Entertainment                                                                        Departure date:      08·29·08
  16300 Roscoe Boulevard                                                                   No. in party:       0/0
  Van Nuys, CA 91406                                                                       Room No.:            9001
                                                                                           Account No.:
                                                                                           BookingNo.:
                                                                                           Page No.:                680f72

                                                                                            Invoice .:
  INFORMATION INVOICE                                                                                                 08-06-08
                                                                                                                     CrCilits

  06-28-08       Room-Group                   Routed From Shorr Aaron Of Room #303                  99.00
  06-28-08       Occupancy Tax                Routed From Shorr Aaron Of Room #303                  10.89
  06-28-08       Room-Group                   Routed From Lybrand Steve Of Room #314                99.00
  06-28-08       Occupancy Tax                Routed From Lybrand Steve Of Room 11314               10.89
  06-28-08       Room-Group                   Routed From Hartlein Brianna Of Room 11316            99.00
  06-28-08       Occupancy Tax                Routed From Hartlein Brianna Of Room 11316            10.89
  06-28-08       Room-Group                   Routed From Rinker Greg Of Room 11317                 99.00
  06-28-08       Occupancy Tax                Routed From Rinker Greg Of Room #317                  10.89
  06-28-08       Room-Group                   Routed From Nolan Tom Of Room 11403                  350.00
  06-28-08       Occupancy T<lX               Routed From Nolan Tom Of Room 11403                   38.50
  06-29-08       Banquet Invoicc             39152                                                 725.00
  06-29-08       Parking-Valet Ovcrnight     Routed From Roth Carl Of Room 11202                    15.00
  06-29-08       Parking-Valet Overnight     Routed From Reyes Cecilia Of Room 11357                15.00
  06-29-08       Parking-Valet Overnight     Routed From Nolan Tom Of Room il403                    15.00
  06-29-08       Parking-Valet Overnight     Routed From Harden Susan Of Room #345                  15.00
  06-29-08       Parking-Valet Overnight     Routed From Isomoto Becky Of Room #355                 15.00
  06-29-08       Parking-Valet Ovc1'11ight   Routed From Lopez Alex Of Room 11154                   15.00
  06-29-08       Parking-Valet Overnight     Routed From Herriogton Rob Of Room 11221               15.00
  06-29-08       Parking-Valet Ovcrnight     Routed From Uslaner Jonathan Of Room 11349             15.00
  06-29-08       Room-No Show                Wcinsten Ryan fl.260=>MGA Entertainment                99.00
                                             119001
  06-29-08       Room-Group                   Routed From Fcirman Jordan Of Room #122               99.00
  06-29-08       Occupancy Tax                Routed From Feirman Jordan Of Room #122               10.89
  06-29-08       Room-Group                   Routed From MGA Entertainmcnt Storage                 99.00
                                             Room Of Room 11132
  06-29-08       Occupancy Tax                Routed From MGA Entertainment Storage                 10.89
                                             Room Of Room 11132
  06-29-08       Room-Group                   Routed From Franco Max Of Room it 151                 99.00
  06-29-08       Occupancy Tax                Routed From Franco Max Of Room it 151                 10.89
  06-29-08       Parking-Self Overnight       Routed From Franco Max Of Room if. 151                 5.00
  06-29-08       Room-Group                   Routed From Lopez Alex Of Room 11154                  99.00
  06-29-08       Occupancy Tax                Routed From Lopez Alex Of Room 11154                  10.89




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                                        #:325121




                                                                                 Arrival date:        05-14-08
  MGA Entcrtainment                                                              Departure date:     08-29-08
  16300 Roscoe Boulevard                                                         No. in party:       0/0
  Van Nuys, CA 91406                                                             Room No.:           900t
                                                                                 Account No.:
                                                                                 BookingNo.:
                                                                                 Page No.:                 69 of 72

                                                                                  Invoice .:
  INFORMATION INVOICE                                                                                        08-06-08
                                                                                                            Credits
  06-29-08       Room-Group       Routed From Roth Carl Of Room 11202                    189.00
  06-29-08       Occupancy Tax    Routed From Roth Carl Of Room 11202                     20.79
  06-29-08       Room-Group       Routed From Rogosa Diana Of Roo111 #217                 99.00
  06-29-08       Occupancy Tax    Routed From Rogosa Diana Of Room 11217                  10.89
  06-29-08       Room-Group       Routed From Herrington Rob Of Room 11221                99.00
  06-29-08       Occupancy Tax    ROllted From Herrington Rob Of Room 11221               10.89
  06-29-08       Room-Group       Routed From Turnipseed Alissa Of Room                   99.00
                                 11230
  06-29-08       Occupancy Tax    Routed From Turnipseed Alissa Of Room                   10.89
                                 11230
  06-29-08       Room-Group       Routed From Tonner Robert Of Room #274                  99.00
  06-29-08       Occupancy Tax    Routed From Tonner Robert Of Roo111 #274                10.89
  06-29-08       Room-Group       Routed From Aguiar Laurcn Of R00111 It286              189.00
  06-29-08       Occupancy Tax    Routed From Aguiar Lauren Of Room #286                  20.79
  06-29-08       Room-Group       Routed From Shorr Aaron Of Room 11303                   99.00
  06-29-08       Occupancy Tax    Routed From Shorr Aaron Of Room 11303                   10.89
  06-29-08       Room-Group       Routed From Lybrand Steve Of Room 11314                 99.00
  06-29-08       Occupancy Tax    Routed From Lybrand Steve Of Room 11314                 10.89
  06-29-08       Room-Group       Routed From I-Iartlein Brianna Of Room #3 I6            99.00
  06-29-08       Occupancy Tax    Routed From Hartlein Brianna Of Room #316               10.89
  06-29-08       Room-Group       Routed From Rinker Greg Of Room 11317                   99.00
  06-29-08       Occupancy Tax    Routed From Rinker Greg Of Room 11317                   10.89
  06-29-08       Room-Group       Routed From Harden Susan Of Room 11345                  99.00
  06-29-08       Occupancy Tax    Routed From Harden Susan Of Room 11345                  10.89
  06-29-08       Room-Group       Routed From Uslaner Jonathan Of Room                    99.00
                                 11349
  06-29-08       Occupancy Tax    Routed From Us1ancr Jonathan Of R00111                  10.89
                                 #349
  06-29-08       Room-Group       Routed From Isomoto Becky Of Room 11355                 99.00
  06-29-08       Occupancy Tax    Routed From Isomoto Becky Of Room #355                  10.89
  06-29-08       Room-Group       Routed From Reyes Cecilia Of Room 11357                 99.00
  06-29-08       Occupancy Tax    Routed From Reyes Cecilia Of Room 11357                 10.89




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                                         #:325122




                                                                                         Arrival date:        05-14-08
  MGA Entertainment                                                                      Departure date:     08-29-08
  16300 Roscoc Boulcvard                                                                 No. in party:       0/0
  Van Nuys, CA 91406                                                                     Room No.:            9001
                                                                                         Account No.:
                                                                                         BookingNo.:
                                                                                         Page No,;               700rn

                                                                                          Invoice .:

  INFORMATION INVOICE                                                                                                08-06-08
                                                                                                                     Credits

  06-29-08       Room-Group                  Routed From Nolan Tom Of Room #403                  350,00
  06-29-08       Occupancy Tax               Routed From Nolan Tom Of Room #403                   38,50
  06-30-08       Banquet Invoice            39153                                              1,351.40
  06-30-08       Comm-Long Distance         09:4600:07:00 lost Interface #9500->MGA                2,36
                                            Entertainment #9001
  06-30-08       Comm-Long Distance         09:4600:0 1:00 losllnlerfaee jI9500~>MGA               0,98
                                            Entertainment #900 I
  06-30-08       Banquet Invoice            39920                                                640,81
  06-30-08       Parking-Valet Overnight    Routcd From Nolan Tom Of Room 11403                   15,00
  06-30-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                 15,00
  06-30-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355                15,00
  06-30-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                  15,00
  06-30-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349             15,00
  06-30-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room 11154                  15,00
  06-30-08       Parking-Valet Overniglll   Routed From Holden Craig Of Room III 04               15,00
  06-30-08       Parking-Valet Overnight    Routed From Isomoto Bccky Of Rool11 11355             15,00
  06-30-08       Parking-Valet Overnight    Routed From Uslancr 10nathan Of Room 11349            15,(}O
  06-30-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #221               15,00
  06-30-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357                15,00
  06-30-08       Room-No Show               Mumford Marcus 11255~>MGA Entertainment               99,00
                                            119001
  06-30-08       Room-Group                 Routed From Holden Craig Of Room 11104               189,(}O
  06-30-08       Occupancy Tax              Routed From Holden Craig Of Rool11 11104              20,79
  06-30-08       Room-Group                 Routed From Feinnan Jordan Of Rool11 11122            99,00
  06-30-08       Occupancy Tax              Routed From Fcinnan Jordan Of Rool11 11122            10,89
  06-30-08       Room-Group                 Routed From MGA Entertainment Storage                 99,00
                                            Rool11 Of Room II 132
  06-30-08       Occupancy Tax              Routed From MGA Entertainment Storage                 10,89
                                            Rool11 Of Room 11132
  06-30-08       Room-Group                 Routed From Franco Max Of Room #151                   99,00
  06-30-08       Occupancy Tax              Routed From Franco Max Of Room #151                   10,89
  06-30-08       Parking-Self Overnight     Routed From Franco Max Of Room tt-151                  5,00




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                                        #:325123




                                                                               Arrival date:       05-t4-08
  MGA Entertaimncnt                                                            Departure datc:     08-29-08
  16300 Roscoe Boulevard                                                       No. in party:       010
  Van Nuys, CA 91406                                                           Room No.:            9001
                                                                               Account No.:
                                                                               BookingNo.:
                                                                               Page No,;               71 of 72

                                                                                Invoice .:
  INFORMATION INVOICE                                                                                      08-06-08
                                                                                                           Crc~it!

  06-30-08       Room-Group       Routed From Lopez Alex Of Room 11154                  99.00
  06-30-08       Occupancy Tax    Routed From Lopez Alex Of Room II 154                 10.89
  06-30-08       Room-Group       Routed From Roth Carl Of Room 11202                  IS9.00
  06-30-08       Occupancy Tax    Routed From Roth Carl Of Room 11202                   20.79
  06-30-08       Room-Group       Routed From Rogosa Diana Of Room #217                 99.00
  06-30-08       Occupancy Tax    Routed From Rogosa Diana Of Room 11217                10.89
  06-30-0S       Room-Group       Routed From Herrington Rob Of Room 11221              99.00
  06-30-0S       Occupancy Tax    Routed From Herrington Rob Of Room 11221              10.89
  06-30-0S       Room-Group       Routed From D'Avolio Lisa Of Room 11223               99.00
  06-30-0S       Occupancy Tax    Routed From D'Avolio Lisa Of Room 11223               10.89
  06-30-0S       Room-Group       Routed From Turnipseed Alissa Of Room                 99.00
                                 11230
  06-30-0S       Occupancy Tax    Routed From Turnipseed Alissa Of Room                 10.89
                                 11230
  06-30-0S       Room-Group       Routcd From Tonner Robert Of Room #274                99.00
  06-30-0S       Occupancy Tax    Routed From Tonner Robert Of Room /1-274              10.89
  06-30-0S       Room-Group       Routed From Aguiar Lauren Of Room 11286              189.00
  06-30-08       Occupancy Tax    Routed From Aguiar Lauren Of Room 11286               20.79
  06-30-08       Room-Group       Routed From Shorr Aaron Of Room 11303                 99.00
  06-30-0S       Occupancy Tax    Routed From Shorr Aaron Of Room 11303                 10.89
  06-30-08       Room-Group       Routed From Lybrand Steve Of Room #314                99.00
  06-30-08       Occupancy Tax    Routed From Lybrand Steve Of Room 11314               10.89
  06-30-08       Room-Group       Routed From Hartlcin Brianna Of Room 11316            99.00
  06-30-08       Occupancy Tax    Routed From Hartlein Brianna Of Room 11316            10.89
  06-30-08       Room-Group       Routed From Rinker Greg Of Room 113 17                99.00
  06-30-08       Occupancy Tax    Routed From Rinker Greg Of Room 11317                 10.89
  06-30-08       Room-Group       Routed From Harden Susan Of Room #345                 99.00
  06-30-08       Occupancy Tax    Routed From Harden Susan Of Room 11345                10.89
  06-30-08       Room-Group       Routed From Uslaner Jonathan Of Room                  99.00
                                 11349
  06-30-08       Occupancy Tax    Routed From Uslancr Jonathan Of Room                   10.89
                                 11349




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                              Exhibit 2 - Page 155
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 73 of 126 Page ID
                                         #:325124




                                                                                                                 Arrival date:        05·14·08
  MGA Entertainment                                                                                              Departure date:      08·29·08
  16300 Roscoe Boulevard                                                                                         No. in party:       010
  Van Nuys, CA 91406                                                                                             Room No.:            9001
                                                                                                                 Account No.:
                                                                                                                 BooldngNo.:
                                                                                                                 Page No.:               72 of72

                                                                                                                  Invoice .:
  INFORMATION INVOICE                                                                                                                      08-06-08



  06-30-08              Room-Group                                     Routed From Isomoto Becky Of Room 11355            99.00
  06-30-08              Occupancy Tax                                  Routed From Isomoto Becky Of Room #355             10.89
  06-30-08              Room-Group                                     Routed From Reyes Cecilia Of Room 11357            99.00
  06-30-08              Occupancy Tax                                  Routed From Reyes Cecilia Of Room 11357            10.89
  06-30-08              Room-Group                                     Routed From Nolan Tom Of Room 11403               350.00
  06-30-08              Occupancy Tax                                   Routed From Nolan Tom Of Room t/403               38.50
  06-30-08              Room Service                                   Holden Craig #-1 04=>MGA Entertainment             42.76
                                                                       119001




                                                                                 Total                              150,913.37         119,780.22

                                                                                 Balance                             31,133.15
     Cashier: 35


    I agree to be held personally liable in the event lhat
    the indicated person, company or association fails \0 pay all or
    parl of these charges.

    Signnturc _ _ _ _ _~




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 156
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 74 of 126 Page ID
                                         #:325125

                                                          Mission Inn                                                            Check#:    39,123
                                                 A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                  3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525               Printed: 8/6/2008
                                                   Estimated Banquet Check                                                   Arr: 511412008 Dep: 813012008

 Account:     MGA Entertainment                                                         Event Date:         6/1/2008
 Post As:    MGA Entertainment
 BEO Name:                                                                             Contact:             Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                    Phone:               (818) 221-4403
             Suite #150                                                                Fax:
             Van Nuys, CA 91406                                                        On-Site:




 Quantity Food                                                                                     Price                                     Amount]

             Coffee, Decaf & Tea                                                      50.00 Per person                                           50.00
        10   sodas                                                                    3.75 Per person                                            37.50

                                                                                                              Subtotal:                          87.50
                                                                                     Service Charge %:            18.00                          15.75
                                                                                                     Tax %:        7.75                           8.00
                                                                                                               Total:                          111.25


 Quantity Miscellaneous                                                                            Price                                     Amount      I
             Mini Fridge Rental                                                       10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                                    15.00 Day                                                  15.00

                                                                                                              Subtotal:                          25.00
                                                                                     Service Charge %:                000                         0.00
                                                                                                     Tax %:           000                         000
                                                                                                               Total:                            25.00



             Room Rental                                                                           Price                                     Amount      I
     Room:   Rotunda Conference Room A                       Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room E                       Function: OFFC                 100.00                                              100.00 :
     Room:   Rotunda Conference Room F                       Function: OFFC                 150.00                                              150.00

                                                                                                              Subtotal:                         700.00
                                                                                   Room Rental Tax %:                 7.75                       54.25

                                                                                                               Total:                          754.25


                                                                                                          Grand Total:                         890.50

                                                                                                         Balance Due:                          890.50




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                    Exhibit 2 - Page 157
      Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 75 of 126 Page ID
                                        #:325126

                                                      Mission Inn                                                            Check#:    39,585
                                             A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                              3649 Mission Inn Avenue· Riverside, CA 92501 • (9S1) 784-0300· Fax (951) 784-5525               Printed: 8/6/2008
                                               Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/1/2008
 Post As:    MGA Entertainment
 BEO Name:                                                                          Contact:            Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
                                                                                    Fax:
             Suite #150
             Van Nuys, CA 91406                                                    On-Site:




 Quantity Food                                                                                 Price                                     Amount      I
       20    CHEF'S SELECTION DINNER BUFFET                                       28.00 Per person                                         560.00

                                                                                                          Subtotal:                         560.00
                                                                                 Service Charge %:            18.00                        100.80
                                                                                            Tax %:             7.75                         51.21
                                                                                                           Total:                          71201



             Room Rental                                                                       Price                                     Amount I
     Room:   San Diego West                              Function: DIN

                                                                                                          Subtotal:                           0.00
                                                                               Room Rental Tax %:                 7.75                        0.00

                                                                                                           Total:                             0.00


                                                                                                      Grand Total:                         712.01

                                                                                                     Balance Due:                          712.01




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 158
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 76 of 126 Page ID
                                         #:325127

                                                       Mission Inn                                                           Check#:    39,124
                                              A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                               3649 Mission Inn Avenue· Riverside, CA 92501· (951) 784·0300· Fax (951) 784-5525                Printed: 8/6/2008
                                                Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/2/2008
 Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
             Suite #150                                                             Fax:
             Van Nuys, CA 91406                                                     On-Site:




 Quantity Beverage                                                                             Price                                      Amount I

        18   assorted soft drinks                                                 3.75                                                       67.50
         2   Gallons of regular coffee                                            50.00                                                     100.00

                                                                                                          Subtotal:                         167.50
                                                                                 Service Charge %:            18.00                          30.15
                                                                                                 Tax%:         7.75                          15.32
                                                                                                           Total:                          212.97

 . Quantity Miscellaneous                                                                      Price                                     Amount I
             Mini Fridge Rental                                                   10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                                15.00 Day                                                  15.00

                                                                                                          Subtotal:                          25.00
                                                                                 Service Charge %:                0.00                        000
                                                                                                 Tax %:           0.00                        000
                                                                                                           Total:                            25.00



             Room Rental                                                                       Price                                      Amount I
                                                                                                                                                     I
     Room:   Rotunda Conference Room E                   Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room F                   Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room A                   Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room B                   Function: OFFC                  100.00                                             100.00 .
     Room:   Rotunda Conference Room C                   Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room D                   Function: OFFC                  100.00                                             100.00

                                                                                                          Subtotal:                         700.00
                                                                                Room Rental Tax %:                7.75                       54.25

                                                                                                           Total:                          754.25


                                                                                                      Grand Total:                         992.22

                                                                                                     Balance Due:                          992.22




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 159
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 77 of 126 Page ID
                                         #:325128

                                                       Mission Inn                                                           Check#:    39,558
                                              A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                               3649 Mission Inn Avenue· Riverside, CA 92501' (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

 Account:        MGA Entertainment                                                  Event Date:         6/2/2008
 Post As:       MGA Entertainment
                                                                                    Contact:            Mr. Craiq Holden
 BED Name:      MGA Entertain ment
 Address:       16300 Roscoe Boulevard                                              Phone:              (818) 221-4403
                                                                                    Fax:
                Suite #150
                Van Nuys, CA 91406                                                  On-Site:




 Quantity Food                                                                                 Price                                      Amount

        28      MISSION INN BOXED LUNCHES                                         20.00 Per person                                          560.00
            2   Large CALIFORNIA GREEN SALADS - TO GO                             20.00 Each                                                 40.00
                (2) Dressings on the Side

                                                                                                          Subtotal:                         600.00
                                                                                 Service Charge %:            18.00                         108.00
                                                                                            Tax %:                7.75                       54.87
                                                                                                           Total:                          762.87



                Room Rental                                                                    Price                                      Amount     I
      Room:     Rotunda Conference Room F                Function: LUN

                                                                                                          Subtotal:                           000
                                                                                Room Rental Tax %:                7.75                        000

                                                                                                           Total:                             000


                                                                                                      Grand Total:                         762.87

                                                                                                     Balance Due:                          762.87




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                                         #:325129

                                                       Mission Inn                                                            Check#:    39,565
                                              A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                               3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784·0300· Fax (951) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                      Event Date:         6/2/2008
 Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
             Suite #150                                                              Fax:
             Van Nuys, CA 91406                                                      On-Site:




 Quantity Food                                                                                  Price                                      Amount     I
        24   CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                         672.00

                                                                                                           Subtotal:                         672.00
                                                                                  Service Charge %:            18.00                        120.96
                                                                                                  Tax %:        7.75                         61.45
                                                                                                            Total:                          854.41


 Quantity Beverage                                                                              Price                                      Amount     I
        13   Assorted Soft and Diet Soft Drinks                                    3.75 Each                                                  48.75
             Charged on Consumption

                                                                                                           Subtotal:                          48.75
                                                                                  Service Charge %:            18.00                           8.78
                                                                                                  Tax%:         7.75                           4.46
                                                                                                            Total:                            61.99



             Room Rental                                                                        Price                                      Amount     I
     Room:   San Diego West                               Function: DIN

                                                                                                           Subtotal:                           0.00
                                                                                Room Rental Tax %:                 7.75                        0.00

                                                                                                            Total:                             0.00


                                                                                                       Grand Total:                         916.40

                                                                                                      Balance Due:                          916.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 2 - Page 161
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                                         #:325130

                                                     Mission Inn                                                           Check#:    39,125
                                            A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                             3649 Mission Inn Avenue· Riverside, CA 92501' {9S1} 784-0300' Fax (951) 784-5525                Printed: S/6/200S
                                              Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                   Event Date:         6/3/200S
 Post As:    MGA Entertainment
 BEO Name:                                                                        Contact:            Mr. Crai~ Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:              (81S) 221-4403
                                                                                  Fax:
             Suite #150
             Van Nuys, CA 91406                                                   On-Site:




 Quantity Beverage                                                                           Price                                     Amount I
         2   Gal of coffee                                                      50.00                                                     100.00
        22   Soft Drinks                                                        3.75                                                       S2.50

                                                                                                        Subtotal:                         182.50
                                                                               Service Charge %:            18.00                          32.S5
                                                                                               Tax%:         7.75                          16.69
                                                                                                         Total:                          232.04


 Quantity Miscellaneous                                                                      Price                                     Amountl
             Mini Fridge Rental                                                 10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                              15.00 Day                                                  15.00

                                                                                                        Subtotal:                          25.00
                                                                               Service Charge %:                0.00                        000
                                                                                               Tax%:            0.00                        000
                                                                                                         Total:                            25.00



             Room Rental                                                                     Price                                     Amount I
     Room:   Rotunda Conference Room E                 Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room F                 Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room A                 Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room B                 Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room C                 Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room D                 Function: OFFC                  100.00                                             10000

                                                                                                        Subtotal:                         700.00
                                                                             Room Rental Tax %:                 7.75                       54.25

                                                                                                         Total:                          754.25


                                                                                                    Grand Total:                       1,011.29

                                                                                                   Balance Due:                        1.011.29




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 2 - Page 162
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                                        #:325131

                                                    Mission Inn                                                            Check#:    39,559
                                           A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                            3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525               Printed: 81612008
                                             Estimated Banquet Check                                                   Arr: 511412008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                   Event Date:         61312008
 Post As:    MGA Entertainment
                                                                                  Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:              (818) 221-4403
             Suite #150                                                           Fax:
             Van Nuys, CA 91406                                                   On-Site:




 Quantity Food                                                                               Price                                     Amount]

       12    MISSION INN BOXED LUNCHES                                          20.00 Per person                                         240.00

                                                                                                        Subtotal:                         240.00
                                                                               Service Charge %:            18.00                         43.20
                                                                                               Tax%:         7.75                         21.95
                                                                                                         Total:                          305.15



             Room Rental                                                                     Price                                     Amount]
     Room:   Rotunda Conference Room F                 Function: LUN

                                                                                                        Subtotal:                           0.00
                                                                             Room Rental Tax %:                 7.75                        0.00

                                                                                                         Total:                             0.00


                                                                                                    Grand Total:                         305.15

                                                                                                   Balance Due:                          305.15




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 2 - Page 163
          Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 81 of 126 Page ID
                                            #:325132

                                                           Mission Inn                                                            Check#:    39,566
                                                  A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                                   3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525               Printed: 81612008
                                                    Estimated Banquet Check                                                   Arr: 5/14/2008 Oep: 8/30/2008

    Account:      MGA Entertainment                                                      Event Date:         6/3/2008
    Post As:     MGA Entertainment
                                                                                         Contact:            Mr. Craiq Holden
    BEO Name:    MGA Entertainment
                 16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
    Address:
                                                                                         Fax:
                 Suite #150
                 Van Nuys, CA 91406                                                      On-Site:




1   Quantity Food                                                                                   Price                                     Amount
           24    CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                         672.00

                                                                                                               Subtotal:                         672.00
                                                                                      Service Charge %:            18.00                        120.96
                                                                                                      Tax %:        7.75                         6145
                                                                                                                Total:                          85441


    Quantity Beverage                                                                               Price                                      Amount I
           11    Assorted Soft and Diet Soft Drinks                                    3.75 Each                                                  41.25
                 Charged on Consumption

                                                                                                               Subtotal:                          41.25
                                                                                      Service Charge %:            18.00                           743
                                                                                                      Tax %:        7.75                           3.77
                                                                                                                Total:                            52.45



                 Room Rental                                                                        Price                                     Amount I
         Room:   San Gabriel                                  Function: DIN

                                                                                                               Subtotal:                           0.00
                                                                                    Room Rental Tax %:                 7.75                        0.00

                                                                                                                Total:                             000


                                                                                                           Grand Total:                         906.86

                                                                                                          Balance Due:                          906.86




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                                         #:325133

                                                          Mission Inn                                                           Check#:    39,126
                                                 A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                  3649 Mission Inn Avenue' Riverside, CA 92501· (951) 784-0300. Fax (951) 784-5525               Printed: B/6/200B
                                                   Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                        Event Date:         6/4/200B
 Post As:    MGA Entertainment
                                                                                       Contact:            Mr. Craiq Holden
 SEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                    Phone:              (B1B) 221-4403
             Suite #150
                                                                                       Fax:
             Van Nuys, CA 91406                                                        On-Site:




 • Quantity Food                                                                                  Price                                     AmountJ

             coffee, tea & decaf                                                     100.00 Per person                                         100.00
        1B   sodas                                                                   3.75 Per person                                            67.50

                                                                                                             Subtotal:                         167.50
                                                                                    Service Charge %:           1B.00                           30.15
                                                                                                    Tax %:           7.75                       15.32

                                                                                                              Total:                          212.97


 Quantity Miscellaneous                                                                           Price                                     AmountJ

             Mini Fridge Rental                                                      10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                                   15.00 Day                                                  15.00

                                                                                                             Subtotal:                          25.00
                                                                                    Service Charge %:                0.00                        0.00
                                                                                                    Tax %:           000                         000

                                                                                                              Total:                           25.00



             Room Rental                                                                          Price                                     Amount      J




     Room:   Rotunda Conference Room F                      Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room E                      Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room A                      Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                      Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                      Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                      Function: OFFC                 100.00                                              100.00

                                                                                                             Subtotal:                        700.00
                                                                                  Room Rental Tax %:                 7.75                       54.25

                                                                                                              Tolal:                          754.25


                                                                                                         Grand Total:                         992.22

                                                                                                        Balance Due:                          992.22




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                   Exhibit 2 - Page 165
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                                         #:325134

                                                    Mission Inn                                                     Check#:    39,560
                                           A National Historic Landmark Hotel & Spa                                   Page: 1 of 1
                            3649 Mission Inn Avenue· Riverside. CA 92501· (951) 784-0300· Fax (951) 784-5525         Printed: 8/6/2008
                                             Estimated Banquet Check                                            Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                  Event Date:         6/4/2008
 Post As:    MGA Entertainment
                                                                                 Contact:            Mr. Craiq Holden
 BED Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                              Phone:              (818) 221-4403
                                                                                 Fax:
             Suite #150
             Van Nuys, CA 91406                                                  On-Site:




 Quantity Food
        28   MISSION INN BOXED LUNCHES




             Room Rental
     Room:   Rotunda Conference Room F




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 2 - Page 166
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 84 of 126 Page ID
                                         #:325135

                                                       Mission Inn                                                           Check#:    39,567
                                             A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                               3649 Mission Inn Avenue· Riverside, CA 92501· (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                  Arr: 5/14/2008 Oep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/4/2008
 Post As:    MGA Entertainment
 BEO Name:                                                                          Contact:            Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
             Suite #150                                                             Fax:
             Van Nuys, CA 91406                                                     On-Site:




 : Quantity Food                                                                               Price                                     Amount      I
        24   CHEF'S SELECTION DINNER BUFFET                                       28.00 Per person                                         672.00

                                                                                                          Subtotal:                         672.00
                                                                                 Service Charge %:            18.00                        120.96
                                                                                                 Tax %:        7.75                         6145
                                                                                                           Total:                          85441


 Quantity Beverage                                                                             Price                                     Amount      I
        10   Assorted Soft and Diet Soft Drinks                                   3.75 Each                                                  37.50
             Charged on Consumption

                                                                                                          Subtotal:                          37.50
                                                                                 Service Charge %:            18.00                           6.75
                                                                                                 Tax%:         7.75                           343
                                                                                                           Total:                            47.68



             Room Rental                                                                       Price                                     Amountl
     Room:   San Gabriel                                 Function: DIN

                                                                                                          Subtotal:                           0.00
                                                                               Room Rental Tax %:                 7.75                        000

                                                                                                           Total:                             000


                                                                                                      Grand Total:                         902.09

                                                                                                     Balance Due:                          902.09




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       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 85 of 126 Page ID
                                         #:325136

                                                          Mission Inn                                                            Check#:    39,127
                                                 A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                                  3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300· Fax (951) 784·5525               Printed: 8/6/2008

                                                   Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008


 Account:     MGA Entertainment                                                         Event Date:         6/5/2008
 Post As:    MGA Entertainment
                                                                                        Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
             16300 Roscoe Boulevard                                                     Phone:              (818) 221-4403
 Address:
                                                                                        Fax:
             Suite #150
             Van Nuys, CA 91406                                                         On-Site:




 : Quantity Food                                                                                   Price                                     Amount J

             Coffee, Tea & Decaf                                                      100.00 Per person                                         100.00
        24   Sodas                                                                    3.75 Per person                                            90.00

                                                                                                              Subtotal:                         190.00
                                                                                     Service Charge %:            18.00                          34.20
                                                                                                     Tax%:         7.75                          17.38

                                                                                                               Total:                          241.58


 Quantity Miscellaneous                                                                            Price                                     AmountJ

             Mini Fridge Rental                                                       10.00 Day                                                  1000
             Phone Line with PolyCom Phone - RCR A                                    15.00 Day                                                  15.00

                                                                                                              Subtotal:                          25.00
                                                                                     Service Charge %:                0.00                        000
                                                                                                     Tax %:           0.00                        0.00

                                                                                                               Total:                            25.00



             Room Rental                                                                           Price                                    . Amount     I
     Room:   Rotunda Conference Room A                       Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room C                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room E                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                       Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                       Function: OFFC                 100.00                                              100.00

                                                                                                              Subtotal:                         700.00
                                                                                   Room Rental Tax %:                 7.75                       54.25

                                                                                                               Total:                          754.25


                                                                                                          Grand Total:                       1,020.83

                                                                                                         Balance Due:                        1,020.83




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                    Exhibit 2 - Page 168
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 86 of 126 Page ID
                                         #:325137

                                                    Mission Inn                                                            Check#:    39,561
                                           A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                            3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                             Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                   Event Date:         6/5/2008
 Post As:    MGA Entertainment
 BED Name:                                                                        Contact:            Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:              (818) 221-4403
                                                                                  Fax:
             Suite #150
             Van Nuys, CA 91406                                                  On-Site:




 Quantity Food                                                                               Price                                     Amount I
        28   MISSION INN BOXED LUNCHES                                          20.00 Per person                                         560.00

                                                                                                        Subtotal:                         560.00
                                                                               Service Charge %:            18.00                        100.80
                                                                                               Tax%:         7.75                         51.21
                                                                                                         Total:                          71201



             Room Rental                                                                     Price                                     Amountl
     Room:   Rotunda Conference Room F                 Function: LUN
                                                                                                        Subtotal:                           000
                                                                             Room Rental Tax %:                 7.75                        000

                                                                                                         Total:                             000


                                                                                                    Grand Total:                         712.01

                                                                                                   Balance Due:                          712.01




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 2 - Page 169
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 87 of 126 Page ID
                                         #:325138

                                                       Mission Inn                                                            Check#:    39,568
                                              A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                               3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                   Arr: 5/14/2008 Oep: 8/30/2008

 Account:     MGA Entertainment                                                      Event Date:         6/5/2008
 Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                     Fax:
             Suite #150
             Van Nuys, CA 91406                                                      On·Site:




 Quantity Food                                                                                  Price                                     Amount I
        24   CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                         672.00

                                                                                                           Subtotal:                         672.00
                                                                                  Service Charge %:            18.00                        120.96
                                                                                                  Tax %:        7.75                         61.45
                                                                                                            Total:                          854.41


: Quantity   Bevera~e                                                                           Price                                     Amountl
        13   Assorted Soft and Diet Soft Drinks                                    3.75 Each                                                  48.75
             Charged on Consumption

                                                                                                           Subtotal:                          48.75
                                                                                  Service Charge %:            18.00                           8.78
                                                                                                  Tax%:         7.75                           4.46
                                                                                                            Total:                           61.99


                                                                                                                                                      I
             Room Rental                                                                        Price                                     Amount I
     Room:   San Gabriel                                  Function: DIN

                                                                                                           Subtotal:                           000
                                                                                Room Rental Tax %:                 7.75                        0.00

                                                                                                            Total:                             000


                                                                                                       Grand Total:                         916.40

                                                                                                      Balance Due:                          916.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 2 - Page 170
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 88 of 126 Page ID
                                         #:325139

                                                             Mission Inn                                                            Check#:    39,128
                                                    A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                     3649 Mission Inn Avenue. Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525               Printed: 8/6/2008
                                                      Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:        MGA Entertainment                                                         Event Date:         6/6/2008
 Post As:       MGA Entertainment
                                                                                           Contact:            Mr. Craiq Holden
 BEO Name:      MGA Entertainment
 Address:       16300 Roscoe Boulevard                                                     Phone:              (818) 221-4403
                                                                                           Fax:
                Suite #150
                Van Nuys, CA 91406                                                         On-Site:




 Quantity Food                                                                                        Price                                     Amount I
            1   Coffee, Tea, Decaf                                                       100.00 Per person                                         100.00
        20      Sodas                                                                    3.75 Per person                                            75.00

                                                                                                                 Subtotal:                         175.00
                                                                                        Service Charge %:            18.00                          31.50
                                                                                                        Tax %:        7.75                          16.00
                                                                                                                  Total:                          222.50


. Quantity Miscellaneous                                                                              Price                                     Amount I
                Mini Fridge Rental                                                       10.00 Day                                                  10.00
                Phone Line with PolyCom Phone - RCR A                                    15.00 Day                                                  15.00

                                                                                                                 Subtotal:                          25.00
                                                                                        Service Charge %:                0.00                        0.00
                                                                                                        Tax %:           0.00                        0.00
                                                                                                                  Total:                            25.00



                Room Rental                                                                           Price                                     Amount I
     Room:      Rotunda Conference Room E                       Function: OFFC                 100.00                                              100.00
     Room:      Rotunda Conference Room F                       Function: OFFC                 150.00                                              150.00
     Room:      Rotunda Conference Room C                       Function: OFFC                 100.00                                              100.00
     Room:      Rotunda Conference Room D                       Function: OFFC                 100.00                                              100.00
     Room:      Rotunda Conference Room A                       Function: OFFC                 150.00                                              150.00
     Room:      Rotunda Conference Room B                       Function: OFFC                 100.00                                              100.00

                                                                                                                 Subtotal:                         700.00
                                                                                      Room Rental Tax %:                 7.75                       54.25

                                                                                                                  Tolal:                          754.25


                                                                                                             Grand Total:                       1,001.75

                                                                                                            Balance Due:                        1,001.75




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                       Exhibit 2 - Page 171
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                                        #:325140

                                                    Mission Inn                                                            Check#:    39,564
                                           A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                            3649 Mission Inn Avenue· RIVerside. CA 92501 • (9S1) 784-0300' Fax (951) 784·5525               Printed: 8/6/2008
                                             Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                   Event Date:         6/6/2008
 Post As:    MGA Entertainment
 BED Name:                                                                       Contact:             Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                              Phone:               (818) 221-4403
             Suite #150                                                          Fax:
             Van Nuys, CA 91406                                                  On-Site:




 'Quantity Food                                                                              Price                                     AmountJ
       23    MISSION INN BOXED LUNCHES                                          20.00 Per person                                         460.00

                                                                                                        Subtotal:                         460.00
                                                                               Service Charge %:            18.00                          82.80
                                                                                               Tax %:        7.75                          42.07
                                                                                                         Total:                          584.87



             Room Rental                                                                     Price                                     Amount I
     Room:   Rotunda Conference Room F                 Function: LUN

                                                                                                        Subtotal:                           000
                                                                             Room Rental Tax %:                 7.75                        000

                                                                                                         Total:                             000


                                                                                                    Grand Total:                         584.87

                                                                                                   Balance Due:                          584.87




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 2 - Page 172
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 90 of 126 Page ID
                                         #:325141

                                                      Mission Inn                                                            Check#:    39,129
                                             A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                              3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525               Printed: 8/6/2008
                                               Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:      MGA Entertainment                                                    Event Date:         6/7/2008
 Post As:     MGA Entertainment
                                                                                    Contact:            Mr. Craiq Holden
 BEO Name:    MGA Entertainment
 Address:     16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
                                                                                    Fax:
              Suite #150
              Van Nuys, CA 91406                                                    On-Site:




 QUilntity Miscellaneous                                                                       Price                                     Amount I

              Mini Fridge Rental                                                  10.00 Day                                                  10.00
              Phone Line with PolyCom Phone - RCR A                               15.00 Day                                                  15.00

                                                                                                          Subtotal:                          25.00
                                                                                 Service Charge %:                0.00                        0.00
                                                                                                 Tax %:           000                         000
                                                                                                           Total:                            25.00



              Room Rental                                                                      Price                                      Amount I

      Room:   Rotunda Conference Room A                  Function: OFFC                 150.00                                              150.00
      Room:   Rotunda Conference Room B                  Function: OFFC                 100.00                                              100.00
      Room:   Rotunda Conference Room C                  Function: OFFC                 100.00                                              100.00
      Room:   Rotunda Conference Room D                  Function: OFFC                 100.00                                              100.00
      Room:   Rotunda Conference Room E                  Function: OFFC                 100.00                                              100.00
      Room:   Rotunda Conference Room F                  Function: OFFC                 150.00                                              150.00

                                                                                                          Subtotal:                         700.00
                                                                               Room Rental Tax %:                 7.75                       54.25

                                                                                                           Total:                          754.25


                                                                                                      Grand Total:                         779.25

                                                                                                     Balance Due:                          779.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 173
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 91 of 126 Page ID
                                         #:325142

                                                      Mission Inn                                                            Check#:    39,131
                                             A National Historic Landmark Hotel & Spa                                            Page: 1 of 1
                              3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525                Printed: 8/6/2008
                                               Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/8/2008
 Post As:    MGA Entertainment
                                                                                   Contact:             Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                Phone:               (818) 221-4403
                                                                                    Fax:
             Suite #150
             Van Nuys, CA 91406                                                    On·Site:




 ; Quantity Food                                                                               Price                                      Amount I
             coffee, tea & decaf                                                  100.00 Per person                                         100.00
        10   Sodas                                                                3.75 Per person                                            37.50

                                                                                                          Subtotal:                         137.50
                                                                                 Service Charge %:            18.00                          24.75
                                                                                                 Tax%:         7.75                          12.57
                                                                                                           Total:                          174.82


 Quantity Miscellaneous                                                                        Price                                      Amount I
             Mini Fridge Rental                                                   10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                                15.00 Day                                                  15.00

                                                                                                          Subtotal:                          25.00
                                                                                 Service Charge %:                000                         0.00
                                                                                                 Tax %:           0.00                        0.00
                                                                                                           Total:                            25.00



             Room Rental                                                                       Price                                      Amount I
     Room:   Rotunda Conference Room A                   Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                   Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                   Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                   Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                   Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room E                   Function: OFFC                 100.00                                              100.00

                                                                                                          Subtotal:                         700.00
                                                                               Room Rental Tax %:                 7.75                       54.25

                                                                                                           Total:                          754.25


                                                                                                      Grand Total:                         954.07

                                                                                                     Balance Due:                          954.07




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 174
      Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 92 of 126 Page ID
                                        #:325143

                                                       Mission Inn                                                           Check#:    39,679
                                             A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                               3649 Mission Inn Avenue' Riverside. CA 92501' (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                  Arr: 5/14/2008 Oep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/8/2008
 Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craiq Holden
 BED Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
             Suite #150                                                             Fax:
             Van Nuys, CA 91406                                                     On-Site:




 : Qual1tily Food                                                                              Price                                      Amount     I
        18   CHEF'S SELECTION DINNER BUFFET                                       28.00 Per person                                          504.00

                                                                                                          Subtotal:                         504.00
                                                                                 Service Charge %:            18.00                          90.72
                                                                                            Tax %:             7.75                          4609
                                                                                                           Total:                          640.81


 : Quantity Beverage                                                                           Price                                      Amount I
        8    Assorted Soft and Diet Soft Drinks                                   3.75 Each                                                  30.00
             Charged on Consumption
                                                                                              ... ······Subtotal:                            30.00
                                                                                 Service Charge %:            18.00                           5.40
                                                                                            Tax %:             7.75                           2.74
                                                                                                           Total:                            38.14



             Room Rental                                                                       Price                                      Amount     I
     Room:   Ho-O-Kan                                    Function: DIN

                                                                                                          Subtotal:                           000
                                                                               Room Rental Tax %:                 7.75                        0.00

                                                                                                           Total:                             0.00


                                                                                                      Grand Total:                         678.95

                                                                                                     Balance Due:                          678.95




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 175
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 93 of 126 Page ID
                                         #:325144

                                                     Mission Inn                                                            Check#:    39,132
                                            A National Historic Landmark Hotel & Spa                                            Page: 1 of 1
                             3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300' Fax (951) 784-5525                Printed: 8/6/2008
                                              Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                    Event Date:         6/9/2008
 Post As:    MGA Entertainment
                                                                                  Contact:             Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:               (818) 221-4403
             Suite #150                                                           Fax:
             Van Nuys, CA 91406                                                   On-Site:




 Quantity Food                                                                                Price                                     AmountJ

         2   ASSORTED BOXED LUNCHES                                              20.00 Lunch                                                40.00
         2   Gal of Coffee                                                       50.00 Each                                                100.00
        22   Sodas                                                               3.75 Each                                                  82.50

                                                                                                         Subtotal:                         222.50
                                                                                Service Charge %:            18.00                          40.05
                                                                                                Tax %:        7.75                          20.35
                                                                                                          Total:                          282.90


, Quantity Miscellaneous                                                                      Price                                      Amount I

             Mini Fridge Rental                                                  1000 Day                                                   10.00
             Phone Line with PolyCom Phone - RCR A                               15.00 Day                                                  15.00

                                                                                                         Subtotal:                          25.00
                                                                                Service Charge %:                0.00                        0.00
                                                                                                Tax%:            0.00                        0.00
                                                                                                          Total:                            25.00



             Room Rental                                                                      Price                                     Amount I
     Room:   Rotunda Conference Room A                  Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                  Function: LUN
     Room:   Rotunda Conference Room E                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                  Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room D                  Function: OFFC                 100.00                                              100.00 .

                                                                                                         Subtotal:                         700.00
                                                                              Room Rental Tax %:                 7.75                       54.25

                                                                                                          Total:                          754.25


                                                                                                     Grand Total:                       1,062,15

                                                                                                    Balance Due:                        1,062.15




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 2 - Page 176
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 94 of 126 Page ID
                                         #:325145

                                                       Mission Inn                                                           Check#:    39,670
                                              A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                               3649 Mission Inn Avenue' Riverside, CA 92501' (951) 784-0300' Fax (9S1) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/9/2008
 PastAs:     MGA Entertainment
 BEO Name:                                                                          Contact:            Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
                                                                                    Fax:
             Suite #150
             Van Nuys, CA 91406                                                     On-Site:




!Quantity Food                                                                                 Price                                     Amount      I
        24   CHEF'S SELECTION DINNER BUFFET                                       28.00 Per person                                         672.00

                                                                                                          Subtotal:                         672.00
                                                                                 Service Charge %:            18.00                        120.96
                                                                                                 Tax %:        7.75                         6145
                                                                                                           Total:                          85441

 Quantity Beverage                                                                             Price                                      Amount I
        13   Assorted Soft and Diet Soft Drinks                                   3.75 Each                                                  48.75
             Charged on Consumption

                                                                                                          Subtotal:                          48.75
                                                                                 Service Charge %:            18.00                           8.78
                                                                                                 Tax%:         7.75                           446
                                                                                                           Total:                            61.99



             Room Rental                                                                       Price                                      Amount I
     Room:   Ho-O-Kan                                    Function: DIN

                                                                                                          Subtotal:                           000
                                                                                Room Rental Tax %:                7.75                        0.00
                                                                                                           Total:                             000

                                                                                                      Grand Total:                         916.40

                                                                                                     Balance Due:                          916.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 177
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 95 of 126 Page ID
                                         #:325146

                                                       Mission Inn                                                        Check#:    39,133
                                              A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                               3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525            Printed: 8/6/2008
                                                Estimated Banquet Check                                               Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                      Event Date:         6/10/2008
 PastAs:     MGA Entertainment
 BEO Name:                                                                           Contact:            Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
             Suite #150                                                              Fax:
             Van Nuys, CA 91406                                                      On-Site:




 Quantity Food                                                                                  Price                                 Amount      I
             Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                          50.00
             Specialty Teas - 7:00AM
        23   Boxed lunches                                                         20.00                                                460.00
         2   Large Salads                                                          20.00                                                 40.00

                                                                                                           Subtotal:                     550.00
                                                                                  Service Charge %:            18.00                      99.00
                                                                                                  Tax%:         7.75                      50.30
                                                                                                            Total:                      699.30


, Quantity Beverage                                                                             Price                                 Amount      I
        16   Assorted Soft and Diet Soft Drinks                                    3.75 Each                                              60.00
             Charged on Consumption

                                                                                                           Subtotal:                      60.00
                                                                                  Service Charge %:            18.00                      10.80
                                                                                                  Tax%:         7.75                       5A9
                                                                                                            Total:                        76.29


 Quantity Miscellaneous                                                                         Price                                  Amount     I
             Mini Fridge Rental                                                    10.00 Day                                              10.00
             Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                              15.00

                                                                                                           Subtotal:                      25.00
                                                                                  Service Charge %:                0.00                    0.00
                                                                                                  Tax %:           0.00                    0.00
                                                                                                            Total:                        25.00



             Room Rental                                                                        Price                                  Amount I
     Room:   Rotunda Conference Room F                    Function: LUN
     Room:   Rotunda Conference Room A                    Function: OFFC                 150.00                                          150.00
     Room:   Rotunda Conference Room B                    Function: OFFC                 100.00                                          100.00
     Room:   Rotunda Conference Room C                    Function: OFFC                 100.00                                          100.00
     Room:   Rotunda Conference Room D                    Function: OFFC                 100.00                                          100.00
     Room:   Rotunda Conference Room E                    Function: OFFC                 100.00                                          100.00
     Room:   Rotunda Conference Room F                    Function: OFFC                 150.00                                          150.00

                                                                                                           Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                            Total:                      754.25

CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                             Exhibit 2 - Page 178
      Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 96 of 126 Page ID
                                        #:325147

                                                       Mission Inn                                                              Check#: 39,671
                                              A National Historic Landmark Hotel & Spa                                            Page: 1 of 1
                               3649 Mission Inn Avenue • Riverside, CA 92501' (951) 784-0300· Fax (951) 784-5525                Printed: 8/6/2008
                                                Estimated Banquet Check                                                   Arr: 5/14/2008 Oep: 8/30/2008

 Account:     MGA Entertainment                                                      Event Date:         6/10/2008
 Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                     Fax:
             Suite #150
             Van Nuys, CA 91406                                                      On-Site:




 Quantity Food                                                                                  Price                                     Amount      I
       25    CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                         700.00

                                                                                                           Subtotal:                         700.00
                                                                                  Service Charge %:            18.00                        126.00
                                                                                                  Tax %:        7.75                         64.02
                                                                                                            Total:                          890.02

 Quantity Beverage                                                                              Price                                      Amount I
       16    Assorted Soft and Diet Soft Drinks                                    3.75 Each                                                  60.00
             Charged on Consumption

                                                                                                           Subtotal:                          60.00
                                                                                  Service Charge %:            18.00                          10.80
                                                                                                  Tax %:        7.75                           5.49
                                                                                                            Total:                            76.29



             Room Rental                                                                        Price                                     Amount      I
     Room:   Ho-O-Kan                                     Function: DIN

                                                                                                           Subtotal:                           0.00
                                                                                Room Rental Tax %:                 7.75                        000

                                                                                                            Total:                             0.00

                                                                                                       Grand Total:                         966,31

                                                                                                      Balance Due:                          966.31




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 2 - Page 179
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 97 of 126 Page ID
                                         #:325148

                                                      Mission Inn                                                             Check#:    39,134
                                             A National Historic Landmark Hotel & Spa                                             Page: 1 of 1
                              3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525                Printed: B/6/200B
                                               Estimated Banquet Check                                                    Arr: 5/14/2008 Dep: 8/30/2008

 Account:      MGA Entertainment                                                    Event Date:          6/11/200B
 PastAs:      MGA Entertainment
                                                                                    Contact:             Mr. Craiq Holden
 BEO Name:    MGA Entertainment
 Address:     16300 Roscoe Boulevard                                                Phone:               (B18) 221-4403
              Suite #150                                                            Fax:
              Van Nuys, CA 91406                                                    On-Site:




  Quantity    Food                                                                              Price                                     Amount      I
               COFFEE, TEA, DECAF                                                  50.00 Per person                                           50.00
        22    lunches                                                              20.00 Per person                                         440.00

                                                                                                           Subtotal:                         490.00
                                                                                  Service Charge %:            1B.OO                          BB.20
                                                                                                  Tax %:        7.75                          44.B1
                                                                                                            Total:                          62301


 . Quantity   Miscellaneous                                                                     Price                                     Amount      I
              Mini Fridge Rental                                                   10.00 Day                                                  10.00
              Phone Line with PolyCom Phone - RCR A                                15.00 Day                                                  15.00

                                                                                                           Subtotal:                          25.00
                                                                                  Service Charge %:                000                         0.00
                                                                                                 Tax%:             000                         0.00
                                                                                                            Total:                            25.00



              Room Rental                                                                       Price                                     Amount I
      Room:   Rotunda Conference Room C                  Function: OFFC                  100.00                                              100.00
      Room:   Rotunda Conference Room D                  Function: OFFC                  100.00                                              100.00
      Room:   Rotunda Conference Room A                  Function: OFFC                  150.00                                              150.00
      Room:   Rotunda Conference Room B                  Function: OFFC                  100.00                                              100.00
      Room:   Rotunda Conference Room F                  Function: LUN
      Room:   Rotunda Conference Room E                  Function: OFFC                  100.00                                              100.00
      Room:   Rotunda Conference Room F                  Function: OFFC                  150.00                                              150.00

                                                                                                           Subtotal:                         700.00
                                                                                Room Rental Tax %:                 7.75                       54.25

                                                                                                            Total:                          754.25


                                                                                                       Grand Total:                       1,402.26

                                                                                                      Balance Due:                        1,402.26




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 2 - Page 180
       Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 98 of 126 Page ID
                                         #:325149

                                                        Mission Inn                                                            Check#:    39,672
                                              A National Historic Landmark Hotel & Spa                                            Page: 1 of 1
                               3649 Mission Inn Avenue' RiverSide, CA 92501 • (951) 784-0300 • Fax (951) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                    Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                       Event Date:         6/11/2008
 Post As:    MGA Entertainment
 BED Name:                                                                           Contact:             Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                  Phone:               (818) 221-4403
             Suite #150                                                              Fax:
             Van Nuys, CA 91406                                                      On-Site:




 Quantity Food                                                                                   Price                                     Amountl
        22   CHEF'S SELECTION DINNER BUFFET                                         28.00 Per person                                         616.00

                                                                                                            Subtotal:                         616.00
                                                                                   Service Charge %:            18.00                        110.88
                                                                                                   Tax %:        7.75                         56.33
                                                                                                             Total:                          78321


 Quantity Beverage                                                                               Price                                     Amount I

        12   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                                  45.00
             Charged on Consumption

                                                                                                            Subtotal:                          45.00
                                                                                   Service Charge %:            18.00                           8.10
                                                                                                   Tax %:        7.75                           4.12
                                                                                                             Total:                            57.22



             Room Rental                                                                         Price                                     Amount I
     Room:   Ho-O-Kan                                     Function: DIN

                                                                                                            Subtotal:                           0.00
                                                                                 Room Rental Tax %:                 7.75                        0.00

                                                                                                             Total:                             0.00


                                                                                                        Grand Total:                         840.43

                                                                                                       Balance Due:                          840.43




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                  Exhibit 2 - Page 181
          Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 99 of 126 Page ID
                                            #:325150

                                                           Mission Inn                                                        Check#:    39,135
                                                 A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                  3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784·0300 • Fax (951) 784-5525           Printed: BI6/200B

                                                   Estimated Banquet Check                                                Arr: 5/14/2008 Dep: 8/30/2008

    Account:      MGA Entertainment                                                      Event Date:         6/12/200B
    Post As:     MGA Entertainment
                                                                                        Contact:             Mr. CraiQ Holden
    BEO Name:    MGA Entertainment
    Address:     16300 Roscoe Boulevard                                                 Phone:               (B1B) 221-4403
                 Suite #150                                                             Fax:
                 Van Nuys, CA 91406                                                     On-Site:




i   Quantity Food                                                                                   Price                                  Amount I
           22    boxed lunches                                                         20.00 Per person                                      440.00
                 Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                          50.00
                 Specialty Teas - 7:00AM
                                                                                                               SUbtotal:                     490.00
                                                                                      Service Charge %:            1B.00                      88.20
                                                                                                      Tax %:        7.75                      44.B1
                                                                                                                Total:                      623.01


    Quantity Miscellaneous                                                                          Price                                  Amount I

                 Mini Fridge Rental                                                    10.00 Day                                              10.00
                 Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                              15.00

                                                                                                               Subtotal:                      25.00
                                                                                      Service Charge %:                0.00                    0.00
                                                                                                      Tax %:           0.00                    0.00
                                                                                                                Total:                        25.00



                 Room Rental                                                                        Price                                  Amount I
         Room:   Rotunda Conference Room A                   Function: OFFC                  150.00                                          150.00
         Room:   Rotunda Conference Room B                   Function: OFFC                  100.00                                          100.00
         Room:   Rotunda Conference Room C                   Function: OFFC                  100.00                                          100.00
         Room:   Rotunda Conference Room D                   Function: OFFC                  100.00                                          100.00
         Room:   Rotunda Conference Room F                   Function: OFFC                  150.00                                          150.00
         Room:   Rotunda Conference Room E                   Function: OFFC                  100.00                                          100.00
         Room:   Rotunda Conference Room F                   Function: LUN

                                                                                                               Subtotal:                     700.00
                                                                                    Room Rental Tax %:                 7.75                   54.25

                                                                                                                Total:                       754.25


                                                                                                           Grand Total:                    1,402.26

                                                                                                          Balance Due:                     1,402.26




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                  Exhibit 2 - Page 182
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 100 of 126 Page
                                        ID #:325151

                                                        Mission Inn                                                           Check#:    39,673
                                               A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                                3649 Mission Inn Avenue· Riverside, CA 92501' (951) 784·0300· Fax (951) 784-5525                Printed: 8/6/2008
                                                 Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

 Account:      MGA Entertainment                                                     Event Date:         6/12/2008
 Post As:     MGA Entertainment
                                                                                     Contact:            Mr. Craiq Holden
 BEO Name:    MGA Entertainment
 Address:     16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
              Suite #150                                                             Fax:
              Van Nuys, CA 91406                                                     On-Site:




 ,Quantity Food                                                                                 Price                                     Amount      I
        23    CHEF'S SELECTION DINNER BUFFET                                       28.00 Per person                                         644.00

                                                                                                           Subtotal:                         644.00
                                                                                  Service Charge %:            18.00                        115.92
                                                                                             Tax %:             7.75                         58.89
                                                                                                            Total:                          818.81


 Quantity Beverage                                                                              Price                                     Amount      I
        23    Assorted Soft and Diet Soft Drinks                                   3.75 Each                                                  86.25
              Charged on Consumption

                                                                                                           Subtotal:                          86.25
                                                                                  Service Charge %:            18.00                          15.53
                                                                                             Tax%:              7.75                           7.89
                                                                                                            Total:                           109.67



              Room Rental                                                                       Price                                      Amount     I
      Room:   Ho-O-Kan                                     Function: DIN

                                                                                                           Subtotal:                           0.00
                                                                                 Room Rental Tax %:                7.75                        000

                                                                                                            Total:                             000


                                                                                                       Grand Total:                         928.48

                                                                                                      Balance Due:                          928,48




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 2 - Page 183
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 101 of 126 Page
                                        ID #:325152

                                                        Mission Inn                                                            Check#:    39,136
                                               A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                                3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525               Printed: 8/6/2008
                                                 Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                       Event Date:         6/13/2008
 Post As:    MGA Entertainment
                                                                                      Contact:            Me. Craiq Holden
 BED Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
             Suite #150                                                               Fax:
             Van Nuys, CA 91406                                                       On-Site:




 Quantity    Food                                                                                Price                                     Amount I
        21   lunches                                                                20.00 Per person                                          420.00
             Freshly Brewed Coffee, Decaffeinated Coffee and                        50.00 Refresh                                              50.00
             Specialty Teas - 7:00AM
                .............
                                                                                                            SlJbtotal:                        470.00
                                                                                   Service Charge %:            18.00                          84.60
                                                                                                   Tax %:        7.75                          42.98
                                                                                                             Total:                          597.58


 Quantity    Miscellaneous                                                                       Price                                     Amountl

             Mini Fridge Rental                                                     10.00 Day                                                  1000
             Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                                  15.00

                                                                                                            Subtotal:                          25.00
                                                                                   Service Charge %:                0.00                        0.00
                                                                                                   Tax %:           0.00                        0.00
                                                                                                             Total:                            25.00



             Room Rental                                                                         Price                                      Amount I
     Room:   Rotunda Conference Room F                     Function: LUN
     Room:   Rotunda Conference Room F                     Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room E                     Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room A                     Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                     Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                     Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                     Function: OFFC                 100.00                                              100.00

                                                                                                            Subtotal:                         700.00
                                                                                 Room Rental Tax %:                 7.75                       54.25

                                                                                                             Total:                          754.25


                                                                                                        Grand Total:                       1,376.83

                                                                                                       Balance Due:                        1.376.83




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                                        ID #:325153

                                                     Mission Inn                                                           Check#     39,137
                                            A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                             3649 Mission Inn Avenue· Riverside. CA 92501' (951) 784·0300· Fax (951) 784"5525                Printed: 8/6/2008
                                              Estimated Banquet Check                                                  Arr: 511412008 Dep: 813012008

 Account:     MGA Entertainment                                                   Event Date:          6/14/2008
 Post As:    MGA Entertainment
                                                                                  Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:              (818) 221-4403
                                                                                  Fax:
             Suite #150
             Van Nuys, CA 91406                                                   On-Site:




 Qualltity Miscellaneous                                                                     Price                                      Amount     I
             Mini Fridge Rental                                                  10.00 Day                                                 10.00
             Phone Line with PolyCom Phone - RCR A                               15.00 Day                                                 15.00

                                                                                                        Subtotal:                          25.00
                                                                               Service Charge %:                0.00                        0.00
                                                                                          Tax %:                0.00                        0.00
                                                                                                         Total:                            25.00



             Room Rental                                                                     Price                                      Amount     I
     Room:   Rotunda Conference Room A                  Function: OFFC                 150.00                                             150.00
     Room:   Rotunda Conference Room B                  Function: OFFC                 100.00                                             100.00
     Room:   Rotunda Conference Room E                  Function: OFFC                 100.00                                             100.00
     Room:   Rotunda Conference Room F                  Function: OFFC                 150.00                                             150.00
     Room:   Rotunda Conference Room C                  Function: OFFC                 100.00                                             100.00
     Room:   Rotunda Conference Room D                  Function: OFFC                 100.00                                             100.00

                                                                                                        Subtotal:                         700.00
                                                                              Room Rental Tax %:                7.75                       54.25

                                                                                                         Total:                          754.25


                                                                                                    Grand Total:                         779.25

                                                                                                   Balance Due:                          779.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 2 - Page 185
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 103 of 126 Page
                                        ID #:325154

                                                     Mission Inn                                                           Check#:    39,138
                                            A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                             3649 Mission Inn Avenue· Riverside, CA 92501· (951) 784-0300· Fax (951) 784-5525                Printed: 8/6/2008
                                              Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                   Event Date:         6/15/2008
 Post As:    MGA Entertainment
                                                                                  Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:              (818) 221-4403
                                                                                  Fax:
             Suite #150
             Van Nuys, CA 91406                                                   On-Site:




. Quantity Food                                                                              Price                                     Amount I
             COFFEE, TEA DECAF                                                  50.00 Per person                                           50.00

                                                                                                        Subtotal:                          50.00
                                                                               Service Charge %:            18.00                           9.00
                                                                                               Tax %:        7.75                           4.57
                                                                                                         Total:                            63.57

 Quantity Miscellaneous                                                                      Price                                     Amountl
             Mini Fridge Rental                                                 10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                              15.00 Day                                                  15.00

                                                                                                        SUbtotal:                          25.00
                                                                               Service Charge %:                000                         000
                                                                                               Tax %:           0.00                        000
                                                                                                         Total:                            25.00



             Room Rental                                                                     Price                                     Amount I
     Room:   Rotunda Conference Room D                 Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room E                 Function: OFFC                  10000                                              100.00
     Room:   Rotunda Conference Room F                 Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room A                 Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room B                 Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room C                 Function: OFFC                  100.00                                             100.00

                                                                                                        Subtotal:                         700.00
                                                                             Room Rental Tax %:                 7.75                       54.25
                                                                                                         Total:                          754.25

                                                                                                    Grand Total:                         842.82

                                                                                                   Balance Due:                          842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 2 - Page 186
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                                        ID #:325155

                                                      Mission Inn                                                           Check#:    39,139
                                             A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                              3649 Mission Inn Avenue· Riverside, CA 92501· (951) 784-0300' Fax (951) 784-5525                Printed: 8/6/2008
                                               Estimated Banquet Check                                                  Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                    Event Date:         6/16/2008
 PastAs:     MGA Entertainment
                                                                                   Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
                                                                                   Fax:
             Suite #150
             Van Nuys, CA 91406                                                    On-Site:




 . Quantity Food                                                                              Price                                     Amount

         1   Freshly Brewed Coffee, Decaffeinated Coffee                         50.00 Refresh                                             50.00
        18   TO GO BOXED LUNCHES                                                 20.00 Each                                               360.00
         2   TO GO LARGE SALADS                                                  25.00 Each                                                50.00

                                                                                                         Subtotal:                         460.00
                                                                                Service Charge %:            18.00                         82.80
                                                                                                Tax%:         7.75                         42.07
                                                                                                          Total:                          584.87


 Quantity Miscellaneous                                                                       Price                                     Amountl

             Mini Fridge Rental                                                  10.00 Day                                                  1000
             Phone Line with PolyCom Phone - RCR A                               15.00 Day                                                  15.00

                                                                                                         Subtotal:                          25.00
                                                                                Service Charge %:                000                         0.00
                                                                                                Tax %:           0.00                        0.00
                                                                                                          Total:                            25.00



             Room Rental                                                                      Price                                     Amountl
     Room:   Rotunda Conference Room A                  Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room E                  Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room F                  Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room B                  Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room C                  Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room D                  Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room F                  Function: LUN

                                                                                                         Subtotal:                         700.00
                                                                               Room Rental Tax %:                7.75                       54.25

                                                                                                          Total:                          754.25


                                                                                                     Grand Total:                       1,364.12

                                                                                                    Balance Due:                        1,364.12




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 2 - Page 187
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 105 of 126 Page
                                        ID #:325156

                                                     Mission Inn                                                            Check#:    39,768
                                            A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                             3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784·0300' Fax (951) 784-5525               Printed: 8/6/2008
                                              Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:      MGA Entertainment                                                   Event Date:         6/16/2008
 Post As:     MGA Entertainment
                                                                                   Contact:            Mr. Craiq Holden
 BED Name:    MGA Entertainment
 Address:     16300 Roscoe Boulevard                                               Phone:              (818) 221-4403
              Suite #150                                                           Fax:
              Van Nuys, CA 91406                                                   On-Site:




 Quantity Food                                                                                Price                                      Amount I
        20    CHEF'S SELECTION DINNER BUFFET                                     28.00 Per person                                          560.00

                                                                                                         Subtotal:                         560.00
                                                                                Service Charge %:            18.00                        100.80
                                                                                           Tax %:             7.75                         51.21
                                                                                                          Total:                          712.01



              Room Rental                                                                     Price                                     Amount I
      Room:   Ho-O-Kan                                  Function: DIN

                                                                                                         Subtotal:                           0.00
                                                                              Room Rental Tax %:                 7.75                        0.00
                                                                                                          Total:                             000

                                                                                                     Grand Total:                         712.01

                                                                                                    Balance Due:                          712.01




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 2 - Page 188
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                                       ID #:325157

                                                      Mission Inn                                                            Check#:    39,140
                                             A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                              3649 Mission Inn Avenue· Riverside. CA 92501 • (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                               Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/17/2008
 PastAs:     MGA Entertainment
                                                                                   Contact:             Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                Phone:               (818) 221-4403
                                                                                   Fax:
             Suite #150
             Van Nuys, CA 91406                                                    On-Site:




• Quantity   Food                                                                              Price                                      Amount     I
             Freshly Brewed Coffee, Decaffeinated Coffee                          50.00 Refresh                                             50.00
       20    lunch                                                                20.00                                                    400.00

                                                                                                          Subtotal:                         450.00
                                                                                 Service Charge %:            18.00                         81.00
                                                                                                 Tax%:         7.75                         41.15
                                                                                                           Total:                          572.15


 Quantity    Miscellaneous                                                                     Price                                      Amount     I
             Mini Fridge Rental                                                   10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                                15.00 Day                                                  15.00

                                                                                                          Subtotal:                          25.00
                                                                                 Service Charge %:                0.00                        0.00
                                                                                                 Tax%:            0.00                        000
                                                                                                           Total:                            25.00



             Room Rental                                                                       Price                                      Amount     I
     Room:   Rotunda Conference Room F                   Function: LUN
     Room:   Rotunda Conference Room E                   Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                   Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room A                   Function: OFFC                 150.00                                              150.00 .
     Room:   Rotunda Conference Room B                   Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                   Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                   Function: OFFC                 100.00                                              100.00

                                                                                                          Subtotal:                         700.00
                                                                               Room Rental Tax %:                 7.75                       54.25

                                                                                                           Total:                          754.25


                                                                                                      Grand Total:                        1,351.40

                                                                                                     Balance Due:                        1,351.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 189
            Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 107 of 126 Page
                                            ID #:325158

                                                            Mission Inn                                                            Check#:    39,769
                                                   A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                    3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300· Fax (951) 784·5525               Printed: 8/6/2008
                                                     Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

     Account:      MGA Entertainment                                                      Event Date:         6/17/2008
     Post As:     MGA Entertainment
                                                                                          Contact:            Mr. Craiq Holden
     BEO Name:    MGA Entertainment
     Address:     16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                          Fax:
                  Suite #150
                  Van Nuys, CA 91406                                                      On-Site:




 . Quantity Food                                                                                     Price                                      Amount     I
            26    CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                          728.00

                                                                                                                Subtotal:                         728.00
                                                                                       Service Charge %:            18.00                        13104
                                                                                                       Tax%:         7.75                         66.58
                                                                                                                 Total:                          925.62

 i          •
: Quantity Beverage                                                                                  Price                                      Amount \

            25    Assorted Soft and Diet Soft Drinks that included 12                   3.75 Each                                                  93.75
                  sodas from the day before 6-16-08

                                                                                                                Subtotal:                          93.75
                                                                                       Service Charge %:            18.00                          16.88
                                                                                                       Tax %:        7.75                           8.57
                                                                                                                 Total:                          119.20



                  Room Rental                                                                        Price                                      Amount \
          Room:   San Gabriel                                  Function: DIN

                                                                                                                Subtotal:                           0.00
                                                                                     Room Rental Tax %:                 7.75                        000

                                                                                                                 Total:                             0.00


                                                                                                            Grand Total:                       1,044,82

                                                                                                           Balance Due:                        1,044.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                      Exhibit 2 - Page 190
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                                        ID #:325159

                                                      Mission Inn                                                            Check#:    39,141
                                             A National Historic Landmark Hotel & Spa                                            Page: 1 of 1
                              3649 Mission Inn Avenue· Riverside, CA 92501 • {9S1} 784-0300· Fax (951) 784-5525                Printed: 8/6/2008
                                               Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/18/2008
 Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
                                                                                    Fax:
             Suite #150
             Van Nuys, CA 91406                                                     On-Site:




 Quantity Food                                                                                 Price                                     Amount      I
             Freshly Brewed Coffee, Decaffeinated Coffee and                      50.00 Refresh                                              50.00
             Specialty Teas
        16   lunches                                                              20.00                                                    320.00

                                                                                                          Subtotal:                         370.00
                                                                                 Service Charge %:            18.00                          66.60
                                                                                                 Tax%:         7.75                          33.84
                                                                                                           Total:                          470.44

 Quantity Miscellaneous                                                                        Price                                     Amountj
             Mini Fridge Rental                                                   10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                                15.00 Day                                                  15.00

                                                                                                          Subtotal:                          25.00
                                                                                 Service Charge %:                0.00                        000
                                                                                                 Tax %:           0.00                        000
                                                                                                           Total:                            25.00



             Room Rental                                                                       Price                                     Amount j
     Room:   Rotunda Conference Room A                   Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room E                   Function: OFFC                 10000                                               100.00
     Room:   Rotunda Conference Room F                   Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room F                   Function: LUN
     Room:   Rotunda Conference Room B                   Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                   Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                   Function: OFFC                 100.00                                              100.00

                                                                                                          Subtotal:                         700.00
                                                                               Room Rental Tax %:                 7.75                       54.25

                                                                                                           Total:                          754.25


                                                                                                      Grand Total:                       1,249.69

                                                                                                     Balance Due:                        1,249.69




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 191
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 109 of 126 Page
                                        ID #:325160

                                                    Mission Inn                                                            Check#:    39,770
                                           A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                            3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                             Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                   Event Date:         6/18/2008
 Post As:    MGA Entertainment
 BEO Name:                                                                        Contact:            Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:              (818) 221-4403
             Suite #150                                                           Fax:
             Van Nuys, CA 91406                                                   On-Site:




 Quantity Food                                                                               Price                                     Amountl
        18   CHEF'S SELECTION DINNER BUFFET                                     28.00 Per person                                         504.00

                                                                                                        Subtotal:                         504.00
                                                                               Service Charge %:            18.00                         90.72
                                                                                          Tax%:                 7.75                      46.09
                                                                                                         Total:                          640.81



             Room Rental                                                                     Price                                     Amount I
     Room:   Ho-O-Kan                                  Function: DIN

                                                                                                        Subtotal:                           000
                                                                             Room Rental Tax %:                 7.75                        000

                                                                                                         Total:                             000


                                                                                                    Grand Total:                         640.81

                                                                                                   Balance Due:                          640.81




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 2 - Page 192
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 110 of 126 Page
                                        ID #:325161

                                                      Mission Inn                                                           Check#:    39,142
                                             A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                              3649 Mission Inn Avenue' RiverSide, CA 92501· (951) 784-0300' Fax (951) 784-5525                Printed: 8/6/2008
                                               Estimated Banquet Check                                                  Arr: 5114/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                    Event Date:         6/19/2008
 Post As:    MGA Entertainment
 BED Name:                                                                         Contact:            Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
                                                                                   Fax:
             Suite #150
             Van Nuys, CA 91406                                                    On-Site:




 Quantity Food                                                                                Price                                      Amount     I
        20   lunches                                                             20.00 Per person                                          400.00
             Freshly Brewed Coffee, Decaffeinated Coffee and                     50.00 Refresh                                              50.00
             Specialty Teas - 7:00AM

                                                                                                         Subtotal:                         450.00
                                                                                Service Charge %:            18.00                          8100
                                                                                                Tax %:        7.75                          41.15
                                                                                                          Total:                          572.15


 Quantity Miscellaneous                                                                       Price                                      Amount     I
             Mini Fridge Rental                                                  10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                               15.00 Day                                                  15.00

                                                                                                         Subtotal:                          25.00
                                                                                Service Charge %:                0.00                        0.00
                                                                                                Tax %:           000                         0.00
                                                                                                          Total:                            25.00



             Room Rental                                                                      Price                                      Amount I
     Room:   Rotunda Conference Room C                  Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room D                  Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room F                  Function: LU N
     Room:   Rotunda Conference Room A                  Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room B                  Function: OFFC                  100.00                                             100.00 .
     Room:   Rotunda Conference Room E                  Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room F                  Function: OFFC                  150.00                                             150.00

                                                                                                         Subtotal:                         700.00
                                                                               Room Rental Tax %:                7.75                       54.25

                                                                                                          Total:                          754.25


                                                                                                     Grand Total:                       1,351.40

                                                                                                    Balance Due:                        1,351.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 2 - Page 193
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 111 of 126 Page
                                        ID #:325162

                                                       Mission Inn                                                            Check#:    39,771
                                              A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                               3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                      Event Date:         6/19/2008
 Post As:    MGA Entertainment
 BEO Name:                                                                          Contact:             Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:               (818) 221-4403
                                                                                    Fax:
             Suite #150
             Van Nuys, CA 91406                                                     On-Site:




 Quantity Food                                                                                  Price                                     Amount]
        18   CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                         504.00

                                                                                                           Subtotal:                         504.00
                                                                                  Service Charge %:            18.00                         90.72
                                                                                                  Tax %:        7.75                         4609
                                                                                                            Total:                          640.81


 Quantity Beverage                                                                              Price                                     Amount I
        12   Assorted Soft and Diet Soft Drinks                                    3.75 Each                                                  45.00
             Charged on Consumption

                                                                                                           Subtotal:                          45.00
                                                                                  Service Charge %:            18.00                           8.10
                                                                                                  Tax %:        7.75                           4.12
                                                                                                            Total:                            57.22



             Room Rental                                                                        Price                                     Amount I
     Room:   Ho-O-Kan                                     Function: DIN

                                                                                                           Subtotal:                           000
                                                                                Room Rental Tax %:                 7.75                        0.00

                                                                                                            Total:                             0.00


                                                                                                       Grand Total:                         698.03

                                                                                                      Balance Due:                          698.03




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 2 - Page 194
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 112 of 126 Page
                                        ID #:325163

                                                       Mission Inn                                                            Check#:    39,143
                                             A National Historic Landmark Hotel & Spa                                             Page: 1 of 1
                              3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300 . Fax (951) 784-5525                Printed: 8/6/2008
                                               Estimated Banquet Check                                                    Arr: 5/14/2008 Oep: 8/30/2008

 Account:     MGA Entertainment                                                      Event Date:         6/20/2008
 Post As:    MGA Entertainment
                                                                                    Contact:             Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:               (818) 221-4403
                                                                                    Fax:
             Suite #150
             Van Nuys, CA 91406                                                     On-Site:




 Quantity Food                                                                                  Price                                      Amount
        19   lunches                                                               20.00 Per person                                          380.00
             Coffee, Decaffeinated Coffee or Iced Tea                              50.00 Refresh                                              50.00

                                                                                                           Subtotal:                         430.00
                                                                                  Service Charge %:            18.00                          77.40
                                                                                                  Tax%:         7.75                          3932
                                                                                                            Total:                          546.72


 Quantity Miscellaneous                                                                         Price                                     Amount I
             Mini Fridge Rental                                                    10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                                  15.00

                                                                                                           Subtotal:                          25.00
                                                                                  Service Charge %:                000                         0.00
                                                                                                  Tax%:            000                         0.00
                                                                                                            Total:                            25.00



             Room Rental                                                                        Price                                      Amount I
     Room:   Rotunda Conference Room F                   Function: OFFC                  150.00                                              150.00
     Room:   Rotunda Conference Room A                   Function: OFFC                  150.00                                              150.00
     Room:   Rotunda Conference Room B                   Function: OFFC                  100.00                                              100.00
     Room:   Rotunda Conference Room C                   Function: OFFC                  100.00                                              100.00
     Room:   Rotunda Conference Room D                   Function: OFFC                  100.00                                              100.00
     Room:   Rotunda Conference Room F                   Function: LUN
     Room:   Rotunda Conference Room E                   Function: OFFC                  100.00                                              100.00

                                                                                                           Subtotal:                         700.00
                                                                                Room Rental Tax %:                 7.75                       54.25

                                                                                                            Total:                          754.25


                                                                                                       Grand Total:                       1,325.97

                                                                                                      Balance Due:                        1,325.97




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 2 - Page 195
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 113 of 126 Page
                                        ID #:325164

                                                     Mission Inn                                                            Check#:    39,144
                                            A National Historic Landmark Hotel & Spa                                            Page: 1 of 1
                             3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300' Fax (951) 784-5525                Printed: 8/6/2008
                                              Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                    Event Date:         6/21/2008
 Post As:    MGA Entertainment
                                                                                   Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
             Suite #150                                                            Fax:
             Van Nuys, CA 91406                                                    On-Site:




i Quantity Miscellaneous                                                                      Price                                     Amount I
             Mini Fridge Rental                                                  1000 Day                                                   10.00
             Phone Line with PolyCom Phone - RCR A                               15.00 Day                                                  15.00

                                                                                                         Subtotal:                          25.00
                                                                                Service Charge %:                0.00                        000
                                                                                                Tax%:            0.00                        000
                                                                                                          Total:                            25.00



             Room Rental                                                                      Price                                     Amount      I
     Room:   Rotunda Conference Room A                  Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room E                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                  Function: OFFC                 150.00                                              150.00

                                                                                                         Subtotal:                         700.00
                                                                              Room Rental Tax %:                 7.75                       54.25

                                                                                                          Total:                          754.25


                                                                                                     Grand Total:                         779.25

                                                                                                    Balance Due:                          779.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 2 - Page 196
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                                        ID #:325165

                                                     Mission Inn                                                            Check#:    39,145
                                            A National Historic Landmark Hotel & Spa                                            Page: 1 of 1
                             3649 Mission Inn Avenue· Riverside, CA 92501 • (9S1) 784·0300· Fax (951) 784·5525                Printed: 8/6/2008
                                              Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                    Event Date:         6/22/2008
 Post As:    MGA Entertainment
                                                                                  Contact:             Mr. Crai~ Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:               (818) 221-4403
             Suite #150                                                           Fax:
             Van Nuys, CA 91406                                                   On-Site:




 . Quantity Miscellaneous                                                                     Price                                     Amount I
             Mini Fridge Rental                                                  10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                               15.00 Day                                                  15.00

                                                                                                         Subtotal:                          25.00
                                                                                Service Charge %:                0.00                        0.00
                                                                                                Tax %:           0.00                        0.00
                                                                                                          Total:                            25.00



             Room Rental                                                                      Price                                     Amount      I
     Room:   Rotunda Conference Room A                  Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room E                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                  Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room D                  Function: OFFC                 100.00                                              100.00

                                                                                                         Subtotal:                         700.00
                                                                              Room Rental Tax %:                 7.75                       54.25

                                                                                                          Total:                          754.25


                                                                                                     Grand Total:                         779.25

                                                                                                    Balance Due:                          779.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 2 - Page 197
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                                        ID #:325166

                                                      Mission Inn                                                              Check#: 39,146
                                             A National Historic Landmark Hotel & Spa                                            Page: 1 of 1
                              3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525                Printed: 8/6/2008
                                               Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/23/2008
 Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
                                                                                    Fax:
             Suite #150
             Van Nuys, CA 91406                                                     On·Site:




 Quantity Food                                                                                 Price                                     Amount      I
             Coffee, Decaffeinated Coffee or Iced Tea - 7:00AM                    50.00 Refresh                                             50.00
        20   Deli luncheon                                                        20.00                                                    400.00

                                                                                                          Subtotal:                         450.00
                                                                                 Service Charge %:            18.00                         8100
                                                                                                 Tax %:        7.75                         41.15
                                                                                                           Total:                          572.15


 Quantity Miscellaneous                                                                        Price                                     Amount      I
             Mini Fridge Rental                                                   10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                                15.00 Day                                                  15.00

                                                                                                          Subtotal:                          25.00
                                                                                 Service Charge %:                0.00                        0.00
                                                                                                 Tax %:           0.00                        0.00
                                                                                                           Total:                            25.00



             Room Rental                                                                       Price                                     Amountj

     Room:   Rotunda Conference Room F                   Function: LUN
     Room:   Rotunda Conference Room E                   Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room F                   Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room A                   Function: OFFC                  150.00                                             150.00
     Room:   Rotunda Conference Room B                   Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room C                   Function: OFFC                  100.00                                             100.00
     Room:   Rotunda Conference Room 0                   Function: OFFC                  100.00                                             100.00 .

                                                                                                          Subtotal:                         700.00
                                                                                Room Rental Tax %:                7.75                       54.25

                                                                                                           Total:                          754.25


                                                                                                      Grand Total:                       1,351.40

                                                                                                     Balance Due:                        1.351.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 2 - Page 198
        Case 2:04-cv-09049-DOC-RNB Document 10684-2 Filed 07/11/11 Page 116 of 126 Page
                                        ID #:325167

                                                       Mission Inn                                                            Check#:    39,849
                                              A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                               3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                      Event Date:         6/23/2008
 Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Crai~ Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
             Suite #150                                                              Fax:
             Van Nuys, CA 91406                                                      On-Site:




 : Quantity Food                                                                                Price                                     Amount I
        22   CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                         616.00

                                                                                                           Subtotal:                         616.00
                                                                                  Service Charge %:            18.00                        110.88
                                                                                                  Tax %:        7.75                         56.33
                                                                                                            Total:                          783.21


 . Quantity Beverage                                                                            Price                                     Amount 1
        11   Assorted Soft and Diet Soft Drinks                                    3.75 Each                                                  41.25
             Charged on Consumption

                                                                                                           Subtotal:                          41.25
                                                                                  Service Charge %:            18.00                           7.43
                                                                                                  Tax %:        7.75                           3.77
                                                                                                            Total:                            52.45



             Room Rental                                                                        Price                                     Amount I
     Room:   Ho-O-Kan                                     Function: DIN

                                                                                                           Subtotal:                           000
                                                                                Room Rental Tax %:                 7.75                        0.00

                                                                                                            Total:                             000


                                                                                                       Grand Total:                         835.66

                                                                                                      Balance Due:                          835.66




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 2 - Page 199
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                                        ID #:325168

                                                          Mission Inn                                                            Check#:    39,147
                                                 A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                  3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300· Fax (951) 784-5525               Printed: 8/6/2008
                                                   Estimated Banquet Check                                                   Arr: 511412008 Dep: 813012008

 Account:     MGA Entertainment                                                         Event Date:         6/24/2008
 Post As:    MGA Entertainment
                                                                                        Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                     Phone:              (818) 221-4403
             Suite #150                                                                 Fax:
             Van Nuys, CA 91406                                                         On-Site:




 Quantity Food                                                                                     Price                                     AmountJ

             Coffee, Decaffeinated Coffee or tea                                      50.00 RefreSh                                             50.00
        20   boxed lunches                                                            20.00                                                    400.00

                                                                                                              Subtotal:                         450.00
                                                                                     Service Charge %:            18.00                         81.00
                                                                                                     Tax%:         7.75                         41.15
                                                                                                               Total:                          572.15


 Quantity Miscellaneous                                                                            Price                                     Amount J

             Mini Fridge Rental                                                       10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                                    15.00 Day                                                  15.00

                                                                                                              Subtotal:                          25.00
                                                                                     Service Charge %:                0.00                        0.00
                                                                                                     Tax %:           0.00                        000
                                                                                                               Total:                            25.00



             Room Rental                                                                           Price                                     Amount I
     Room:   Rotunda Conference Room A                       Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room E                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                       Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room C                       Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                       Function: LUN

                                                                                                              Subtotal:                         700.00
                                                                                   Room Rental Tax %:                 7.75                       54.25

                                                                                                               Total:                          754.25
                                                                                                                                                         .


                                                                                                          Grand Total:                       1,351.40

                                                                                                         Balance Due:                        1,351.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                    Exhibit 2 - Page 200
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                                        ID #:325169

                                                    Mission Inn                                                            Check#:    39,850
                                           A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                            3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                             Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                   Event Date:         6/24/2008
 Post As:    MGA Entertainment
 BEO Name:                                                                        Contact:            Mr. CraiQ Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:              (818) 221-4403
             Suite #150                                                           Fax:
             Van Nuys, CA 91406                                                   On-Site:




 Quantity Food                                                                               Price                                     Amount I
        18   CHEF'S SELECTION DINNER BUFFET                                     28.00 Per person                                         504.00

                                                                                                        Subtotal:                         504.00
                                                                               Service Charge %:            18.00                         90.72
                                                                                          Tax%:                 7.75                      4609
                                                                                                         Total:                          640.81



             Room Rental                                                                     Price                                     Amount I
     Room:   Ho-O-Kan                                  Function: DIN

                                                                                                        Subtotal:                           0.00
                                                                             Room Rental Tax %:                 7.75                        0.00

                                                                                                         Total:                             0.00


                                                                                                    Grand Total:                         640.81

                                                                                                   Balance Due:                          640.81




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 2 - Page 201
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                                            ID #:325170

                                                           Mission Inn                                                            Check#:    39,148
                                                  A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                                   3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784·0300· Fax (951) 784·5525               Printed: 8/6/2008
                                                    Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

     Account:     MGA Entertainment                                                      Event Date:         6/25/2008
     Post As:    MGA Entertainment
                                                                                         Contact:            Mr. Craiq Holden
     BEO Name:   MGA Entertainment
     Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                         Fax:
                 Suite #150
                 Van Nuys, CA 91406                                                     On-Site:




 , Quantity Food                                                                                    Price                                      Amount.]

                 Coffee, Decaffeinated Coffee or Specialty Teas -                      50.00 Refresh                                              50.00
                 7:00AM

                                                                                                               Subtotal:                          50.00
                                                                                      Service Charge %:            18.00                           9.00
                                                                                                      Tax %:        7.75                           4.57
                                                                                                                Total:                            63.57


 i   Quantity Miscellaneous                                                                         Price                                     AmountJ

                 Mini Fridge Rental                                                    10.00 Day                                                  10.00
                 Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                                  15.00

                                                                                                               Subtotal:                          25.00
                                                                                      Service Charge %:                0.00                        0.00
                                                                                                      Tax %:           0.00                        0.00
                                                                                                                Total:                            25.00



                 Room Rental                                                                        Price                                      Amount J
         Room:   Rotunda Conference Room F                    Function: LUN
         Room:   Rotunda Conference Room E                    Function: OFFC                 100.00                                              100.00
         Room:   Rotunda Conference Room F                    Function: OFFC                 150.00                                              150.00
         Room:   Rotunda Conference Room B                    Function: OFFC                 100.00                                              100.00
         Room:   Rotunda Conference Room C                    Function: OFFC                 100.00                                              100.00
         Room:   Rotunda Conference Room 0                    Function: OFFC                 100.00                                              100.00
         Room:   Rotunda Conference Room A                    Function: OFFC                 150.00                                              150.00

                                                                                                               Subtotal:                         700.00
                                                                                    Room Rental Tax %:                 7.75                       54.25

                                                                                                                Total:                          754.25
                                                                                                                                                          :


                                                                                                           Grand Total:                         842.82

                                                                                                          Balance Due:                          842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                     Exhibit 2 - Page 202
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                                        ID #:325171

                                                          Mission Inn                                                            Check#:    39,874
                                                 A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                                  3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                                   Estimated Banquet Check                                                   Arr: 5/14/2008 Oep: 8/30/2008

 Account:        MGA Entertainment                                                      Event Date:         6/25/2008
 Post As:       MGA Entertainment
 BEO Name:                                                                             Contact:             Mr. Craiq Holden
                MGA Entertainment
 Address:       16300 Roscoe Boulevard                                                 Phone:               (818) 221-4403
                Suite #150                                                             Fax:
                Van Nuys, CA 91406                                                     On-Site:




 : Quantity Food                                                                                   Price                                     Amount I
        18      CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                          504.00

                                                                                                              Subtotal:                         504.00
                                                                                     Service Charge %:            18.00                         90.72
                                                                                                     Tax %:        7.75                         4609
                                                                                                               Total:                          640.81


 Quantity Beveraae                                                                                 Price                                     Amount I
            6   Assorted Soft and Diet Soft Drinks                                    3.75 Each                                                  22.50
                Charged on Consumption

                                                                                                              Subtotal:                          22.50
                                                                                     Service Charge %:            18.00                           4.05
                                                                                                     Tax %:        7.75                           2.06
                                                                                                               Total:                            28.61



                Room Rental                                                                        Price                                     Amount      I
     Room:      Ho-O-Kan                                     Function: DIN

                                                                                                              Subtotal:                           000
                                                                                   Room Rental Tax %:                 7.75                        0.00

                                                                                                               Total:                             000


                                                                                                          Grand Total:                         669.42

                                                                                                         Balance Due:                          669.42




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                    Exhibit 2 - Page 203
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                                        ID #:325172

                                                       Mission Inn                                                            Check#:    39,149
                                              A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                               3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784·0300· Fax (951) 784-5525               Printed: 8/6/2008
                                                Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008

 Account:      MGA Entertainment                                                     Event Date:         6/26/2008
 Post As:     MGA Entertainment
                                                                                     Contact:            Mr. Craiq Holden
 BEO Name:    MGA Entertainment
              16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
 Address:
                                                                                     Fax:
              Suite #150
              Van Nuys, CA 91406                                                     On-Site:




 ! Quantity   Food                                                                              Price                                      AmountJ
              Freshly Brewed Coffee, Decaffeinated Coffee and                      50.00 Refresh                                              50.00
              Specialty Teas - 7:00AM

                                                                                                           Subtotal:                          50.00
                                                                                  Service Charge %:            18.00                           9.00
                                                                                                  Tax %:        7.75                           4.57
                                                                                                            Total:                            63.57


 Quantity Miscellaneous                                                                         Price                                      Amount     I
              Mini Fridge Rental                                                   10.00 Day                                                  10.00
              Phone Line with PolyCom Phone - RCR A                                15.00 Day                                                  15.00

                                                                                                           Subtotal:                          25.00
                                                                                  Service Charge %:                0.00                        0.00
                                                                                                  Tax%:            000                         000
                                                                                                            Total:                            25.00



              Room Rental                                                                       Price                                      Amount     I
      Room:   Rotunda Conference Room F                   Function: LUN
      Room:   Rotunda Conference Room A                   Function: OFFC                 150.00                                              150.00
      Room:   Rotunda Conference Room B                   Function: OFFC                 100.00                                              100.00
      Room:   Rotunda Conference Room C                   Function: OFFC                 100.00                                              100.00
      Room:   Rotunda Conference Room D                   Function: OFFC                 100.00                                              100.00
      Room:   Rotunda Conference Room E                   Function: OFFC                 100.00                                              100.00
      Room:   Rotunda Conference Room F                   Function: OFFC                 150.00                                              150.00

                                                                                                           Subtotal:                         700.00
                                                                                Room Rental Tax %:                 7.75                       54.25

                                                                                                            Total:                          754.25


                                                                                                       Grand Total:                         842.82

                                                                                                      Balance Due:                          842.82




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                                        ID #:325173

                                                      Mission Inn                                                            Check#:    39,150
                                             A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                              3649 Mission Inn Avenue· Riverside, CA 92501 . (951) 784-0300· Fax (951) 784-5525               Printed: B/6/200B
                                               Estimated Banquet Check                                                   Arr: 5/141200B Dep: BI30/2008

 Account:     MGA Entertainment                                                     Event Date:         6/27/200B
 Post As:    MGA Entertainment
 BEO Name:
                                                                                    Contact:            Mr. Crai~ Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:              (B1B) 221-4403
                                                                                    Fax:
             Suite #150
             Van Nuys, CA 91406                                                     On-Site:




 Quantity Food                                                                                 Price                                     AmountJ
             Freshly Brewed Coffee, Decaffeinated Coffee and                      50.00 Refresh                                              50.00
             Specialty Teas - 7:00AM
             Coffee, Decaffeinated Coffee and Specialty Teas -                    50.00 Refresh                                              50.00
             4:30PM

                                                                                                          Subtotal:                         100.00
                                                                                 Service Charge %:            1B.00                          1B.00
                                                                                                 Tax %:        7.75                           9.15
                                                                                                           Total:                          127.15

. Quantity Miscellaneous                                                                       Price                                     Amount      J




             Reception Phone Line - COMPLIMENTARY                                 000                                                         000
             Phone Line - Near Book Cases - COMPLIMENTARY                         000                                                         0.00
             Dedicated IP Address and Network Access in Offices -                 000                                                         0.00
             COMPLIMENTARY

                                                                                                          SUbtotal:                           0.00
                                                                                 Service Charge %:           1B.00                            0.00
                                                                                                 Tax %:       000                             0.00
                                                                                                           Total:                             0.00

             Non Hosted Self & Valet Parking @ the Prevailing Rates 000                                                                       0.00
             Mini Fridge Rental                                     10.00 Day                                                                10.00
             Phone Line with PolyCom Phone - RCR A                  15.00 Day                                                                15.00

                                                                                                          SUbtotal:                          25.00
                                                                                 Service Charge %:                0.00                       0.00
                                                                                                Tax %:            0.00                       0.00
                                                                                                           Total:                           25.00



             Room Rental                                                                       Price                                     AmountJ
     Room:   Rotunda Conference Room F                  Function: LUN
     Room:   Rotunda Conference Room E                  Function: OFFC                  100.00                                              100.00
     Room:   Rotunda Conference Room F                  Function: OFFC                  150.00                                              150.00
     Room:   Rotunda Conference Room A                  Function: OFFC                  150.00                                              150.00
     Room:   Rotunda Conference Room B                  Function: OFFC                  100.00                                              100.00
     Room:   Rotunda Conference Room C                  Function: OFFC                  100.00                                              100.00
     Room:   Rotunda Conference Room D                  Function: OFFC                  100.00                                              100.00

                                                                                                          Subtotal:                        700.00
                                                                              Room Rental Tax %:                  7.75                      54.25

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                                        ID #:325174

                                                     Mission Inn                                                            Check#:    39,151
                                            A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                             3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300' Fax (951) 784-5525               Printed: 8/6/2008
                                              Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008


 Account:     MGA Entertainment                                                    Event Date:         6/28/2008
 Post As:    MGA Entertainment
 BEO Name:                                                                         Contact:            Mr. Craiq Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                               Phone:               (818) 221-4403
             Suite #150                                                           Fax:
             Van Nuys, CA 91406                                                   On-Site:




 Quantity Miscellaneous                                                                       Price                                     Amount I
             Mini Fridge Rental                                                  10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                               15.00 Day                                                  15.00

                                                                                                         Subtotal:                          25.00
                                                                                Service Charge %:                000                         0.00
                                                                                                Tax%:            0.00                        000
                                                                                                          Total:                            25.00



             Room Rental                                                                      Price                                     Amount I
     Room:   Rotunda Conference Room E                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                  Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room A                  Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room D                  Function: OFFC                 100.00                                              100.00

                                                                                                         Subtotal:                        700.00
                                                                              Room Rental Tax %:                 7.75                       54.25

                                                                                                          Total:                          754.25


                                                                                                     Grand Total:                         779.25

                                                                                                    Balance Due:                          779.25




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                                        ID #:325175

                                                     Mission Inn                                                            Check#:    39,152
                                            A National Historic Landmark Hotel & Spa                                            Page: 1 of 1
                             3649 Mission Inn Avenue' Riverside, CA 92501 • (951) 784-0300' Fax (951) 784-5525                Printed: 8/6/2008
                                              Estimated Banquet Check                                                   Arr: 5/14/2008 Dep: 8/30/2008


 Account:     MGA Entertainment                                                    Event Date:         6/29/2008
 Post As:    MGA Entertainment
 SEO Name:                                                                         Contact:            Mr. Crai~ Holden
             MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
             Suite #150                                                            Fax:
             Van Nuys, CA 91406                                                    On-Site:




 Quantity Miscellaneous                                                                       Price                                     Amou~tj
             Mini Fridge Rental                                                  10.00 Day                                                  10.00
             Phone Line with PolyCom Phone - RCR A                               15.00 Day                                                  15.00

                                                                                                         Subtotal:                          25.00
                                                                                Service Charge %:                0.00                        0.00
                                                                                           Tax %:                0.00                        000
                                                                                                          Total:                            25.00



             Room Rental                                                                      Price                                     Amountj
     Room:   Rotunda Conference Room D                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room E                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room F                  Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room A                  Function: OFFC                 150.00                                              150.00
     Room:   Rotunda Conference Room B                  Function: OFFC                 100.00                                              100.00
     Room:   Rotunda Conference Room C                  Function: OFFC                 100.00                                              100.00

                                                                                                         Subtotal:                         700.00
                                                                              Room Rental Tax %:                 7.75                       54.25

                                                                                                          Total:                          754.25


                                                                                                     Grand Total:                         779.25

                                                                                                    Balance Due:                          779.25




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                                        ID #:325176

                                                      Mission Inn                                                         Check#:    39,153
                                             A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                              3649 Mission Inn Avenue· Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                               Estimated Banquet Check                                                Arr: 5/14/2008 Oep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:          6/30/2008
 Post As:    MGA Entertainment
                                                                                    Contact:             Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:               (818) 221-4403
                                                                                    Fax:
             Suite #150
             Van Nuys, CA 91406                                                     On-Site:




 Quantity .... Food                                                                             Price                                  Amount I

         1   Freshly Brewed Coffee, Decaffeinated Coffee                           50.00 Refresh                                          50.00
        20   LUNCHEON                                                              20.00                                                 400.00

                                                                                                           Subtotal:                     450.00
                                                                                  Service Charge %:            18.00                      81.00
                                                                                                  Tax %:        7.75                      41.15
                                                                                                            Total:                      572.15


 Quantity Miscellaneous                                                                         Price                                  Amount     I
             Mini Fridge Rental                                                    1000 Day                                               10.00
             Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                              15.00

                                                                                                           Subtotal:                      25.00
                                                                                  Service Charge %:                000                     000
                                                                                                  Tax %:           000                     000
                                                                                                            Total:                        25.00



             Room Rental                                                                        Price                                  Amount I
     Room:    Rotunda Conference Room F                  Function: LUN
     Room:    Rotunda Conference Room E                  Function: OFFC                  100.00                                          100.00
     Room:    Rotunda Conference Room F                  Function: OFFC                  150.00                                          150.00
     Room:    Rotunda Conference Room A                  Function: OFFC                  150.00                                          150.00
     Room:    Rotunda Conference Room B                  Function: OFFC                  100.00                                          100.00
     Room:    Rotunda Conference Room C                  Function: OFFC                  100.00                                          100.00
     Room:    Rotunda Conference Room 0                  Function: OFFC                  100.00                                          100.00

                                                                                                           Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                            Total:                       754.25


                                                                                                       Grand Total:                    1,351.40

                                                                                                      Balance Due:                     1,351.40




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                                        ID #:325177

                                                    Mission Inn                                                           Check#:    39,920
                                           A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                            3649 Mission Inn Avenue' Riverside, CA 92501' (951) 784-0300· Fax (9S1) 784-5525               Printed: 8/6/2008
                                             Estimated Banquet Check                                                  Arr: 511412008 Dep: 813012008

 Account:     MGA Entertainment                                                  Event Date:          6/30/2008
 Post As:    MGA Entertainment
                                                                                 Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                              Phone:              (818) 221-4403
                                                                                 Fax:
             Suite #150
             Van Nuys, CA 91406                                                  On-Site:




: Quantity Food                                                                             Price                                     AmountJ
        18   CHEF'S SELECTION DINNER BUFFET                                    28.00 Per person                                          504.00

                                                                                                       Subtotal:                         504.00
                                                                              Service Charge %:            18.00                         90.72
                                                                                              Tax %:           7.75                      4609
                                                                                                        Total:                          640.81



             Room Rental                                                                    Price                                     Amount J
     Room:   Ho-O-Kan                                  Function: DIN
                                                                                                       Subtotal:                           000
                                                                             Room Rental Tax %:                7.75                        000

                                                                                                        Total:                             000


                                                                                                   Grand Total:                         640.81

                                                                                                  Balance Due:                          640.81




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